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                          THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY
                                        CAMDEN VICINAGE
  ____________________________________________________ :
                                                        :
  In re: VALSARTAN, LOSARTAN, AND IRBESARTAN            :
  PRODUCTS LIABILITY LITIGATION                         : Master Docket No. 19-2875 (RBK/SAK)
                                                        :
                                                        :    Opinions on Certification of
                                                        :    Proposed Classes under FRCP
                                                        :    Rule 23 and on Class
                                                        :    Certification Expert Reports
                                                        :    under FRE 702
               This Document Applies to All Actions     :
  _____________________________________________________ :
  KUGLER, United States District Judge:
          Before the Court in this multidistrict litigation (“MDL” or “Valsartan MDL”) are several motions:
  from All plaintiffs: a motion to certify two economic loss classes, each having a number of subclasses,
  as well as medical monitoring classes; and
  from Third Party Payor [“TPP”] plaintiffs: a separate motion to certify a TPP economic loss class.
          In addition to these are motions from both defendants and plaintiffs seeking to preclude the
  reports of the class certification experts of the opposing party.

          Table 1 lists the outstanding plaintiffs’ motions for class certification and the motions to
  preclude that this opinion resolves. An Order of this date accompanies this Opinion.
          The Valsartan MDL arose from an extensive Food and Drug Administration [“FDA”] recall in the
  U.S. of generic hypertensive, prescription drugs [“Valsartan” or “Valsartan-containing drugs” or
  “VCDs”]. To be clear, as used herein, the term “VCD” refers to valsartan-containing drugs that were
  contaminated with probable genotoxic human carcinogens in the form of nitrosamines, N-
  nitrosodimethylamine (“NDMA”) and N- N-nitrosodiethylamine (“NDEA”).
          Beginning in July 2018 and upon the FDA’s discovery that VCDs sold in the U.S. were
  contaminated with these nitrosamines, the FDA continued to recall VCDs into 2021. The recalls
  concerned VCDs manufactured and/or finished into pills by several defendants not headquartered in
  the U.S., including: in China: Zhejiang Huahai Pharmaceuticals Ltd.[“ZHP”]; in India: Mylan
  Pharmaceuticals Ltd. [“Mylan”]; Aurobindo Pharmaceuticals Ltd.[“Aurobindo”]; Hetero
  Pharmaceuticals Ltd. [“Hetero”]; and Torrent Pharmaceuticals Ltd. [“Torrent”]; and in Israel: Teva
  Pharmaceuticals [“Teva”]. Most of the foreign drug manufacturers also have U.S. subsidiaries that
  either put the drugs in finished form or sold/distributed them in the U.S.
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  Table 1: Motions This Opinion Resolves
    ECF No.         Movant                                        Relief Sought
   1747        All Plaintiffs      Motion to Certify Consumer Economic Loss Class, and to Certify Third Party
                                   Payor Class, and to Certify Medical Monitoring
   1749        Third Party         Motion to Certify Third Party Payor Class
               Payor Plaintiffs
   2024        Defendants          Motion to Preclude Report of Plaintiffs’ Class Expert, Edward Kaplan, M.D.
   2032        Defendants          Motion to Preclude Report of Plaintiffs’ Class Expert, Zirui Song, M.D., PhD
   2033        Defendants          Motion to Preclude Report of Plaintiffs’ Class Expert, Ron Najafi, PhD
   2034        Defendants          Motion to Preclude Report of Plaintiffs’ Class Expert, Kaliopi Panagos,
                                   PharmD, RPh
   2035        Defendants          Motion to Preclude Report of Plaintiffs’ Class Expert, John Quick, MBA
   2036        Plaintiffs          Motion to Preclude Report of Defendants’ Class Expert, Eric Sheinin, PhD
   2037        Wholesaler          Motion to Preclude Report of Plaintiffs’ Class Expert, Rena Conti, PhD
               Defendants
   2038        Plaintiffs          Motion to Preclude Report of Defendants’ Class Expert, David Chesney
   2040        Defendants          Motion to Preclude Report of Plaintiffs’ Class Expert, Rena Conti, PhD
   2041        Plaintiffs          Motion to Preclude Report of Defendants’ Class Expert, Punam Keller, PhD
   2043        Plaintiffs          Motion To Strike New And Altered General Causation Opinions of
                                   Defendants’ Expert Michael Bottorff, PhD
   2044        Plaintiffs          Motion to Preclude Report of Defendants’ Class Expert, William Lambert,
                                   Ph.D.
   2045        Plaintiffs          Motion to Preclude Report of Defendants’ Class Expert, Mark Robbins, PhD
   2046        Plaintiffs          Motion to Preclude Report of Defendants’ Class Expert, Lauren Stiroh, PhD
   2047        Plaintiffs          Motion to Preclude Report of Defendants’ Class Expert, Jason Clevenger,
                                   PhD
   2048        Plaintiffs          Motion to Preclude Report of Defendants’ Class Expert, Timothy Kosty,
                                   MBA, RPh
   2069        Defendants          MOTION for Leave to File Instanter Sur-reply Briefs In Further Opposition
                                   To Plaintiffs Motions For Class Certification, And Request For A Class
                                   Certification Hearing
      The COURT HAVING REVIEWED the parties’ submissions without a hearing in accordance with
  Loc.R. 78.1 (b), for the reasons stated below, and for good cause shown,
  THE COURT ORDERS regarding the motions to preclude, or strike, the reports of the parties’ class
  certification experts:
          Plaintiffs’ Motion to Strike (ECF. No. 2043) New and Altered General Causation Opinions in the
  Report at ECF No. 2084, Exh. 2 of Michael Bottorff, PharmD is GRANTED, and in particular the
  following opinions of Dr. Bottorff are precluded:

    1. “Oral doses at the levels detected in the generic valsartan at issue in this litigation are
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           metabolized in the liver almost completely, preventing exposure to other tissues and organs”
           (Bottorff Class Certification Report at 48:761-762);
      2. “NDMA/NDEA in valsartan will not reach systemic circulation” (Bottorff Class Certification
           Report at 47: 779); and
      3.   “DNA repair mechanisms in humans can be as much as 10 times higher than that in rats,
           indicating a more active DNA repair in humans compared to rats” (Bottorff Class Cert. Report at
           52:830-831).


            Plaintiffs’ Motion to Preclude (ECF No. 2038 ) the Class Certification Report of David Chesney,
  BA, MSJ, is GRANTED IN PART AND DENIED IN PART. Only Mr. Chesney’s opinions on page 5 and
  immediately following in his Class Certification Report and which are limited to the issue of ZHP’s
  compliance with FDA current Good Manufacturing Practices and based solely on his review of ZHP
  documents have been considered here. The opinions and discussion in the rest of Mr. Chesney’s report
  have been precluded.
            Plaintiffs’ Motion to Preclude (ECF No. 2047) the Class Certification Report of Jason Clevenger,
  PhD, is GRANTED.

            Plaintiffs’ Motion to Preclude (ECF No. 2041) the Class Certification Report of Punam Keller,
  PhD, is GRANTED IN PART AND DENIED IN PART. Dr. Keller’s opinions on pages 30 to 45 in her
  Report have been precluded. Her opinions regarding scholarly literature on consumer health decision-
  making in pages 1-29 of her Report have been considered but only to the extent that these opinions are
  based on actual consumer surveys and real world consumer research.

             Plaintiffs’ Motion to Preclude (ECF No. 2048) the Class Certification Report of Timothy Kosty,
  RPh, MBA, is GRANTED IN PART AND DENIED IN PART. The information and opinions in pages 49-
  99 of Mr. Kosty’s Report have been precluded. Mr. Kosty’s discussion of the workings of the U.S.
  pharmaceutical industry in pages 15-48 of his Class Certification Report has been considered.

             Plaintiffs’ Motion to Preclude (ECF No. 2044) the Class Certification Report of William Lambert,
  PhD, is GRANTED IN PART AND DENIED IN PART. The following opinions in Dr. Lambert’s Report
  have been precluded:

  •          Dr. Lambert’s opinion about the “worthlessness” of the VCDs, couched in terms of
             bioequivalence, is an unqualified economics opinion,
  •          Any of Dr. Lambert’s opinions that the FDA’s Orange Book does or not establish / create
  manufacturer warranties. By excluding these opinions of Dr. Lambert’s, the Court is not expressly
  deciding one way or another whether the Orange Book creates manufacturer warranties; rather, the
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  Court finds that Dr. Lambert is not a legal expert qualified to opine on such an issue.
  •       Any of Dr. Lambert’s opinions that plaintiffs failed to apply correct standards in determining for
  bioequivalence and pharmaceutical equivalence.
  •       Dr. Lambert’s opinions at ¶38 of his Class Certification Report; and
  •       Dr. Lambert’s opinions at ¶88 and ¶90 of his Class Certification Report.

  Any other of Dr. Lambert’s opinions in his Report has been considered.

          Plaintiffs’ Motion to Preclude (ECF No. 2045) the Class Certification Report of Mark Robbins,
  PhD, JD is DENIED.

          Plaintiffs’ Motion to Preclude (ECF No. 2036) the Class Certification Report of Eric Sheinin, PhD
  is GRANTED IN PART AND DENIED IN PART. Paragraph 69, and paragraphs 79 to 102 in Dr.
  Sheinin’s Report have been precluded. Paragraphs 25 to 68, and paragraphs 70-78 in Dr. Sheinin’s
  Report have been considered but only as BACKGROUND information, and NOT as reliable expert
  opinion on class certification, liability, damages, etc. issues.

          Plaintiffs’ Motion to Preclude (ECF No. 2046) the Class Certification Report of Lauren Stiroh,
  PhD is DENIED.

          Defendants’ Motions (ECF Nos. 2040 [“General Motion”] and 2037 [‘Wholesalers Motion”]) to
  Preclude the Class Certification Report of Rena Conti, PhD are DENIED.

          Defendants’ Motion to Preclude (ECF No. 2033) the Class Certification Report of Ron Najafi,
  PhD is GRANTED.

          Defendants’ motion to Preclude (ECF No. 2035) the Class Certification Report of John Quick,
  MBA, is GRANTED IN PART AND DENIED IN PART. Mr. Quick’s opinions on pp. 6-7 of his Report
  regarding the terms “adulterated” and “misbranded” and whether the VCDs were “adulterated” and
  “misbranded” have been precluded; the other opinions in Mr. Quick’s Report have been considered.

          Defendants’ Motion to Preclude (ECF No. 2034) the Class Certification Report of Kaliopi
  Panagos, PharmD and RPh, is GRANTED IN PART AND DENIED IN PART. Dr. Panagos’s opinions at
  paragraphs 47, and 52-59 in her Report and in the Summary of Opinions on page 10, paragraphs: B, D, G
  – I have been precluded. Her opinions at paragraphs 1 to 46, 49-51 and 54 in her Report and in the
  Summary of Opinions on page 10, paragraphs: A, C, E, and F have been considered.

          Defendants’ Motion to Preclude (ECF No. 2024) the Class Certification Report of Edward
  Kaplan, MD, is DENIED.

         Defendants’ Motion to preclude the Class Certification Report of Zirui Song, MD, PhD is
  GRANTED IN PART AND DENIED IN PART. Dr. Song’s his opinions on a methodology for calculating
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  in a similar way the spend for medical monitoring services in pages 22 through 26 of his Report have
  been precluded. His discussion of background information in pages 8 through 21 in his Report has been
  considered.



      THE COURT FURTHER ORDERS:

      Plaintiffs’ Motion to certify the Consumer Economic Loss Class is GRANTED BUT REQUIRES
  plaintiffs to amend their proposed subclasses in line with the recommendations in Table 3 herein;

      Plaintiffs’ Motion to certify the Third Party Payor Class is GRANTED BUT REQUIRES plaintiffs to
  amend their proposed subclasses in line with the recommendations in Table 4 herein;
      Plaintiffs’ Motion to certify the Rule 23(b)(3) Class of Medical Monitoring as an Independent Claim
  [“Rule 23(b)(3) IND MedMon Class”] is GRANTED BUT REQUIRES plaintiffs to amend their proposed
  subclasses in line with the recommendations in Table 7 herein;
      Plaintiffs’ Motion to certify the Rule 23(b)(2) Class of Medical Monitoring as an Independent Claim
  [“Rule 23(b)(2) IND MedMon Class”] is DENIED without prejudice. The Court GRANTS plaintiffs the
  option to re-seek class certification of this class by briefing on the specific estoppel effects this class
  may have on the other two certified Medical Monitoring classes;
      Plaintiffs’ Motion to certify the Rule 23(b)(2) Class of Medical Monitoring as a Remedy is GRANTED
  BUT REQUIRES plaintiffs to amend their proposed subclasses in line with the recommendations in
  Table 7 herein; and


      THE COURT FURTHER ORDERS:

          Defendants’ Motion (ECF No. 2069) for leave to file instanter sur-reply briefs in further
  opposition to plaintiffs motions for class certification, and Request for a class certification hearing is
  DENIED as made moot by this Opinion.
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  7: Court-Annotated ECF No. 2012-1, Appendix A
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  1.0       BACKGROUND
            In this MDL, plaintiffs allege that contamination with probable carcinogens of the generic
  hypertensive medicine titled Valsartan resulted from defendants’ violations not only of state law but
  also of good manufacturing practices (“cGMPs”) that the FDA, under the Food Drug and Cosmetic Act
  [“FDCA”], demands of drug manufacturers in making drugs sold in the U.S. It is the FDA-issued
  Guidances that spell out to foreign and domestic drug manufacturers alike those obligatory cGMPs
  they must follow in order to ensure the FDA-required integrity, quality, and safety of active
  pharmaceutical ingredients [“API”] and finished dose products [“FD”] sold in the U.S.
            Based on their allegations of state law and cGMP violations, plaintiffs seek certification under
  Fed. R. Civ. Proc. 23 of two categories of classes: Economic Loss classes of plaintiffs and their insurers
  who together paid for the VCDs; and Medical Monitoring classes of plaintiffs for the detection of any
  developing cancer advanced by their ingestion of VCDs. Plaintiffs seek two economic loss classes: first,
  a class of consumers who paid at least in part for the VCDs they ingested, hereinafter the “ConEcoLoss”
  class. Within the ConEcoLoss class, plaintiffs seek 93 separate subclasses, subdivided according to the
  variation in state law standards for each of the 5 claims: 1) breach of express warranty; 2) breach of
  implied warranty; 3) fraud; 4) state consumer law protection act; and 5) fraud. See ECF No. 1747, Exh. A.

            Plaintiffs’ second economic loss class comprises Third Party Payors, such as insurers, that either
  paid for or reimbursed the consumers who were their insureds for the ingested VCDs, hereinafter the
  “TPPEcoLoss” class. The class is subdivided into 19 subclasses according to the variation in state law
  standards, again, for each of the 5 claims: 1) breach of express warranty; 2) breach of implied warranty;
  3) fraud; 4) state consumer law protection act; and 5) fraud. See ECF No. 1747, Exhibit B.

            Specifically, the economic loss classes, including the 93 ConEcoLoss subclasses and the 19
  TPPEcoLoss subclasses rest on the following state law claims:
  1) express warranty claims against the manufacturer defendants [“mfrs”];
  2) implied warranty claims against the mfrs and the retail pharmacy defendants [“Pharmacies”];
  3) common law fraud claims against the mfrs;
  4) consumer state protection act claims against the mfrs and the Pharmacies; and
  5) unjust enrichment claims against the wholesaler defendants [“Wholesalers”] and retailers
  [“Pharmacies"].
            Besides the economic loss classes, plaintiffs also seek from all defendants1 three medical
  monitoring classes: one class in certain U.S. jurisdictions under Rule 23(b)(3) where medical monitoring
  is an independent claim for damages; an alternative class in those same jurisdictions under Rule 23(b)(2)


  1 The Medical Monitoring Plaintiffs have asserted class claims against numerous Active Pharmaceutical Ingredient (“API”) Manufacturers,

  Finished Dose (“FD”) Manufacturers, three Wholesalers Defendants, and eight Retail Pharmacy Defendants.
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  where medical monitoring is an independent claim for an injunctive remedy; and a Rule 23(b)(2) class in
  virtually all U.S. jurisdictions where medical monitoring is an injunctive remedy for an accompanying
  independent claim. These classes are termed “MedMon”. Each of the MedMon classes comprise
  consumers who are currently cancer-free but who have ingested an estimated lifetime cumulative
  dosage [“LCD”] of NDMA and/or NDEA from their VCDs and, because of that, may have an increased
  risk, and be more susceptible, to developing certain cancers.
             Plaintiffs seek the Rule 23(b)(3) or Rule 23(b)(2) independent-claim MedMon classes in U.S.
  jurisdictions that allow it by state law. They seek the Rule 23(b)(2) remedy-claim MedMon class in U.S.
  jurisdictions that define medical monitoring as ancillary relief to one or more of the following,
  independent causes of action: (1) negligence; (2) negligence per se; (3) negligent misrepresentation
  and omission; (4) medical monitoring; (5) products liability – manufacturing defect; (6) failure to warn;
  (7) breach of implied warranty of merchantability; (8) breach of express warranty; (9) fraud and
  fraudulent concealment; and (10) claims under state law product liability acts. See ECF No. 1747, at
  Appendix C and ECF No. 1750: 3 fn. 3.

             Apropos the motions to preclude are declarations from several experts (hereinafter “expert
  reports”) on class certification issues such as economic worthlessness of the contaminated VCDs, the
  therapeutic value of the VCDs, the purportedly actionable conduct of: the mfrs and Pharmacies—that
  support claims of breach of warranty, fraud, and consumer protection violation—and of the
  Wholesalers and Pharmacies —that support unjust enrichment claims for sales of worthless VCDs. The
  parties have filed motions under Fed. R. Evid. [“FRE”] 702 to preclude the testimony of their opponents’
  class certification experts. This opinion decides the parties’ motions to preclude the testimony of the
  class certification experts. Tables 8 and 9 in Section 6.0 lists these motions.

             The Court knows the parties are well aware of the background of the MDL, its procedural
  history, and discovery challenges and foregoes an exposition of these here, but recommends a review
  of these, ECF Nos. 675, 728, 775, 818, 839, 1019, 1753, 1811, 1825, 1838, 1958, 1974, and 1994, if a
  refresher is needed.


  2.0        GENERAL LEGAL STANDARDS UNDER FED.R.CIV.P. 23
             Fed.R.Civ.P. 23 delineates the legal standards by which a Court certifies classes. To get
  certified, a proposed class must satisfy all four requirements of Rule 23(a) 2 and at least one of those of
  Rule 23(b). 3 See Amchem Products, Inc. v. Windsor, 521 U.S. 591, 613–614 (1997); see also Barnes v.

  2 Rule 23 (a) states: One or more members of a class may sue or be sued as representative parties on behalf of all only if (1) the class is so

  numerous that joinder of all members is impracticable, (2) there are questions of law or fact common to the class, (3) the claims or defenses of
  the representative parties are typical of the claims or defenses of the class, and (4) the representative parties will fairly and adequately protect
  the interests of the class.
  3 Rule 23 (b) states: An action may be maintained as a class action if the prerequisites of subdivision (a) are satisfied,
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  American Tobacco Co., 161 F.3d 127, 140 (3d Cir.1998). As movants, the plaintiffs have the burden of
  proof to show the classes should be certified. Baby Neal v. Casey, 43 F.3d 48, 55 (3d Cir.1994); Davis v.
  Romney, 490 F.2d 1360, 1366 (3d Cir.1974). While plaintiffs have no obligation to “prove” the merits of
  their case at this stage, Rule 23 nonetheless demands a Court’s higher-order review than done for a
  pleading standard. Wal–Mart v. Dukes et al., 564 U.S. 338, 350 (2011). A District Court’s certification of
  a class may necessitate that it makes factual findings and legal conclusions that overlap with and
  pertain to the underlying merits of the suit (Id. at 350-351), all of which must be supported by a
  preponderance of the evidence. In re Hydrogen Peroxide Litig., 552 F.3d 305, 317 (3d Cir.2008, as
  amended 2009). That is, while limited to determining whether Rule 23 requirements are met (See, e.g.,
  Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 177 (1974)), a court’s class certification analysis may
  nonetheless need to probe beyond the pleadings (Newton v. Merrill Lynch, Pierce, Fenner & Smith, Inc.,
  259 F.3d 154, 166–67 (3d Cir.2001)) into a review of the substantive elements of the proposed class
  members' arguments in order to shape a proper legal landscape at trial.

             The Third Circuit has called upon its district courts to conduct a thorough-going, rigorous class
  certification analysis (Mielo v. Steak 'n Shake Operations, Inc., 897 F.3d 467, 483 (3d Cir. 2018) [overruling
  the once-relaxed class certification standard in this Circuit]; see also Beck v. Maximus, Inc., 457 F.3d 291,
  297 (3d Cir.2006)), encouraging them not to approve proposed classes easily. Mielo, 897 F.3d at 483.
  Since the district court exercises its full discretion under Rule 23 to certify a class (Beck, 457 F.3d at 297),
  if certification is found warranted, the district court's certification order must clearly spell out the
  claims, issues or defenses subject to class treatment. Wachtel v. Guardian Life Ins. Co. of America, 453
  F.3d 179, 184 (3d Cir.2006); Rule 23(c)(1)(B). In short, the district court determines if class certification is
  proper by reviewing the pertinent facts and applying them to each requirement of Rule 23(a) and 23(b).


  3.0        CONSUMER ECONOMIC LOSS CLASS CERTIFICATION
  3.1        CLASS DEFINITION AND PARTIES ALLEGATIONS
             Plaintiffs seek to certify an economic loss class, herein ConEcoLoss, that comprises consumers


  and in addition:
   (1) the prosecution of separate actions by or against individual members of the class would create a risk of
  (A) inconsistent or varying adjudications with respect to individual members of the class which would establish incompatible standards of
  conduct for the party opposing the class, or
  (B) adjudications with respect to individual members of the class which would as a practical matter be dispositive of the interests of the other
  members not parties to the adjudications or substantially impair or impede their ability to protect their interests; or
  (2) the party opposing the class has acted or refused to act on grounds generally applicable to the class, thereby making appropriate final
  injunctive relief or corresponding declaratory relief with respect to the class as a whole; or
  (3) the court finds that the questions of law or fact common to the members of the class predominate over any questions affecting only
  individual members, and that a class action is superior to other available methods for the fair and efficient adjudication of the controversy. The
  matters pertinent to the findings include: (A) the interest of members of the class in individually controlling the prosecution or defense of
  separate actions; (B) the extent and nature of any litigation concerning the controversy already commenced by or against members of the
  class; (C) the desirability or undesirability of concentrating the litigation of the claims in the particular forum; (D) the difficulties likely to be
  encountered in the management of a class action.
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  who paid in whole or in part for contaminated VCDs filled upon U.S. prescriptions and sold to them in
  the U.S. during the relevant period, i.e., from about 2012 up to and including the last recall of 10
  November 2021. Plaintiffs divide the ConEcoLoss class into 93 subclasses or groupings according t0 the
  state law requirements for each element of each of the five following claims: breach of express
  warranty against Manufacturers; breach of implied warranty against Manufacturers and Retailers;
  common law fraud against Manufacturers; state Consumer Protection Act Violations; and unjust
  enrichment against Wholesalers and Pharmacies.
          Table 2 lists the five claims alleged against defendants by the proposed economic loss classes
  (ConEcoLoss and TPPEcoLoss) and summarizes the Court’s findings as to whether each Rule 23
  requirement is met for each claim. The five claims in both proposed economic loss classes against
  various defendants are:
      1) breach of express warranty against Manufacturers. The required elements of this claim may
          include variously privity with the mfr, and/or pre-suit notice to the mfr, and other elements;
      2) breach of implied warranty against Manufacturers and Retailers. The required elements of this
          claim may include variously privity with the mfr and seller, and/or pre-suit notice to the mfr and
          seller, as well as other elements.
      3) common law fraud against Manufacturers; The required element of this claim includes varying
          levels of knowledge of deception, ranging from ignorance of it, or recklessness about it, or
          knowledge of it, as well as other elements.
      4) State Consumer Protection Act violation. The required elements may include lack of intent,
          pre-Suit Notice, FTC-guided Language, and others.
      5) Unjust Enrichment against Wholesalers and Pharmacies. The required elements include unjust
          burden level; defendants’ receipt of direct benefit; and others.

          The Court’s strategy for determining whether to certify the proposed economic loss classes—
      for each claim has been two-fold and interdependent:
      1) a generalized, higher-level review of the parties’ arguments relative to each Rule(a) and (b)
      requirement to see if the class as a whole meets Rule 23; and
      2) in-depth, detailed research into the legal propriety of plaintiffs’ proposed subclasses by
      scrutinizing the caselaw in each jurisdiction for each required element of each claim and then
      confirming or correcting plaintiffs’ proposed subclasses for a particular jurisdiction.
      This process has been iterative.
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                                                               77328                                                                   13
TABLE 2: Rule 23 Findings for the Economic Loss Classes: Consumer Economic Loss and Third Party Payor Economic Loss

Specific Claims                    23(a)(1)     23(a)(2)      23(a)(3)     23(b)(4)    23(b)(3)       23(b)(3)      23(b)(3)
                                   Numerosity   Commonality   Typicality   Adequacy    Predominance   Superiority   Ascertainability

Mfrs: Express Warranty Breach -    Met          Met           Met          Met         Met            Met           Met
Variable state law req’ts =
Pre-Suit Notice; Privity; &
Others
Mfrs & Retailers: Implied          Met          Met           Met          Met         Met            Met           Met
Warranty Breach - Variable state
Law req’ts =
Pre-Suit Notice; Privity; &
Others
Mfrs: Fraud – Variable state law   Met          Met           Met          Met         Met            Met           Met
req’ts =
Ignorance of Deception; OR
Recklessness of it:, OR Know-
ledge of it; & Others
Mfrs & Retailers: State            Met          Met           Met          Met         Met            Met           Met
Consumer Protection-Variable
state law req’ts = Intent; Pre-
Suit Notice; FTC-guided
Language; & Others
Wholesalers & Pharmacies:          Met          Met           Met          Met         Met            Met           Met
Unjust enrichment- Variable
state law req’ts differ for
different defendants = Unjust
Burden Level; Defendants’
Receipt of Direct Benefit; and
Others.
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  3.2     RULE 23(a) REQUIREMENTS

          Defendants assert the ConEcoLoss proposed class meets no Rule 23(a) or (b) requirement.

          3.2.1    ConEcoLoss Class: Rule 23(a)(1) - Numerosity
          Rule 23(a)(1) requires a class to be “so numerous that joinder of all members is impracticable.”
  Hayes v. Wal–Mart Stores, Inc., 725 F.3d 349, 354, 356 (3d Cir. 2013) [quoting 23(a)(1)]; Mielo, 897 F.3d at
  484. Although determined on a case-by-case basis, numerosity is met when the potential number of
  plaintiffs in the proposed class action exceeds 40. Marcus v. BMW of N. Am., LLC,et al., 687 F.3d 583,
  595 (3d Cir. 2012) [quoting Stewart v. Abraham, 275 F.3d 220, 226-227 (3d Cir. 2001)]. In this MDL,
  Pharmacies’ own data show valsartan prescriptions attributed to defendant API or finished dose
  manufacturers number in the millions. Accordingly, the Court finds this requirement met.



          3.2.2    ConEcoLoss Class: Rule 23(a)(2) - Commonality

          Rule 23(a)(2) requires there be questions of law or fact common, but not necessarily identical, to
  all members of the proposed class. Reyes v. Netdeposit, LLC, 802 F.3d 469, 486 (3d Cir.2014). To satisfy
  this requirement, “even a single common question will do”. Wal–Mart Stores, Inc., 564 U.S. at 357; see
  also Rodriguez v. Nat'l City Bank, 726 F.3d 372, 382 (3d Cir.2013). Specifically, class members must
  assert a common contention capable of class-wide resolution, the truth or falsity of which is “central to
  the validity of each one of the claims in one stroke.” Mielo, 897 F.3d at 489–90 [quoting Wal-Mart, 564
  U.S. at 350]; see also Marcus, 687 F.3d at 597.
          Plaintiffs maintain the commonality critical to the class and which relates to each putative class
  members’ claims is that defendants’ tortious conduct caused the contamination of the ingested VCDs.
          Defendants assert that plaintiffs cannot demonstrate commonality of facts and legal issues of
  the proposed class members because each putative member ingested one or more of possibly hundreds
  of different VCDs that made or finished by different defendants, with each VCD having different
  alleged levels of impurities, if any. Thus, putative class members have individualized facts relating to
  the VCDs they ingested, the dosages, and duration of ingestion. Defendants also assert that different
  VCDs had different costs, which implicates a different damages amount for each class member,
  thereby eroding a commonality of economic loss across the class and requiring individualized loss
  calculations. From the testimony of the named class representatives, defendants point to a logical
  conclusion that unnamed class members must have received varying levels of benefits and likewise
  made varying choices about continued ingestion after learning of the recall, all of which variability not
  only disqualifies class certification but precludes a class-wide trial.
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            Defendants do not consider Mielo’s guidance: that commonality translates into a common
 contention by all named and unnamed putative plaintiffs regarding the conduct that is attributable to
 their injury. Defendants do not dispute the contention that it is defendants’ conduct of contaminating
 the VCDs that caused plaintiffs’ economic loss, however varied the facts relating to each putative
 member’s economic loss.
            Moreover, as for defendants’ argument that the ConEcoLoss class is replete with facts relating
 to individualized VCDs, dosages, durations, and decisions to risk continued ingestion, plaintiffs’
 subdivision of the class into 93 subclasses goes a considerable way to account for these individual
 details. Plaintiffs’ groupings are based on state law requirements of the elements of each of the 5
 claims: warranties, fraud, consumer protection, and unjust enrichment. In this Circuit, subdividing a
 class of members having individualized facts into groupings that account for these facts according to
 state law standards moves the needle toward a showing of commonality. See e.g. Chen v. Amtrak , No.
 18-cv-3617, 2019 WL 5294419 at * 9 (E.D. Pa. 18 Oct 2019). 4 Accordingly, the Court finds this
 requirement met.


             3.2.3       ConEcoLoss Class: Rule 23(a)(3) – Typicality
             “Typicality entails an inquiry whether ‘the named plaintiff's individual circumstances are
  markedly different or ... the legal theory upon which the claims are based differs from that upon which
  the claims of other class members will perforce be based.... Factual differences will not render a claim
  atypical if the claim arises from the same event or practice or course of conduct that gives rise to the
  claims of the class members, and if it is based on the same legal theory.” Baby Neal v. Casey, 43 F.3d 48,
  57-58 [internal quotations and citations omitted]. Aptly, the Third Circuit has recognized that typicality
  centers on whether the interests of the named plaintiffs align with those of the unnamed members
  (Stewart, 275 F.3d at 227) and, explicitly, whether the claims and facts of class representatives are
  sufficiently like those of unnamed class members. In re Schering Plough Corp. ERISA Litig., 589 F.3d 585,
  597 (3d Cir. 2009). The Third Circuit has also seen that typicality and adequacy of representation tend
  to merge. Baby Neal, 43 F.3d at 56; Beck v. Maximus, Inc., 457 F.3d 291, 296 (3d Cir. 2006) [“because
  both look to potential conflicts” [quoting Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 626 n.20.

  4 While the court in Chen v. Amtrak (No. 18-cv-3617, 2019 WL 5294419 at * 9 (E.D. Pa. 18 Oct 2019) recognized plaintiffs need only produce a

  “single common question” to meet the commonality requirement in Rule 23(a)(2), it found the dissimilarities in the key facts of each
  individual’s exposure to the sprayed chemical Round-Up® vitiated commonality (and predominance).
              Although recognizing its own discretion in specifying subclasses and certifying the class as to certain common questions, the Chen
  court felt no obligation to do so and quoted the Third Circuit in Reyes, 802 F.3d at 494: “It is not the District Court that is to bear the burden of
  constructing subclasses. That burden is upon the plaintiff who is required to submit proposals to the court.” Chen, 2019 WL
  5294419 at *9.
              Finding plaintiffs had put forth no potential subclasses and declining sua sponte to define subclasses on common questions, the
  Chen court ruled the commonality requirement of the proposed Rule 23(b)(3) class was not met.
              The situation in Chen is NOT the situation here, where plaintiffs have structured the proposed 93 ConEcoLoss subclasses to line up
  with the elements of each claim in each jurisdiction.
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  (1997)].
             In evaluating typicality, courts in this Circuit contrast the differences in legal theory and claims
  of the class representatives against those of the unnamed class members (In re Schering Plough, 589
  F.3d at 597–98) as well as compare “the attributes of the [named] plaintiff, the class as a whole, and the
  similarity between the [named] plaintiff and the class.” Marcus, 687 F.3d at 598. However, fact
  differences alone between the named and unnamed plaintiffs do not render a claim atypical so long as
  the named plaintiffs’ claim arises from the same events, practices, or course of conduct of the
  defendants as for all class members, and is based upon the same legal theory.” Stewart, 275 F.3d at
  227–28 [quoting Hoxworth v. Blinder, Robinson & Co., 980 F.2d 912, 923 (3d Cir. 1992)].

             Boley v. Universal Health Services, Inc., 36 F.4th 124, (3d Cir.2022) 5 is a recent example of such a
  compare-and-contrast analysis. There plaintiffs alleged defendants had used a flawed process for
  funding an ERISA pension, which allegation girded each putative class member’s claim. Id. at 134.

             The extent of similarity in the allegations across the Boley class resembles that in the
  allegations of each ConEcoLoss plaintiff here. To the point, plaintiffs here allege defendants’ conduct is
  attributable to the same kind of economic loss for all putative class members, to wit: either defendants’
  alleged lack of care in complying with FDAs Guidelines and cGMPs in executing the solvent extraction
  process for valsartan API, or their failure to confirm independently mfrs’ compliance with such
  regulations resulted in contamination of each consumer’s VCDs during the relevant period. Plaintiffs’
  allegations here have been met by the same, specific defense asserted by each category of defendant.
  Similarity of allegation for, and defense by, each class member shows that the legal interests of the
  named class representatives do not fundamentally conflict with those of unnamed class members. See
  Boley, 36 F. 4th at 134 [stating “So long as the alleged cause of the injury remains the same across all [],
  ‘even relatively pronounced factual differences will generally not preclude a finding of typicality.’ In re
  Prudential Ins. Co. Am. Sales Practice Litig. Agent Actions, 148 F.3d 283, 311 (3d Cir. 1998) [quoting Baby
  Neal v. Casey, 43 F.3d 48, 58 (3d Cir. 1994)].”

             Defendants argue the breakdown of the singular ConEcoLoss class into 93 subclasses--which
  plaintiffs assert nonetheless account for all the recognized variability in state law elements for each
  claim—is not refined enough and cannot account for the fact differences between plaintiffs such as
  dosage, duration of ingestion, payment options for the VCDs, amount of NDMA contamination, etc.

             Fact differences no doubt exist among the consumer plaintiffs. Nonetheless, both named and
  unnamed consumer plaintiffs equally aver that economic loss arises from the same common course of
  defendants’ conduct—contamination of the VCDs, which affected the integrity, purity, and quality of

  5 Where the Third Circuit expressly found typicality of all plaintiffs’ claims involving the underfunding of pension plans across 13 separate

  investment funds having different vesting requirements, payback rates, etc., i.e. very particularized facts for each class member’s pension.
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  the drug sold and its merchantability—and from the same common course of plaintiffs’ conduct—
  paying in whole or in part for drugs plaintiffs did not know were contaminated. Again, the Boley Court’s
  views are relevant: “The nature of these claims makes intra-class conflicts unlikely—it is difficult to
  imagine class members who have benefited from, or are content to pay, pointless [] fees.” Boley, 36
  F.4th at 136. Similarly, this Court finds it difficult to imagine that any plaintiff here, named or unnamed,
  would aver their purchase of contaminated VCDs was not to some extent “pointless” and at least a
  partial economic loss. Accordingly, the Court finds the typicality requirement met.



          3.2.4   ConEcoLoss Class: Rule 23(a)(4) - Adequacy

          Analysis of class adequacy (often linked with that of typicality) involves confirming the claims of
  the class representatives and their legal interests are aligned with those of the unnamed class
  members. Dewey v. Volkswagen Aktiengesellschaft, 681 F.3d 170, 183 (3d Cir. 2012). In order to fail this
  prong, a conflict between representative plaintiffs and the rest of the class “must be fundamental.” Id.
  at 184. However, Rule 23(a)(4) does not demand plaintiffs prove a negative, i.e., an affirmative lack of
  conflict between named and unnamed plaintiffs. Moreover ,“[w]hat seems clear … is that a plaintiff, to
  satisfy her burden to show she is an adequate representative of a proposed class, need not present
  evidence of the sort one might expect at summary judgment.” Duncan v. Governor of Virgin Islands, 248
  F.4th 195, 212 (3d Cir.2022). Dissimilarities within the proposed class may, but not necessarily do,
  impede the generation of common answers among class members. Wal-Mart, 564 U.S. at 350. Class
  certification concerns not the raising of common questions, “but rather the capacity of a class-wide
  proceeding to generate common answers that likely drive the resolution of the claims.” Ibid. [citation
  omitted].

          Plaintiffs assert that the 46 representatives of the ConEcoLoss class and subclasses have sifted
  through the necessary discovery and documents and have been deposed sufficiently long enough to
  familiarize themselves with the litigation. Moreover, they aver the fact situations of these 46 do not
  fundamentally or logically differ from, or clash with, the facts of the unnamed class members. Each
  named counsel of the class representatives—MDL Co-Lead Counsels Ruben Honik, Esq., Conlee
  Whiteley, Esq., and John R. Davis, Esq.—has the requisite experience from both this MDL, and from
  past experience with other class action matters and/or with pharmaceuticals litigation to represent the
  named class members acceptably.

          Defendants assert the proposed ConEcoLoss class fails the adequacy and typicality
  requirements because: (1) individualized questions of law predominate over common legal issues
  despite the complex sub-classing proposals; (2) the proposed class members’ claims will turn on highly
  individualized questions of fact; and (3) the named class representatives cannot adequately represent
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  class members from other states.

             The typicality prong has been discussed above and found met. To fail the adequacy
  requirement, differences of highly individualized questions of fact between any named plaintiff in a
  particular subclass and the unnamed subclass members must be fundamental, which the Court
  interprets as “critical” to plaintiffs’ claims. Defendants’ contention that differences in state laws may
  not track the subclasses as closely as plaintiffs say does not raise a clarion call of fundamental conflict
  even between class members from different jurisdictions. This finding arises from the Court’s own
  review of the alignment of plaintiffs’ tables of subclasses with jurisdictional differences in the required
  elements of each claim. See infra Table 3. Accordingly, the Court finds this requirement met.



  3.3        RULE 23(b)(3) REQUIREMENTS

             Having found the ConEcoLoss class meets the Rule 23(a) requirements, the Court’s “thorough-
  going review” (as directed by Mielo) turns to Rule 23(b) requirements. 6 The proposed class may be
  analyzed under one of three enumerated categories of Rule 23(b). 7 For both Economic Loss classes
  here, plaintiffs have sought certification under only Rule 23(b)(3), not 23(b)(1) 8 or 23(b)(2) 9.
             Under Rule 23(b)(3), certification is appropriate when: (i) common questions of law or fact
  predominate over questions affecting the individual class members only; and (ii) class treatment is
  superior to other available methods of adjudication. In re Thalomid and Revlimid Antitrust Litigation, No.
  14-cv-6997, 2018 WL 6573118 at *10 (D.N.J. 30 October 2018) [citing Rule 23(b)(3); Boyle v. Progressive
  Specialty Ins. Co., No. 09-5515, 2018 WL 2770166, at *4 (E.D. Pa. 7 June 2018)]. Invoking class
  certification under Rule 23(b)(3) indicates the action seeks money damages for all class members
  because defendants allegedly have injured them in fundamentally similar ways. Besides demonstrating
  predominance and superiority, plaintiffs in the Third Circuit must also show that a Rule 23(b)(3) class is “
  “currently and readily ascertainable based on objective criteria’ ” City Select Auto Sales Inc. v. BMW of N.
  Am. Inc., 867 F.3d 434, 439 (3d Cir. 2017) [quoting Marcus, 687 F.3d at 59.




  6 Again, to be shown by a preponderance of the evidence. In re Hydrogen Peroxide Antitrust Litig., 552 at 307 (3d Cir.2009).
  7 See supra note 3.
  8 Rule 23(b)(1) is typically a “Prejudice Class Action” and sought when litigating individual actions might create prejudice that a class action suit

  would avoid. Certification under 23(b)(1) requires the class action be a mandatory class action, that is, where absentee members cannot opt
  out of the class.
  9 Rule 23(b)(2) relates to certification of an Injunctive / Declarative Relief Class Action, which enjoins certain conduct by defendant(s) rather

  than seeks money damages. To properly invoke 23(b)(2), plaintiffs have to properly define the class and also show defendant’s conduct applies
  to all putative class members of the class. Plaintiffs need not certify actual harm to each class member, only that possible harm to the entire
  class is attributable to defendants’ unjust conduct. A Rule 23(b)(2) class commands mandatory entry for class members who have neither a
  mechanism to opt out, nor the need to be noticed, of their class membership.
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             3.3.1      ConEcoLoss Class: Rule 23(b)(3) - Predominance 10

             Predominance is confirmed when issues of law or fact common to the putative class members
  ground, summarize, and permeate their claims of injury and requests for damages, in short, when such
  common issues dominate the class members’ claims. Particularized, dissimilar legal issues and facts
  applying in a fundamental way to individualized claims of the class members weigh against
  predominance and a 23(b)(3) certification.
             Although the 23(a)(2) commonality and the 23(b)(3) predominance requisites are closely linked,
  meeting the predominance prong is more demanding (In re Hydrogen Peroxide, 552 F.3d at 311) and in
  effect subsumes commonality. Ferreras v. American Airlines, Inc., 946 F.3d 178, 185 (3d Cir. 2019) [citing
  Danvers Motor Co., Inc. v. Ford Motor Co., 543 F.3d 141, 148 (3d Cir.2008)]. In weighing predominance, a
  court analyzes whether each element of a legal claim is “capable of proof at trial through evidence that
  is common to the class rather than [is] individual to its members.” In re Suboxone (Buprenorphine
  Hydrochlorine and Naloxone Antitrust Litigation, 967 F.3d 264, 269-270 (3d Cir. 2020) [quoting Marcus,
  687 F.3d at 600.]

             Plaintiffs assert their proposed 93 subclasses meet both the predominance and the superiority
  requisites. Looking generally at plaintiffs’ five claims-- breach of express and implied warranties, fraud,
  violation of consumer protection statutes, and unjust enrichment, the Court sees that, at a minimum,
  plaintiffs have to show that these facts apply to the entire class of ConEcoLoss plaintiffs:

             1) the conduct of API mfrs violated certain current Good Manufacturing Practices (cGMPs) in
                FDA’s Guidances in making valsartan API during the relevant period and that these
                violations resulted in the API contamination by nitrosamines, especially NDMA and NDEA;
             2) that FD mfrs processed the contaminated API into contaminated valsartan pills of various
                dosages and forms, which Wholesalers purchased for sale and distributed in the United
                States.
             3) Pharmacies obtained such contaminated valsartan pills and sold them to consumer
                  plaintiffs in transactions in the United States.
             4) defendants’ conduct, whether intentional or not, encompassed a lack of testing of the API
                  or finished dose products in the wake of cGMPs violations, which failure grounds and shores
                  up the breach of warranty claims, the claims of violation of state consumer protection laws,
                  as well as the fraud claims against the drug mfrs.
             5) Wholesalers and Pharmacies were unjustifiably enriched from sales of the VCDs (in the

  10 Rule 23(b)(3) states: “A class action may be maintained if Rule 23(a) is satisfied and if:

  the court finds that the questions of law or fact common to class members predominate over any questions affecting only individual
  members, and that a class action is superior to other available methods for fairly and efficiently adjudicating the controversy. [emphasis
  added].
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                   U.S.) because the sales awarded these defendants a monetary benefit greater than the
                   actual value of the contaminated drugs.
             6) Plaintiffs contend, if the nitrosamine contamination were known at the time of sale, the
                   VCDs would have been pulled from the market and unavailable for purchase, which made
                   the VCDs worthless at the time of sale and which resulted in purchasers’ economic loss and
                   defendants’ unjust enrichment.

             In sum, plaintiffs argue their economic loss arises from the singular conduct of defendants
  throughout the U.S. drug supply chain, namely: that defendant-contaminated VCDs entered the U.S.
  drug supply chain by defendant downstream drug purveyors; that consumers bought the VCDs in the
  U.S. during the relevant period; and the relevant tortious conduct of each defendant in the U.S. drug
  supply chain applies to all purchasers11 of the VCDs. Plaintiffs contend they have met Rule 23(b)(3)
  predominance because they have asserted that the conduct of each category of defendant contributed
  to making and selling contaminated VCDs in the U.S. and that if the contamination were known the
  VCDS would not have been sold and were therefore worthless on the date of sale. Summarily, plaintiffs
  argue the genotoxic contamination of VCDs and all the follow-on conduct that brought the VCDs into
  the U.S. market is what caused all VCD purchasers to experience an economic loss. Therefore, the facts
  and legal issues of purchasers’ economic loss dominate and govern the 5 claims of breach of warranty,
  fraud, violation of consumer protection statutes, and unjust enrichment against the defendants, which
  demonstrates predominance.
             Defendants do not address directly plaintiffs’ contention that defendants’ behavior of making
  and selling contaminated VCDs in the U.S. market created the singular and overarching legal
  justification for economic loss relief to U.S. consumers. Rather, they concentrate on the differences in
  the state law requirements of each of the five claims plaintiffs assert against them. Defendants also
  argue that the following facts are particular to each putative class member’s purchase of VCDs and
  cannot be generalized across the putative class:
       -     each plaintiff’s prescription called for a particular dosage;
       -     each plaintiff took the VCDs for a particular duration;
       -     the nitrosamine amount in the VCDs varied not only across a plaintiff’s prescriptions over time
             but across prescriptions for different plaintiffs as well as across different lots and batches of
             VCDs, meaning that such fact variability negates the assumption that damages relating to
             breach of warranties and fraud occurred to each plaintiff and can be calculated uniformly across
             the class.
  At heart, defendants argue that the nitrosamine levels of the VCDs differed sufficiently enough over

  11 As the following discussion on the certification of the third party payors class makes clear, purchasers of VCDs in the U.S. include not only

  consumers but their insurers who paid in full or in part for the drugs.
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  time to make it too uncertain to calculate an “expected” or “predictable” nitrosamine level that
  plaintiffs ingested and also a “predictable” level that did or may cause any genotoxic effects.

             The Court notes these arguments inform largely on the problem of ascertainability of class
  members, discussed infra. Defendants may be hard pressed to refute that their conduct resulted in
  nitrosamine contamination of VCDs; it’s incontrovertible that the FDA recalled lots and batches of
  presumed-contaminated VCDs for several years. It is further incontrovertible in the morass of factual
  and legal arguments here that the contamination resulted from defendants’ non-compliance of cGMPs
  at some level. Since defendants’ conduct in making contaminated VCDs and in putting these into the
  U.S. drug supply chain, which plaintiffs paid for, is incontrovertible, that singular fact grounds all of
  plaintiffs’ claims. Put simply, because of defendants’ conduct, plaintiffs have common facts upon which
  to base their economic loss claims and which are “capable of proof at trial through evidence that is
  common to the class rather than [is] individual to its members” (In re Suboxone, 967 F.3d at 269-270)
  and which dominate each putative class member’s claims.

             Especially because of defendants’ arguments about the variation of state law elements that
  must be applied to such variable facts regarding dosage, duration, VCD ingested, nitrosamine
  concentration, etc., as stated above, the Court researched and reviewed the required elements for each
  of plaintiffs’ five major claims in each proposed jurisdiction. The impetus for this research arose from
  Third Circuit guidance, especially from In re Warfarin Sodium Antitrust Litigation, 391 F.3d 516 (3d
  Cir.2004) and In re National Football League Players Concussion Injury, 821 F.3d 410 (3rd Cir 2016)
  summarized in the footnote. 12 Table 3 at the end of this section presents the results of this research,

  12 In re Warfarin Sodium Antitrust Litigation, 391 F.3d 516 (3d Cir.2004) informs on the discretion a district court has, the way to wield it, and

  how to resolve whether fact variability defeats Rule 23 in certifying a class where various state laws apply to putative class members who each
  have varying fact scenarios.
        “In certification of litigation classes for claims arising under the laws of the fifty states, we have previously noted that the district
       court must determine whether variations in state laws present the types of insuperable obstacles which render class action
       litigation unmanageable. See Prudential, 148 F.3d at 315; see also In re Sch. Asbestos Litig., 789 F.2d 996, 1010 (3d Cir.1986). Thus,
       for instance, we have stated that a district court should examine whether varying state laws can be grouped by shared
       elements and applied as a unit in such a way that the litigation class is manageable. Prudential, 148 F.3d at 315; In re Sch.
       Asbestos Litig., 789 F.2d [996] at 1010 [3d Cir.1986].” In re Warfarin Sodium, 391 F.3d at, 529. [emphasis added].
       . . . “In Prudential, we” … “rejected an objector's contention that predominance was defeated because claims were subject to the
       laws of fifty states, id. at 315. Moreover, recent decisions elsewhere have certified nationwide or multistate classes under state laws
       in actions alleging overpayment for brand-name prescription drugs. See In re Lorazepam & Clorazepate Antitrust Litig., 205 F.R.D.
       369 (D.D.C.2002); In re Synthroid Mktg. Litig., 188 F.R.D. 295 (N.D.Ill.1999). In certifying a nationwide settlement class, the District
       Court was well within its discretion in determining that variations between the laws of different states were insufficient to defeat
       the requirements of Rule 23.” In re Warfarin Sodium, 391 F. at 530.

  The Court in In re National Football Players, 821 F.3d 410 (3rd Cir 2016) found that the objectors had argued, as defendants here, that:
       “damage claims in a mass-tort class action such as this are too individualized to satisfy the requirements of predominance. They
       cite to Amchem [Products, Inc. v. Windsor, 521 U.S. 591] where, as we have discussed, a nationwide class of persons exposed to
       asbestos could not meet the predominance requirement. 521 U.S. at 624 [secondary citation omitted]. But Amchem itself warned
       that it does not mean that a mass tort case will never clear the hurdle of predominance.” Id. at 625 [secondary citation omitted]
       (“Even mass tort cases arising from a common cause or disaster may, depending upon the circumstances, satisfy the predominance
       requirement.”). Id. at 434.

  These two Third Circuit cases give District Courts full discretion to find creative, practical pathways to get to the bottom of complicated
  class action motions, such as taking the initiative to examine if proposed subclasses resolve Rule 23(b)(3) and (2) requirements.
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  which shows that, for the most part, plaintiffs’ proposed subclasses of this ConEcoLoss class account
  both for the variability in facts and the application of the facts to required elements of each claim.

         Considering In re Warfarin Sodium while realizing its own research could help clarify variable
  “circumstances” as discussed In re National Football Players, the Court reviewed the correct legal
  standards for each of the five claims in each state for each of the proposed classes. And, to ensure
  plaintiffs bore their proper burden, the Court relied on defendants’ oppositions of plaintiffs’ subclasses
  under the assumption that defendants would have made every effort to confirm the correct legal
  standards. ECF No. 2008 (Attachments 7-11) (Appendices F through J). To be clear, the Court
  undertook its own independent research of the correctness of the standards for each claim in each
  jurisdiction in order to accommodate defendants’ objections that plaintiffs had got the standards
  wrong or incomplete for certain claims under different state laws. That research has confirmed and
  corrects as needed plaintiffs’ legally incorrect categorization of the ConEcoLoss subclasses. The results
  are detailed infra in Table 3. Plaintiffs are required to amend their 93 proposed subclasses to conform
  to the findings in Table 3.

         Based on its research, the Court finds the Rule 23(b)(3) predominance standard has been met:
  there is a singular pleaded conduct—defendants’ contamination of VCDs—which applies unilaterally to
  each consumer plaintiff in each subclass because each purchased the contaminated VCDs. The Court’s
  correction of plaintiffs’ subclasses serves to accurately map the variability of the legal standards for
  each claim and thus reduce the overall variability of individualized plaintiffs’ legal issues. Put
  differently, the Court agrees that plaintiffs’ naming subclasses that divide the ConEcoLoss class into
  smaller, even if numerous, groupings that track variability in legal issues is legally efficient and proper.

         As a post-script to the predominance discussion above, the Court appreciates that various of the
  parties’ experts opine on whether predominance of facts and law in plaintiffs’ claims has been met.
  Both parties discount the predominance opinions of the opponents’ experts, arguing the other parties’
  experts used unreliable methodology.

          The Court looks to In re Processed Egg Products Antitrust Litigation [“In re Processed Egg
  Products 2017”],08-md-2002, 2017 WL 3494221, at *4-5 (E.D. Pa. 14 Aug 2017) as an example of relying
  on the predominance opinions of a class certification expert, even if that expert’s methodology is
  flawed but reliable. The parties’ dispute over reliable expert methodology arises from their opposing
  theories of damages by which to reimburse, if at all, consumers and TPPs for the contaminated VCDs.
  Plaintiffs contend defendants’ conduct in contaminating the VCDs made the drugs worthless even
  before recall. That is, had the contamination been known, the VCDs would not have been sold and
  therefore VCD purchasers should be reimbursed the entire purchase price. Defendants argue plaintiffs’
  worthlessness theory is unreliable as sophomoric economics and lacking consideration of drug
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                                                           77338                                                                           23



  purchasers’ health rationales for continuing to ingest minimally contaminated drugs. At heart of this
  dispute is defendants’ theory that if VCDs did have consumer value, then plaintiffs’ legal claims of
  breach of warranty, fraud, etc. cannot possibly dominate across all consumers’ and TPPs’ demand for
  full purchase price damages.

            In its predominance analysis here and for the TPPEcoLoss class, the Court has considered its
  conclusions on the reliability of the experts’ reports set forth in Section 6.0; It has also heeded the
  guidance of In re Processed Egg Products 2017. 13 But It has NOT decided the predominance requirement
  of any Rule 23(b)(3) class based on its acceptance of either of the proposed economic loss theories.
  Since each parties’ economic loss theory reduces or expands the importance of individualized fact
  questions over common ones, choosing one theory over the other drives a decision as to predominance
  that bounds too deeply into the province of the factfinder. Rather, the Court has chosen a practical
  approach to predominance: to confirm that subclasses aptly map the reality of state law variation and
  factual variability.



            3.3.2      ConEcoLoss Class: Rule 23(b)(3) - Superiority

             Rule 23(b)(3) requires a class action to be the superior method over “other available methods for
  the fair and efficient adjudication of the controversy” and sets forth several considerations in
  determining the superiority of the class action. 14 In practice, to meet this requirement, plaintiffs show
  the class action’s superiority in terms of fairness and efficiency over that of other adjudication
  strategies. In re Prudential Ins. Co. of Am. Sales Practices Litig., 148 F.3d 283, 316 (3d Cir. 1998). Plaintiffs
  also must detail how unnamed members are to receive mandatory notice of the class as well as an opt-
  out right and procedure.

            As this MDL includes a potentially large number of ConEcoLoss putative class members, to wit,
  millions of consumers (as well as potentially hundreds, if not thousands, of Third Party Payors
  [“TPPs”]), each consumer plaintiff seeks damages that are insignificant compared to the cost of
  prosecuting an individual lawsuit. An individual plaintiffs would have little economic interest to pursue
  their own separate action because the needed discovery, expert reports, and motion practice would be


  13
              To the extent that there is disagreement over the models …, the Court determines that question is best answered by a jury.
  See In re Mushroom Direct Purchaser Antitrust Litig., No. 06-0620, 2015 WL 5767415, at *13 (E.D. Pa. July 29, 2015) [concluding that
  ‘arguments about how the selection of data inputs affect the merits of the conclusions produced by an accepted methodology should
  normally be left to the jury.’ [quoting Manpower, Inc. v. Ins. Co. of Pa., 732 F.3d 796, 808 (7th Cir. 2013)]]. ”
  In re Processed Egg Products, 08-md-2002, 2017 WL 3494221 at *5 (E.D. Pa. 14 Aug 2017)

  14
     (a) interest of the class members in individually controlling the prosecution / defense of separate actions;
  (b) extent and nature of any litigation concerning the controversy already commenced by or against members of the class;
  (c) desirability or not of concentrating the litigation of the claims in the particular forum;
  (d) the difficulties likely to be encountered in the management of a class action.
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  exorbitant in time and money. From the standpoint of both the ConEcoLoss members as well as the
  TPPEcoLoss members, a class action spreads the litigation costs among a very large class of injured
  parties and encourages private enforcement of state law. See In re General Motors Corp. Pick-Up Truck
  Fuel Tank Products Liability Litigation, 55 F.3d 768 , 784 (3d Cir.1995)

             Moreover, this MDL, as a litigation mechanism, currently overrides any individual litigation
  efforts by putative ConEcoLoss and TPPEcoLoss members, up to the point of individual plaintiff trials. 15
  As this Court has been the transferee court of this MDL since consolidation, four years ago, there can be
  little intelligent rationale for not concentrating the litigation efforts in this Court because of its
  fundamental experience with the issues and procedural history. Although managing a class action with
  93 subclasses is likely onerous and a steep climb of effort, this Court’s experience with the MDL weighs
  toward certification of the large ConEcoLoss class and its numerous subclasses. The MDL is
  undoubtedly the better mechanism for efficient adjudication and fairness because of the alleged
  singular cause of plaintiffs’ economic loss and the resource-sharing of litigation efforts that benefits
  both the putative class members as well as the defendants. Accordingly, the Court finds this
  requirement met.



             3.3.3       ConEcoLoss Class: Rule 23(b)(3) - Ascertainability

             The Third Circuit has read into Rule 23 an implicit two-prong requirement of ascertainability by
  which class members are identified.16 Plaintiffs must articulate (1) an “objective” boundary definition
  of class membership and (2) workable method for confirming who is a class member and who is not.
  Specifically, “[i]n determining whether the ascertainability requirement is satisfied, [the District Court]
  must determine that the plaintiff has (1) ‘defined [the class] with reference to objective criteria,” and (2)
  identified a “reliable and administratively feasible mechanism for determining whether putative class
  members fall within the class definition.’ Byrd [v. Aaron’s Inc.], 784 F.3d [154] at 163 [(3d Cir.2015), as
  amended 28 Apr 2015] (quoting Hayes [v. Wal-Mart Stores, Inc.,] 725 F.3d [349] at 355 [3d Cir.2013)]”.
  Kelly v. RealPage Inc., 47 F.4th 202, 222 (3d Cir. 2022).

             Kelly v. RealPage, 47 F.4th 202 (3d Cir. 2022) 17 is not only a very recent example of the balancing

  15 For the duration of the MDL, all individual lawsuits having the same claims as in the MDL must be transferred into the MDL.
  16 Not all Circuits agree that Rule 23(b)(3) requires ascertainability. Calling the Third Circuits’ two-prong ascertainability test16 “heightened”,16

  the Second Circuit in In re Petrobas Securities, 862 F.3d 250, 265 (2nd Cir.2017) has stated “[s]uch a standard would upset the careful balance of
  competing interests codified in the explicit requirements of Rule 23”, and stands with the Sixth, Seventh, Eighth, and Ninth Circuits in rejecting
  that Rule 23 demands ascertainability.
  17 In Kelly v. RealPage Inc., 247 F.4th 202, 222 (3d Cir. 2022), the Third Circuit reversed the District Court’s decision that plaintiffs had not met

  the second prong of the ascertainability standard. Specifically, the District Court saw that identifying putative class members required the
  review of each individual’s real estate file in order to confirm class membership, which It found too onerous and not administratively feasible.
  The Third Circuit was hard pressed to understand why.
                The Circuit found the records of putative class members were kept in two separate databases, which used different software. There
  was no “unique identifier” in either database that could identify a putative class member. It would therefore be difficult to match records on
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  of competing, explicit interests of Rule 23 but contains the Third Circuit’s replete review of its own
  jurisprudence on ascertainability. As in RealPage, plaintiffs here have argued the first prong of
  ascertainability is met: the ConEcoLoss class can be objectively defined by an abundance of business
  records and data archived by different and various entities that track drug purchases in the U.S.
  Plaintiffs assert the primary piece of objective data that can identify putative class members is the
  National Drug Code [“NDC”]. 18 Alternatively, plaintiffs can also use data from the Centers for Medicare
  & Medicaid Services (CMS), which has created an 11-digit NDC derivative that serves a similar function
  as the NDC. That the NDC (and derivative codes) record drug purchase information is axiomatically
  well-known and widely used in the pharmaceutical industry. 19 Moreover, Third Party Payors use this
  information to objectively identify purchased drugs for which they will reimburse their insureds. 20

             Plaintiffs also assert that each time a Pharmacy fills a prescription and sells the drug, the
  Pharmacy archives the transaction, which couples the transaction to the NDC, the consumer’s name
  and particulars, price paid, insurance used, etc. Moreover, besides these pharmacy records, there are
  corresponding archives records for each filled script maintained by Pharmacy Benefit Managers
  [“PBMs”] 21 as well as similar records archived by Health Insurers, which may be Third Party Payors in
  this litigation. Plaintiffs assert all of these the records from the Pharmacies, PBMs, and Health Insurers
  contain the same/similar essential information as well as other, ancillary information that help pinpoint
  the consumer and tie them to specific prescription-drug purchases.

             In addition to this data kept in various formats and/or on various software systems by the
  Pharmacies, PBMs, and TPPs, transaction information is maintained by the mfrs about what drugs they
  sell to Wholesalers. This info is termed T3 data, which plaintiffs aver the Wholesalers maintain and


  request received via defendant’s website with records requested from an external, commercial database “Rental Reports”. Nevertheless, the
  Circuit found that matching of records across databases is precisely the sort of exercise It had previously held was sufficiently administrable to
  satisfy ascertainability, citing Byrd, 784 F.3d at 169–71 (holding ascertainability satisfied by the prospect of matching addresses from multiple
  as-of-yet unknown sources); Hargrove v. Sleepy's LLC, 974 F.3d 467, 480 (3d Cir. 2020) (holding ascertainability met by the prospect of cross-
  referencing a defendant's voluminous records with affidavits from putative class members); City Select Auto Sales Inc. v. BMW of N. Am. Inc.,
  867 F.3d 434, 442 (3d Cir.2017) (same).
               The Circuit stated that defendants were not able to defeat ascertainability simply because they had made a strategic decision to
  house records across multiple sources or databases in a way that made it difficult to match those records up. RealPage, 47 F.4th at 223.
               The Circuit then questioned whether plaintiffs’ burden included and actually required a file-by-file review to identify a mechanism
  or a calculus by which to ascertain the class. Even though the District Court apparently read into the Circuit’s precedent a per se rule that a
  review of each individual file is not administratively feasible, the Circuit confirmed that is not the case and clarified Its own case law. Id.
               The Third Circuit’s findings in Real Page are discussed in more detail in the body of the opinion.
  18 The NDC consists of 11 digits, with each digit identifying a piece of information about the purchased drug, such as, drug manufacturer,

  specific strength, dosage form, and formulation of a drug, package size and type.
  19Plaintiffs have not discussed specifically the Drug Name and National Drug Code (NDC) Reference Data as outlined in a U.S. government

  publication by the Health and Human Services Administration for the Center of Medicare Services (CMS), which is described in simple outline
  form at https://www.cms.gov/OpenPayments/Downloads/Drug-Name-and-NDC-Reference-Data-Instructions.pdf , last accessed 19 October
  2022.
  20 See, e.g., Billing with National Drug Codes (NDCs) Frequently Asked Questions, Blue Cross Blue Shield of Illinois, March-April 2015,

  https://www.bcbsil.com/pdf/pharmacy/ndc_faqs.pdf, last accessed 19 October 2022 [guiding BCBS of Illinois contracted-with medical
  providers, such as hospitals and doctors’ offices, on how to bill for prescription drugs]. See also,
  https://www.cms.gov/OpenPayments/Downloads/Drug-Name-and-NDC-Reference-Data-Instructions.pdf last accessed 19 October 2022.
  21 entities that create or help manage drug formularies for Health Care Insurers.
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                                                             77341                                                                                26



  which informs on the Wholesalers’ purchases from the mfrs and their sales to the Pharmacies.
             Also, of singular importance are the following sets of data regarding filled prescriptions:
  - Exponent data22 provided by Iqvia, a leading publisher of pharmaceutical data in the United States;
  - data from the Telecommunications Standards of the National Council for Prescription Drug Programs
  (“NCPDP”);
  -Transaction data from the PBMs and TPPs themselves,
  - Records from databases useful for excluding federal and state government employees,
             including data from Milliman, Inc., a premier global consulting and actuarial firm that collects
             data on health plans offered by states and local governments and collates it into Milliman Atlas
             of Public Employer Health Plans; and
  - Data from Medicare and Medicaid.
             Plaintiffs assert the transaction details of each drug purchase can be collated and tracked to a
  specific retailer, wholesaler, manufacturer and consumer, and that the entire transaction history for
  most if not all purchases of VCDs by putative ConEcoLoss class members is knowable by connecting the
  data from each player in the drug downstream. Linking these subsets of data archived by different
  defendants at various levels in the drug supply chain is how plaintiffs will provide “objective” data to
  identify putative class members in the ConEcoLoss class. Linking these data subsets, plaintiffs aver,
  can create an aggregate drug purchase history full of the necessary details of who purchased what
  VCDs and when as well as from where and from which manufacturer and wholesaler it was initially
  obtained.
             The second prong, then, of the ascertainability test involves linking and matching the data from
  these various databases and software applications of various defendants at different levels of the drug
  supply chain to inform on the amounts paid for VCDs by the ConEcoLoss class members during the
  relevant period. The plaintiffs’ enthusiasm for linking all these sets of data notwithstanding, the Court
  notes that neither the T3 data nor the Exponent data provide an obvious, tell-tale link between the
  purchasing consumer and the drug upstream players. To wit, there may be a considerable, and not
  entirely knowable, effort required to link disparate kinds of data, software applications, and processing
  systems to create a sufficient boundary condition that identifies relevant purchases and the class
  members who made them.

             While this linking task appears formidable, the RealPage Court has nonetheless made clear
  that, if the data exist to reasonably identify class members, then having to link disparate kinds of data

    22 Iqvia’s description of Xponent data: “Provides detailed prescriber level prescription information for the U.S., including dispensed drug

  prescription information from retail pharmacies (chain, mass merchandisers, independent, and food stores), mail service pharmacies, and
  long-term care facilities. It covers 93% of the retail channel and up to 77% coverage in the mail and LTC channels using a customized and
  patented projection methodology to generate accurate market estimates at a state, zip code or individual prescriber level.”
  https://www.iqvia.com/insights/the-iqvia-institute/available-iqvia-data last accessed 19 Oct 2022.
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  to more accurately name all possible, putative members cannot be the reason to fail ascertainability.
  In RealPage, the Third Circuit found the records of putative class members were kept in two separate
  databases that used different software. Each database lacked a unique, or even a similar, identifier, for
  each putative class member, making it difficult to match records obtained from defendant’s website
  with records obtained from Rental Reports, an external, nationwide database. This lack of unique
  identifier meant that, in order to detect a class member, plaintiffs would have to pore over each one of
  defendant’s real estate records and try to determine what information there would readily match up
  that member in the national Rental Reports database. In other words, plaintiffs would have to slog
  through two unaligned databases iteratively back and forth to link defendants’ real estate records to a
  National Real Estate database, in order to identify all class members. Nonetheless, the RealPage Court
  found that the matching of records was precisely the sort of exercise It had previously ruled to be
  feasibly administrable to satisfy ascertainability.

          There were two reasons why the Third Circuit reversed the District Court’s finding of no
  ascertainability. First, the Circuit found defendant’s arguments that the class was not ascertainable
  depended on defendant’s own conduct: to wit, that defendants had strategized to archive their own
  records complicatedly across multiple sources / databases, which resulted in an onerous burden in
  linking records to ascertain class members. RealPage, 47 F.4th at 223. Second, the Circuit found the
  District Court had misapplied the ascertainability standard by mistakenly wielding it as per se rule. The
  Third Circuit just said no and clarified what its precedents require. Ibid.

          Reviewing its opinion in Byrd, 784 F.3d at 171, the Circuit cautioned that “ ‘the size of a potential
  class and the need to review individual files to identify its members are not reasons to deny class
  certification.’ [quoting Young v. Nationwide Mut. Ins. Co., 693 F.3d 532, 539–40 (6th Cir. 2012)].”
  RealPage, 47 F.4th at 224. As for its opinion in Hargrove, 974 F.3d at 470, 480, the Circuit said: “affidavits
  in combination with ‘thousands of pages of contracts, driver rosters, security gate logs, and pay
  statements’ sufficed to ascertain a class of full-time drivers for Sleepy's, despite gaps in the records and
  the work required to synthesize ‘several distinct data sets.’.” RealPage, 47 F.4th at 224. And, regarding
  its guidance in City Select, 867 F.3d at 441, the Circuit held “ ‘[a]ffidavits, in combination with records
  or other reliable and administratively feasible means,’ could satisfy [the] ascertainability standard”, and
  had remanded to see “whether there were any gaps in a database not produced below that could make
  identifying putative class members inadministrable, id. at 442 & n.5.” RealPage, 47 F.4th at 224.

          Combining its rulings in Byrd, Hargrove, and City Select, the RealPage Circuit found that “a
  straightforward ‘yes-or-no’ review of existing records” was sufficient to show the administrative
  feasibility of identifying class members “even if [that] requires review of individual records with cross-
  referencing of voluminous data from multiple sources. RealPage, 47 F.4th at 224. “Indeed, the review
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  required here is even more straightforward than in Byrd, Hargrove, and City Select, as Appellants have
  already identified the records they require, demonstrated they are in [the defendants’] possession, and
  explained how those records can be used to verify putative subclass members.” Ibid.

            And, so have plaintiffs here done the same: they’ve identified the records they need, where
  they are located, and how to use them to verify subclass members. Thus, the takeaway from RealPage
  is that ascertainability for the ConEcoLoss class turns not on if the transaction records can or will
  “match” up, but on how these records can match up so that plaintiffs may determine with sufficient
  precision both the included ConEcoLoss class members, the excluded individual consumers, and the
  members in subclasses. It is beyond clear that administratively feasible data can come from many
  sources, in many forms or formats, and containing different fields manipulated by different software.
  As mentioned above, these data include transaction records from the Pharmacies, the PBMs’
  transaction records, the T3 data from the Wholesalers, the Iqvia Exponent external database data, the
  Milliman Atlas data, and data from Medicare and Medicaid, as well as records from other external
  databases. Plaintiffs’ expert Laura Craft, PhD, provided in her Class Certification Report an example
  that certain of these data, particular from Pharmacies, can be matched to identify a set of ConEcoLoss
  putative class members. 23

            As the RealPage Court noted, plaintiffs need do no more at the class certification stage than
  identify with precision the records they need, show how to get and mine them to verify putative class
  and subclass members. Since that is the primary showing of administrative feasibility, plaintiffs have
  met their burden.

            Accordingly, the Court finds this requirement met.



  3.4       SUMMARY OF ConEcoLoss CLASS CERTIFICATION AND ConEcoLoss SUBCLASSES

            In summary, the ConEcoLoss class has met both Rule 23(a) and Rule 23(b) requirements and the
  Court hereby certifies it with qualifications. That is, the Court has adopted a “hard test” of the accuracy
  of plaintiffs’ 93 proposed subclasses presented in ECF No. 1747, Exhibit A. Using defendants’
  oppositions to (ECF Nos. 2008-7, Appendices F-7, G-8, H-9, I-10, J-11) to plaintiffs’ subclasses, the Court
  reviewed the cited caselaw and researched other caselaw as needed to confirm the accuracy of
  plaintiffs’ proposed subclasses. The “raw data” of the Court’s research for the ConEcoLoss class and
  proposed subclasses is in Appendices 1-6. Therefore, the Court class certification of the ConEcoLoss
  class require plaintiffs to amend some of its proposed subclasses by incorporating the Court’s
  recommendations in Table 3.

  23 Expert Declaration of Laura R. Craft, PhD, Unredacted, Executed 10 Nov 2021, pp: 32 and 33.
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          The Court appreciates that plaintiffs may need to “match up” the recommendations in Table 3
  and 4 to their proposed subclasses in both Economic Loss classes. ECF Docs. 1747 Exhibits A and B.
  This is because defendants’ oppositions, upon which the Court relied, do not match up generally to
  plaintiffs’ proposed subclasses. Rather they “cite check” the legal standards of each of the five claims in
  each proposed jurisdiction.
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                                                                    77345                                                                                 30
Table 3: For Plaintiffs’ Five Claims, Summary of Incorrect Consumer Economic Loss Subclasses & Required Corrections to Proposed Subclasses

 Breach of Express Warranty Subclass (EW)          Incorrectly Included States In Ps EW Group 1         Correct EW Group
 Group 1: Privity Not Required; PreSuit Notice
 Not Required
                                                   FL: Privity not required; PreSuit notice required    MOVE to EW Group 2
                                                   KY: Privity required; PreSuit notice not required    MOVE to EW Group 3
                                                   RI: Privity not required; PreSuit notice required,   MOVE to EW Group 2
                                                   but not much notice
                                                   SC: Privity not required; PreSuit notice required    MOVE to EW Group 2
                                                   WY: Privity not required; PreSuit notice required;   MOVE to EW Group 2


 Breach of Express Warranty Subclass (EW)          Incorrectly Included States In Ps EW Group 2         Correct EW Group
 Group 2: Privity Not Required; PreSuit Notice
 May Be Required
                                                                                                        AL: Debatable if PreSuit notice is / may be
                                                                                                        required. Leaving in EW Group 2
                                                                                                        NY: Correct Group 3: NY does NOT require privity
                                                                                                        NC: Debatable if PreSuit notice is / may be
                                                                                                        required. Leaving in EW Group 2
                                                   ND: Privity Required                                 MOVE to EW Group 3
                                                                                                        OR: Correct EW Group 3; PreSuit notice required
                                                   TN: Privity & PreSuit Notice Required                CREATE A NEW SUBCLASS/GROUPING FOR
                                                                                                        TN OR EXCLUDE TN FROM CLASS


Breach of Express Warranty Subclass (EW)           Incorrectly Included States In Ps EW Group 3
Group 3: PreSuit Notice Not Required; Privity
May be Required
                                                   NONE
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                                                                  77346                                                                                  31
Breach of Implied Warranty Subclass (IW)        Incorrectly Included States In Ps IW Group 1        Correct IW Group
Group 1: Privity Not Required; PreSuit Notice
Not Required
                                                HI: Defendants aver PreSuit notice required; Court HI: in correct IW group 1
                                                disagrees
                                                IN: Defendants aver PreSuit notice required;        IN: in correct IW group 1. FDA recalls may suffice
                                                Court disagrees                                     as pre-suit notice. Defendants cited a case about
                                                                                                    contractual duties, but here no contract between
                                                                                                    consumers & mfrs.
                                                MN: PreSuit notice required to some party in the    MOVE to IW Group 2
                                                drug supply chain
                                                MO: PreSuit notice required                         MOVE to IW Group 2
                                                PA: Breach of Implied Warranty claim not            REMOVE PA FROM ANY IW GROUP
                                                permitted against drug mfr under PA law.
                                                SC: PreSuit notice required                         MOVE to IW Group 2


Breach of Implied Warranty Subclass (IW)        Incorrectly Included States In Ps IW Group 2        Correct IW Group
Group 2: Privity Not Required; PreSuit Notice
Required
                                                NONE


Breach of Implied Warranty Subclass (IW)        Incorrectly Included States In Ps IW Group 3        Correct IW Group
Group 3: Privity Required; PreSuit Notice Not
Required
                                                NY: Requires Privity & PreSuit notice for EcoLoss   MOVE to IW Group 4
                                                IW claims
Breach of Implied Warranty Subclass (IW)        Incorrectly Included States In Ps IW Group 4        Correct IW Group
Group 4: Privity & PreSuit Notice Required
                                                NONE
                     Case 1:19-md-02875-RMB-SAK             Document 2261          Filed 02/08/23   Page 32 of 97 PageID:
                                                                  77347                                                     32


Fraud Subclass (FR) Group 1: Recklessness         Incorrectly Included States In Ps FR Group 1      Correct FR Group
                                                  AK: Defendants aver Knowledge of falsity of       MOVE to FR Group 3
                                                  statement required
                                                  OH: Requires either Knowledge, or Recklessness,   MOVE to FR Group 3
                                                  which amounts to inferred Knowledge
                                                  MA: Defendants aver Knowledge of falsity of       MOVE to FR Group 3
                                                  statement required
                                                  NC: Requires Scienter, intent to deceive          MOVE to FR Group 3
                                                  SD: Requires either Knowledge or Recklessness     MOVE to FR Group 3


Fraud Subclass (FR) Group 2: Ignorance of Truth   Incorrectly Included States In Ps FR Group 2      Correct FR Group
                                                  AR: requires Knowledge of the falsity             MOVE to FR Group 3
                                                  ID: requires Knowledge of the falsity             MOVE to FR Group 3
                                                  MN: requires Knowledge of the falsity             MOVE to FR Group 3
                                                  TN: requires Recklessness                         MOVE to FR Group 1


Fraud Subclass (FR) Group 3: Knowledge of         Incorrectly Included States In Ps FR Group 3      Correct FR Group
Falsity
                                                  NONE
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Consumer Protection Subclass (CP) Group 1: No   Incorrectly Included States In Ps CP Group 1     Correct CP Group
Intent, Standardized Violation Language, And
No Pre-Suit Notice
                                                IL: Requires Intent                              MOVE to CP Group 4
                                                SC: class action claim under ConProtAct not      REMOVE SC FROM ANY CP GROUP
                                                permitted
                                                TN: class action claim under ConProtAct not      REMOVE TN FROM ANY CP GROUP
                                                permitted
                                                WV: suits for drug purchases under WV Consumer   REMOVE WV FROM ANY CP GROUP
                                                Protection Act not permitted


Consumer Protection Subclass (CP) Group 2: No   Incorrectly Included States In Ps CP Group 2     Correct CP Group
Intent, Non-Standardized Violation Language
And No Pre-Suit Notice
                                                KS: Intent Required                              MOVE to CP Group 4


Consumer Protection Subclass (CP) Group 3: No   Incorrectly Included States In Ps CP Group 3     Correct CP Group
Intent, Standardized Violation Language BUT
Require PreSuit Notice
                                                AL: class action claim under ConProtAct not      REMOVE AL FROM ANY CP GROUP
                                                permitted
                                                GA: class action claim under ConProtAct not      REMOVE GA FROM ANY CP GROUP
                                                permitted
                                                MS: class action claim under ConProtAct not      REMOVE MS FROM ANY CP GROUP
                                                permitted


Consumer Protection Subclass (CP) Group 4:      Incorrectly Included States In Ps CP Group 4     Correct CP Group
Requires Intent, Use Standardized Violation
Language, PreSuit Notice Not Required
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                                                                   77349                                                         34
                                                   AR: class action under ConProtAct not allowed   REMOVE AR FROM ANY CP GROUP


Consumer Protection Subclass (CP) Group 5:         Incorrectly Included States In Ps CP Group 4    Correct CP Group
Requires Intent, Use Standardized Violation
Language, PreSuit Notice Not Required
                                                   NONE


Wholesaler Unjust Enrichment Subclass (WHUE)       Incorrectly Included States In Ps WHUE Grp 1    Correct UE Group
Group 1: Higher Burden, UE = Primary Claim,
Direct Benefit Required
Plaintiffs list: only Texas in this Group;         NONE
Defendants do not include Texas in opposition


Wholesaler Unjust Enrichment Subclass (WHUE)       Incorrectly Included States In Ps WHUE Grp 2    Correct UE Group
Group 2: Higher Burden; UE= Alternative Claim;
Direct Benefit Not Required
Plaintiffs list: Alabama, Montana in this Group;   NONE
Defendants do not include Montana in opposition



Wholesaler Unjust Enrichment Subclass (WHUE)       Incorrectly Included States In Ps WHUE Grp 3    Correct UE Group
Group 3: Normal Burden; UE= Alternative Claim;
Direct Benefit Not Required
Plaintiffs list: Arizona, Arkansas, Connecticut,   CT: requires Higher burden                      MOVE to WHUE Group 2
Maryland, Minnesota, Rhode Island, Vermont,
Wyoming


Wholesaler Unjust Enrichment Subclass (WHUE)       Incorrectly Included States In Ps WHUE Grp 4    Correct UE Group
Group 4: Normal Burden; UE= Alternative Claim;
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Direct Benefit Required
Plaintiffs list: Alaska, Delaware, Florida, Georgia,   DE: requires Higher burden                       MOVE to WHUE Group 6
Idaho, Nebraska, New Jersey, North Dakota, Ohio,       FL: requires Higher burden                       MOVE to WHUE Group 6
Pennsylvania, Virginia, Washington                     GA: Direct Benefit not required, not changing
                                                       Plaintiffs’ choice
                                                       OH: requires Higher burden                       MOVE to WHUE Group 6


Wholesaler Unjust Enrichment Subclass (WHUE)           Incorrectly Included States In Ps WHUE Grp 5
Group 5: Normal Burden; UE = Alternative
Claim; Direct Benefit Required
Ps list: California, Colorado, DC, Hawaii, Illinois,   CA: May require Higher burden                    MOVE to WHUE Group 6
Indiana, Iowa, Kansas, Louisiana, Maine,               CO: requires Higher burden                       MOVE to WHUE Group 6
Massachusetts, Mississippi, Missouri, Nevada, New      IN: requires Higher burden                       MOVE to WHUE Group 6
Mexico, New York, North Carolina, Oklahoma,
Oregon, South Carolina, South Dakota, Tennessee,
Utah, Puerto Rico


Wholesaler Unjust Enrichment Subclass (WHUE)           Incorrectly Included States In Ps WHUE Group 6   Correct UE Group
Group 6: Heightened Burden, UE = Alternative
Claim, Direct Benefit Req’d
Ps List: Only Kentucky                                                                                  See above: MOVE DE, FL, OH, CA, CO, IN to
                                                                                                        this Group
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                                                           77351                                                                                36



  4.0       THIRD PARTY PAYOR ECONOMIC LOSS CLASS CERTIFICATION

  4.1       CLASS DEFINITION AND ALIGNMENT WITH CONSUMER ECOLOSS CLASS
            Plaintiffs seek a class, identified herein as TPPEcoLoss, of all Third-Party Payors 24 that, from at
  least January 1, 2012 through the date of final recall as of November 10, 2021, paid partly or entirely for
  a valsartan-containing drug sold in the U.S. that was manufactured, distributed, or sold by any API or
  FD Manufacturer, Wholesaler, or Pharmacy defendant herein. Put differently, the putative TPPEcoLoss
  class members here include those insurers who paid for / reimbursed the ConEcoLoss members for
  their VCDs according to the health care insurance policy of the ConEcoLoss member (if such policy was
  in play). As for general damages incurred by the TPPEcoLoss class members, plaintiffs again assert the
  VCDs were worthless because, had the contamination been publicly known, VCDs would not have been
  sold, i.e., were not merchantable. TPP plaintiffs seek as their economic loss the full cost of their
  payments for their insured’s VCDs over the relevant period.
            Plaintiffs allege the economic losses of both putative classes, consumers and TPPs are aligned.
  As used herein, such alignment means both Economic Loss classes share two factors: both allege a
  parallel cause for their economic loss; and the total loss of both Economic Loss classes is the sum of the
  loss of each. 25 Since consumers and their TPPs typically pay for that portion of the drug cost which the
  other party does not, the Court finds it straightforward to consider the legal interests and claims as well
  as the economic losses of both classes aligned. However, even though the economic loss of each class
  is a mirror image of the other, alignment of the TPPEcoLoss class with the ConEcoLoss class does not
  preclude a thorough review of Rule 23 requirements for the proposed TPPEcoLoss class.
            Plaintiffs propose to partition the TPPEcoLoss class into 19 subclasses 26 based on their
  interpretation of state law standards for the same legal claims asserted against consumers: breach of
  express warranty, breach of implied warranties of merchantability and fitness, fraud, violation of state
  consumer protection acts, and unjust enrichment. For all subclasses, the relevant time duration is from
  at least 1 January 2012 through the date of final recall as of 10 November 2021. .
            For an exposition of Rule 23 legal standards, see supra Sections 3.2 and 3.3. We apply these
  standards in our review here of the proposed TPPEcoLoss class, and in Section 5.0 of the proposed
  Medical Monitoring Classes.




  24 Third Party Payors [“TPPs”] provide health care benefits for consumers and may be an employer’s insurance company or a health and

  welfare plan providing health care benefit to employees or beneficiaries. TPPs serve as health care insurers. TPPs have paid in whole or in
  part, or reimbursed consumers, for the VCDs at issue in this case.
  25 See In re EpiPen Marketing, Sales Practices and Antitrust Litigation, MDL 2785, 2020 WL 1873989 (D. Kan. 7 Feb 2020) [exemplifying such

  alignment of consumers’ and TPPs’ interest in recovering economic loss for overpayment of a pharmaceutical that did not warrant the cost.
  26 See ECF No. 1747 Exhibit B, plaintiffs’ listing of TPPEcoLoss subclasses, also called herein groupings.
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                                                           77352                                                                            37



  4.2       RULE 23(a) REQUIREMENTS

            4.2.1      TPPEcoLoss Class: Rule 23 (a)(1) - Numerosity

            Based on the alignment between TPPs and their insureds who purchased VCDs, plaintiffs
  estimate a very large number of TPPs are putative members in this class as there are thousands of
  TPPs nationwide who could have served the possible millions of members in the ConEcoLoss class.
  Deducing that a large number of ConEcoLoss class members dictates a comparatively large number of
  TPPEcoLoss members, plaintiffs aver there’s a high probability of at least 40 TPPs in this class. Even
  though this deduction lacks a demonstrated preponderance of the evidence, the Court finds it plausible
  and reasonable, and, accordingly, finds this requirement is met.



            4.2.2      TPPEcoLoss Class: Rule 23(a)(2) - Commonality

            Plaintiffs allege the economic loss to consumers and their TPPs arises in the same way.
  Consumers and TPPs paid (either in full or in part) for their VCDs because of defendants’ breach of
  warranty of drug safety, fraud, omission of their non-compliance with cGMPs, and resultant unjust
  enrichment. Plaintiffs aver there is a single common issue in both economic loss classes—payment for
  VCDs they regard as having zero economic value compared to uncontaminated valsartan—for which
  defendants must pay back. Plaintiffs also aver the facts resolving their legal claims center on
  defendants’ non-compliance with the FDAs cGMPs that resulted in nitrosamine contamination of
  valsartan API and finished doses.
            As in their arguments relating to the ConEcoLoss class, defendants aver that the wide
  variability relating to the ingested VCDs in terms of NDC, dosage, duration, and recall dates attest to a
  lack of common facts that negate commonality as to the economic loss. Plaintiffs counter that this
  variability to no great extent affects the commonality of cause, i.e., defendants’ conduct that resulted
  in VCD contamination, which, they aver, girds the entire litigation.
            The ultimate factual / legal issues for TPPEcoLoss class certification are:
  - whether the TPPEcoLoss class members paid in whole or in part for their insureds’ VCD prescriptions,
  regardless of the variability in the prescription specifics;
  - whether paid-for / reimbursed VCD prescriptions were contaminated according to FDA recalls; and
  - whether, and to what extent, the VCDs, because of their contamination, were worth less than the
  price paid for / reimbursed by the TPPEcoLoss class members.27


  27
    The Court appreciates the very large disagreement between the parties as to the economic value of the contaminated VCDs, which runs as a
  theme through the class certification arguments, especially, those relating to damages, and the class expert reports. This disagreement boils
  down to: Plaintiffs’ argument: if the contamination were known from the beginning, the VCDs would not have been sold and are therefore
  economically worthless. Economic loss damages amount to the full cost paid for the VCDs.
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            As these facts and issues are common, pertinent, and central to the entire TPPEcoLoss class
  and implicate each of the five asserted claims, the Court finds this requirement met.



            4.2.3      TPPEcoLoss Class: Rule 23 (a)(3) – Typicality
             Plaintiffs have proposed two TPPEcoLoss Class Representatives, MSP Recovery Claims, Series
  LLC [“MSPRC”] and Maine Automobile Dealers Association, Inc. Insurance Trust (“MADA”). These seek
  economic loss damages through the 5 legal claims on behalf of the unnamed, putative TPP members.
            As noted above, the commonality and typicality requirements tend to merge. Even if there
  are fact differences between named and unnamed TPPs, such as to their insureds, the amount of
  insurance coverage for the VCDs, the VCDs covered in the TPP’s formulary, etc., these specifics do not
  raise a conflict between the named class representatives and the rest of the putative class. All class
  members share key issues of law as well as the key fact: they allege their economic loss arises from
  same or substantially similar conduct by defendants, which resulted in VCD contamination. Such a lack
  of conflict in the legal claims and interests between the named and the unnamed class members is the
  hallmark of typicality. Accordingly, the Court finds this requirement met.



            4.2.4      TPPEcoLoss Class: Rule 23 (a) (4) - Adequacy

             As discussed above for the ConEcoLoss class, this requirement looks to whether there is a
  conflict of interest between the named and unnamed plaintiffs. The Court’s goal is to make sure the
  facts and legal issues pertinent to the class representatives do not unfairly play down those of the
  unnamed plaintiffs.

            The TPP plaintiffs allege that named and unnamed TPPEcoLoss plaintiffs have experienced the
  same kind of economic loss. And, had they known of the VCD contamination, they would not have paid
  or reimbursed for these drugs because they were not merchantable. There is no fundamental, or even
  tangential, conflict between the allegations of economic loss by the named representatives and those
  by the unnamed class members; every TPPEcoLoss plaintiff asserts the same legal claims regarding
  their economic loss, and seeks the same kind of relief. Moreover, all TPPEcoLoss plaintiffs assert the
  same basic cause for their economic loss: defendants’ violation of cGMPs, which introduced genotoxic

  Defendants’ argument: the NDMA/NDEA contamination notwithstanding, the VCDs provided consumers the therapeutic value of lowering
  their blood pressure as expected, which value must be considered to calculate properly the economic worth of the VCDs at issue. Subtracting
  the therapeutic value from the full cost paid for the VCDs yields such a proper calculation.
              This disagreement points straight to a central trial issue: what economic loss damages do defendants owe plaintiffs? In resolving
  predominance and ascertainability requirements, the Court has declined to adopt either party’s theory of damages. Rather, the Court
  acknowledges that “some” economic value may be owed plaintiffs, which preserves both the precise calculus of damages and the resolution of
  the 5 legal claims of loss for the factfinder. The Court more fully discusses this dispute in section 6.0 relating to the reports of the class
  certification experts.
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  contaminants into valsartan API and finished doses.

             The claims for economic loss of each TPPEcoLoss class member certainly has facts unique to it,
  such as, the prescribed VCD of their insured consumer, the insureds’ prescription dosages and
  durations, the total amounts of economic loss, differences in state law standards across the five
  asserted claims, etc. But the uniqueness of these facts and state law standards do not support a theory
  of actual or potential conflict between the named and unnamed plaintiffs. The alleged reason for the
  TPP economic loss does not vary from one TPPEcoLoss plaintiff to another. In addition, TPPEcoLoss
  plaintiffs have retained counsel who are experienced in MDL litigation and class certification disputes.
  These are Gregory Hansel of Preti Flaherty Beliveau & Pachios, Chartered, LLP, Counsel for MADA28;
  and Jorge Mestre of Rivero Mestre LLP, Counsel for MSPRC. 29 Accordingly, the Court finds this
  requirement met.


  4.3        RULE 23(b)(3) REQUIREMENTS
             4.3.1      TPPEcoLoss Class: Predominance

             Plaintiffs list their proposed 19TPPEcoLoss subclasses in ECF Doc. 1747-2, Exh. 2, and aver
  these correspond to specific variations in state law standards for each claim and therefore control for
  differences in facts and law among all putative TPPEcoLoss members. Plaintiffs argue that critical,
  common issues dominate the economic loss of each putative TPPEcoLoss member over any
  individualized specifics, especially, divergent state law standards of economic injury for any of the five
  asserted claims. As plaintiffs aver, these central issues revolve around defendants’ conduct of asserting
  that the VCDs were the chemical equivalent of the patented reference listed drug [RFL] in the Orange
  Book.

             Specifically, these issues are:
  - whether, by presenting consumers with an FDA-approved VCD label, the defendant mfrs made
  express warranties to TPPs of the “sameness” of their products to the VCDs’ RLDs, which implied the
  VCDs were consistent with the safety, quality, purity, identity, and strength characteristics reflected in
  the FDA-approved labels, to wit, the VCDs were neither contaminated, adulterated, nor misbranded;
  - whether additional information from defendant mfrs’ websites and other of mfrs’ published
  information reinforced these alleged warranties that the VCDs complied with cGMPs and did not, and
  were unlikely to, contain any ingredients, including genotoxins such as nitrosamines, not in the RLD


  28 Mr. Handel is currently co-lead counsel for direct purchasers in an ongoing MDL In re Automotive Parts Antitrust Litigation, MDL No. 2311 and

  served as co-lead counsel in Marine Hose Antitrust Litigation, MDL No. 1888 (S.D. Fla.), now terminated, where there was a settlement for a
  class of purchasers.
  29 Mr. Mestre is interim co-lead counsel for the putative class of third party payors in the consolidated class action, In re Metformin Marketing

  and Sales Practices Litigation (20-cv-2324, D.N.J., Arleo, J.)
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  Orange book listing;
  - whether, in constructing their drug formularies, TPPs, their PBMs, and other agents so involved
  reasonably relied on the VCD labels that these drugs were legally compliant in terms of
  pharmaceutical equivalence, safety, etc. and were otherwise the same as their RLD counterparts,
  which induced TPP plaintiffs to include the VCDs in their drug formularies.
   At heart, plaintiffs argue that whether defendants made representations and express warranties to
   the TPPs that their VCDs were the same as the RLD is a matter of class-wide, not individualized, proof
   for each TPP.

           Defendants dispute plaintiffs’ assertion that the VCD labels imposed an express or implicit
   warranty of mfrs’ cGMP compliance because the offer for sale of a generic prescription drug in the U.S.
   marketplace does not act as a warranty of its exact chemical identity to the Orange Book RLD
   composition. They state the VCDs were pharmaceutically and biologically equivalent to the RLD.
   Defendants also aver the VCDs marketed to TPPs and consumers were consistent with other
   characteristics of the RLD: its chemical and biological efficacy, and therefore its quality, purity, identity
   and strength as well. Further, defendants argue there are so many variations in state law standards,
   e.g., privity for a breach of warranty and correct intent in a fraud claim, which necessitates the
   marshalling of individualized facts for each TPP.
           As for the ConEcoLoss Class, the Court has researched the correctness of the state law
   standards that plaintiffs advance and upon which plaintiffs base their TPPEcoLoss subclasses. The
   Court views its “legal cite-checking” initiative as a key pathway to confirm that predominance has been
   deconstructed properly, leaving only those TPPEcoLoss subclasses that have substantially similar fact
   and law issues that dominate throughout.
           Again, as with the ConEcoLoss subclasses, the Court worked from defendants’ opposition chart
   of state law jurisprudence to research and confirm the legal correctness of plaintiffs’ proposed
   subclasses (which is the same as for the ConEcoLoss groupings). The Court’s findings in Table 4 in
   Section 4.4 infra prevail here as plaintiffs’ 19 TPPEcoLoss subclasses. Accordingly, the Court finds this
   requirement met.


          4.3.2    TPPEcoLoss Class: Rule 23(b)3 - Superiority

          The discussion in Section 3.3.2 regarding this requirement applies equally here. Plaintiffs aver
  the singular cause of their economic loss is defendants’ conduct, comprehensively sued for in the 5 legal
  claims to thereby determine the full economic loss of the entire class. Plaintiffs assert this singularity of
  cause and set of legal issues for all putative class members is why a class action is the superior litigation
  mechanism. Defendants do not address directly this alleged cause but focus on the variability in state
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  law standards for plaintiffs’ claims. Again, as asserted above, having been the transferee court of this
  MDL since consolidation four years ago, the Court sees little intelligent rationale for not concentrating
  litigation efforts and resolving all TPPEcoLoss claims here through a class action in which subclasses
  have been divvied up according to the variability in the required elements of the state law claims.

          Managing a TPPEcoLoss class with 18 subclasses is likely less onerous than managing the 93
  subclasses of the ConEcoLoss class. Weighing this burden against its own experience with the MDL,
  the Court observes that certification of a large TPPEcoLoss class and a proper division of it into
  subclasses based on state law variation in legal standards is the better mechanism for efficient
  adjudication than individual law suits by TPPEcoLoss plaintiffs. Class certification with appropriately
  defined subclasses promotes fewer inconsistent verdicts and concentrates litigation efforts for both
  parties into fewer trials as well as promoting Class Action settlement, thereby decreasing unnecessary
  cost and effort overall for both parties. Accordingly, the Court finds this requirement met.


          4.3.3    TPPEcoLoss Class: Rule 23(b)(3) - Ascertainability
          As the Third Circuit has taught: what is not required to comply with this requirement is that
  plaintiffs have to “identify the class members at class certification stage.” Hargrove v. Sleepy, 974 F.3d
  467, 479 (3d Cir. 2020). What is required at this stage is “that Appellants show there is a ‘reliable and
  administratively feasible mechanism,’ Byrd [v. Aaron’s, Inc.], 784 F.3d [154] at 163 [3d.Cir 2015] (quoting
  Carrera [v. Bayer Corp.], 727 F.3d [300] at 306) [3rd Cir. 2013].” Ibid.
          Compared to the parties’ disputed methods for calculating the actual economic losses of both
  Economic Loss classes—and in particular how to factor in offsets for VCD costs from Medicare,
  Medicaid, or drug discounters, such as Good Rx—determining what TPPs are actually in the
  TPPEcoLoss class is relatively simple. Plus, it appears relatively uncomplicated for plaintiffs to have
  arrived at a methodology that identifies a definitive list of TPPs who paid for U.S. prescriptions during
  the relevant time period. Most of these data are available from the records of the TPPs or their agents
  who managed TPP drug reimbursements, and/or from the Pharmacies, and/or from the Pharmacy
  Benefit Managers [“PBMs”] who worked with the TPPs and/or their PBM agents, all of which worked
  individually or separately to establish drug formularies and reimbursement calculi. Such formularies
  coupled with Pharmacy records of VCD transactions coupled with Iqvia data (discussed supra) go a
  considerable way in developing a reliably and reasonably objective methodology of ascertaining
  TPPEcoLoss class members. Moreover, both plaintiffs’ and defendants’ expert reports inform on the
  quantity and quality of the data needed to ascertain members definitively as well as the pathway for
  doing so. While not agreeing as to what data pinpoint “perfect” TPPEcoLoss class membership, both
  parties’ experts generally do confirm the data mentioned above are relevant, objective, and useful in
  creating a feasible, if imperfect, method of ascertaining class membership. As feasible, and not perfect,
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  ascertainability is the standard, the Court finds this requirement met.


  4.4     SUMMARY OF TPPEcoLoss CLASS CERTIFICATION AND TPPEcoLoss SUBCLASSES

          In summary, the TPPEcoLoss class has met both Rule 23(a) and Rule 23(b) requirements. Table
  4 below sets forth the results of the Court’s “cite checking” of the legal standards in each jurisdiction for
  plaintiffs’ proposed TPPEcoLoss subclasses and amends these accordingly. The Court hereby certifies
  the TPPEcoLoss class and requires plaintiffs to amend their 19 TPP subclasses according to Table 4,
  while again appreciating that plaintiffs may need to “match up” the recommendations in Table 4 to
  their proposed TPPEcoLoss subclasses.
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                                                                    77358                                                                                  43
Table 4: For Plaintiffs’ Five Claims, Summary of Incorrect TPP Economic Loss Subclasses & Required Corrections to Proposed Subclasses

 Breach of Express Warranty Subclass (EW)        Incorrectly Included States In Ps EW Group a         Correct EW Group
 Group a: Privity Not Required; PreSuit Notice
 Not Required
                                                 FL: Privity not required; PreSuit notice required    MOVE to EW Group b
                                                 KY: Privity required; PreSuit notice not required    MOVE to EW Group c
                                                 RI: Privity not required; PreSuit notice required,   MOVE to EW Group b
                                                 but not much
                                                 SC: Privity not required; PreSuit notice required    MOVE to EW Group b
                                                 WY: Privity not required; PreSuit Notice required    MOVE to EW Group b


 Breach of Express Warranty Subclass (EW)        Incorrectly Included States In Ps EW Group b         Correct EW Group
 Group b: Privity Not Required; PreSuit Notice
 May Be Required
                                                                                                      AL: Debatable if PreSuit notice is or may be
                                                                                                      required; leaving in EW Group b
                                                                                                      NY: in correct EW Group b; does NOT require privity
                                                                                                      NC: Debatable if PreSuit notice is or may be
                                                                                                      required; leaving in EW Group b
                                                 ND: Privity required                                 MOVE to EW Group c
                                                                                                      OR: in correct EW Group b; PreSuit notice required
                                                 TN: Privity & PreSuit Notice Required                CREATE NEW EW SUBCLASS/GROUPING FOR
                                                                                                      TN OR EXCLUDE TN FROM CLASS


Breach of Express Warranty Subclass (EW)         Incorrectly Included States In Ps EW Group c
Group c: PreSuit Notice Not Required; Privity
May be Required
                                                 NONE
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                                                                  77359                                                                                   44
Breach of Implied Warranty Subclass (IW)        Incorrectly Included States In Ps IW Group a         Correct IW Group
Group a: Privity Not Required; PreSuit Notice
Not Required
                                                HI: Defendants aver PreSuit notice required; Court   HI: In correct group IW a
                                                disagrees
                                                IN: Defendants aver PreSuit notice required; Court   IN: in correct group IW a. FDA recalls may suffice
                                                disagrees                                            as PreSuit notice. Defendants’ cited case concerns
                                                                                                     contractual duties; but no contract here. .
                                                MN: PreSuit notice required to a party in supply     MOVE to IW Group b
                                                chain
                                                MO: PreSuit notice required                          MOVE to IW Group b
                                                PA: Breach of Implied Warranty claim not             REMOVE PA FROM ANY IW GROUP
                                                permitted against drug mfr under PA law
                                                SC: PreSuit notice required                          MOVE to IW Group b


Breach of Implied Warranty Subclass (IW)        Incorrectly Included States In Ps IW Group b         Correct IW Group
Group b: Privity Not Required; PreSuit Notice
Required
                                                NONE


Breach of Implied Warranty Subclass (IW)        Incorrectly Included States In Ps IW Group c         Correct IW Group
Group c: Privity Required; PreSuit Notice Not
Required
                                                NY: Privity and PreSuit notice required in EcoLoss   MOVE to IW Group 4
                                                IW claim
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                                                                   77360                                                       45
Breach of Implied Warranty Subclass (IW)    Incorrectly Included States In Ps IW Group d             Correct IW Group
Group d: Privity Required; PreSuit Notice
Required
                                            NONE

Fraud Subclass (FR) Group a: Recklessness   Incorrectly Included States In Ps FR Group a             Correct FR Group
                                            AK: Defendants aver Knowledge of falsity of              MOVE to FR Group c
                                            statement required
                                            OH: Requires either Knowledge, or Recklessness,          MOVE to FR Group c
                                            which amounts to inferred Knowledge
                                            MA: Defendants aver knowledge of falsity of              MOVE to FR Group c
                                            statement required
                                            NC: Requires Scienter, intent to deceive                 MOVE to FR Group c
                                            SD: Requires either Knowledge or Recklessness            MOVE to FR Group c


Fraud Subclass (FR) Group b: Ignorance of   Incorrectly Included States In Ps FR Group b             Correct FR Group
the Truth
                                            AR: requires Knowledge of the falsity                    MOVE to FR Group c
                                            ID: requires Knowledge of the falsity                    MOVE to FR Group c
                                            MN: requires Knowledge of the falsity                    MOVE to FR Group c
                                            TN: requires Recklessness                                MOVE to FR group a


Fraud Subclass (FR) Group c: Knowledge      Incorrectly Included States In Ps FR Group 3             Correct FR Group
                                            NONE
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                                                                   77361                                                         46
Consumer Protection Subclass (CP)          Incorrectly Included States In Ps CP Group a            Correct CP Group
Group a: Intent Not Required;
Standardized Violation Language; PreSuit
Notice Not Required
                                           IL: Requires Intent                                     MOVE to CP Group d
                                           SC: class action claim under ConProtAct not permitted   REMOVE SC FROM ANY CP GROUP
                                           SC: class action claim under ConProtAct not permitted   REMOVE TN FROM ANY CP GROUP
                                           WV: suits for drug purchases under WV Consumer          REMOVE WV FROM ANY CP GROUP
                                           Protection Act not permitted


Consumer Protection Subclass (CP)          Incorrectly Included States In Ps CP Group b            Correct CP Group
Group b: Intent Not Required; Non-
Standardized Violation Language; PreSuit
Notice Not Required
                                           KS: Intent Required                                     MOVE to CP Group d


Consumer Protection Subclass (CP)          Incorrectly Included States In Ps CP Group c            Correct CP Group
Group c: Intent Not Required;
Standardized Violation Language; PreSuit
Notice Required
                                           AL: class action claim under ConProtAct not permitted   REMOVE AL FROM ANY CP GROUP
                                           GA: class action claim under ConProtAct not permitted   REMOVE GA FROM ANY CP GROUP
                                           MS: class action claim under ConProtAct not permitted   REMOVE MS FROM ANY CP GROUP


Consumer Protection Subclass (CP)          Incorrectly Included States In Ps CP Group d            Correct CP Group
Group d: Intent Required; Standardized
Violation Language; PreSuit Notice Not
Required
                                           AR: class action claim under ConProtAct not permitted   REMOVE AR FROM ANY CP GROUP
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Wholesaler Unjust Enrichment Subclass (WHUE) Group a:           Incorrectly Included States In Ps WHUE     Correct UE Group
Higher Burden; UE = Primary Claim; Direct Benefit Required      Group a
Plaintiffs list: only Texas in this Group;                      NONE
Defendants do not include Texas in their opposition


Wholesaler Unjust Enrichment Subclass (WHUE) Group b:           Incorrectly Included States In Ps WHUE     Correct UE Group
Higher Burden; UE= Alternative Claim; Direct Benefit NOT        Group b
Required
Plaintiffs list: only Alabama, Montana in this Group;           NONE
Defendants do not include Montana in their opposition


Wholesaler Unjust Enrichment Subclass (WHUE) Group c:           Incorrectly Included States In Ps WHUE     Correct UE Group
Normal Burden; UE= Alternative Claim; Direct Benefit NOT        Group c
Required
Plaintiffs list: Arizona, Arkansas, Connecticut, Maryland,      CT: Higher burden required                 MOVE to WHUE Group b
Minnesota, Rhode Island, Vermont, Wyoming


Wholesaler Unjust Enrichment Subclass (WHUE) Group d:           Incorrectly Included States In Ps WHUE     Correct UE Group
Normal Burden; UE= Alternative Claim; Direct Benefit            Group d
Required
Plaintiffs list: Alaska, Delaware, Florida, Georgia, Idaho,     DE: Higher burden required                 MOVE to WHUE Group f
Nebraska, New Jersey, North Dakota, Ohio, Pennsylvania,         FL: Higher burden required                 MOVE to WHUE Group f
Virginia, Washington                                            GA: Direct Benefit not required, but not   MOVE to WHUE Group f
                                                                changing Plaintiffs choice
                                                                OH: Higher burden required
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Wholesaler Unjust Enrichment Subclass (WHUE) Group e:                     Incorrectly Included States In Ps WHUE
Normal Burden, UE = Alternative Claim, Direct Benefit                     Group e
Required
Plaintiffs list: California, Colorado, DC, Hawaii, Illinois, Indiana,     CA: Higher burden may be required        MOVE to WHUE Group f
Iowa, Kansas, Louisiana, Maine, Massachusetts, Mississippi,               CO: Higher burden required               MOVE to WHUE Group f
Missouri, Nevada, New Mexico, New York, North Carolina,                   IN: Higher burden required               MOVE to WHUE Group f
Oklahoma, Oregon, South Carolina, South Dakota, Tennessee,
Utah, Puerto Rico


Wholesaler Unjust Enrichment Subclass (WHUE) Group 6:                     Incorrectly Included States In Ps WHUE   Correct UE Group
Heightened Burden; UE = Alternative Claim; Direct Benefit                 Group 6
Required
Plaintiffs List: Only Kentucky                                                                                     See above: Move DE, FL, OH, CA, CO, IN
                                                                                                                   to this Group
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  5.0     MEDICAL MONITORING CLASS CERTIFICATION
  5.1     CLASS DEFINITIONS

          Plaintiffs seek certification of three medical monitoring [“MedMon”] classes against all
  defendants—Mfrs, Wholesalers, and Pharmacies. Two classes pursue medical monitoring as a legal
  claim independent of any other accompanying claim; these are termed generally IND MedMon classes.
  One IND MedMon class is sought under Rule 23(b)(3) and termed 23(b)(3) IND MedMon class. The other
  independent class is sought as an alternative under Rule 23(b)(2) and termed 23(b)(2) IND MedMon
  class. Plaintiffs also seek a single class under Rule 23(b)(2) that pursues medical monitoring as a remedy
  for an accompanying legal claim, and is termed 23(b)(2) REM MedMon class.

          Medical monitoring involves payment for diagnostic testing and medical checkups of individual
  class members to detect and diagnose certain cancers as early as possible. Relying on medical
  literature that associates NDMA/NDEA ingestion with an increased risk of cancer incidence, plaintiffs
  have alleged MedMon class members are more likely to develop certain cancers because of their
  ingestion during the relevant period of nitrosamines presumed present in their prescribed VCDs. Such
  cancers may not manifest until after a latency period or never manifest.

          To enter any of the proposed MedMon classes, an individual must meet the following boundary
  condition: that is, they must have consumed a Lifetime Cumulative Threshold [“LCT”] of NDMA,
  NDEA, or both, from their prescribed VCDs sold in the U.S. during the relevant period. Simply, the
  Lifetime Cumulative Threshold is a number calculated from an individual’s ingestion history of VCDs.

          Table 5 shows the various calculations of LCT, depending on what APIs were ingested, for how
  long, and at what dosage. Of note, the LCT is a lower limit number, that is, a minimum threshold
  number calculated from the particular VCD(s) ingested, dosage(s), and duration of ingestion. A
  calculation equal to or above an LCT in Table 5 places the individual into one of the MedMon Classes
  depending on the medical monitoring relief sought and if the state law of their domicile so permits.
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  Table 5: LCT Calculation from VCD API, dosage, and duration for any MedMon Class Member

    Daily            Duration                   VCD Active Pharmaceutical Ingredient [“API”]
   Dosage
                     3 months                                Zhejiang Huahai API
   320 mg           18 months                                    Hetero API
                    54 Months        API from: Mylan OR Aurobindo OR Combination of Mylan and Aurobindo


                    6 months                                 Zhejiang Huahai API
   160 mg           32 months                                    Hetero API
               108 mos (9 yrs)       API from: Mylan OR Aurobindo OR Combination of Mylan and Aurobindo


                    12 months                                Zhejiang Huahai API
    80 mg           64 months                                    Hetero API
                    216 months       API from: Mylan OR Aurobindo OR Combination of Mylan and Aurobindo


    40 mg           24 months                                Zhejiang Huahai API
                    128 months                                   Hetero API
                    432 months       API from: Mylan OR Aurobindo OR Combination of Mylan and Aurobindo


            5.1.1     The Rule 23(b)(3) or (b)(2) IND MedMon Class Definition
            Asserted in the alternative under either Rule 23(b)(3) or (b)(2), the IND MedMon classes include
  those who ingested an LCT of NDMA and/or NDEA from contaminated VCDs and who reside in U.S.
  jurisdictions where the law permits medical monitoring as a legal claim independent of any other
  pleaded in the litigation. Both proposed IND MedMon classes, under either Rule 23(b)(3) or
  alternatively23(b)(2), includes relevant individuals residing in Alaska, Arizona, Colorado, Delaware,
  District of Columbia, Florida, Hawaii, Idaho, Illinois, Iowa, Maine, Massachusetts, Minnesota, Missouri,
  Montana, Nevada, New Hampshire, New Mexico, New York, North Dakota, Oregon, Pennsylvania,
  Rhode Island, South Dakota, Utah, Vermont, West Virginia, Wyoming.
            Excluded jurisdictions for both IND MedMon classes are: Alabama, Arkansas, California,
  Connecticut, Georgia, Indiana, Kansas, Kentucky, Louisiana, Maryland, Michigan, Mississippi,
  Nebraska, New Jersey, Ohio, Oklahoma, South Carolina, Tennessee, Texas, Virginia, Washington, and
  Wisconsin.



            5.1.2     The Rule 23(b)(2) REM MedMon Class Definition

            Asserted under Rule 23(b)(2), the REM MedMon class includes those individuals who have
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  ingested during the relevant period an LCT of NDMA and/or NDEA from prescribed VCDs and who also
  reside in U.S. jurisdictions where the law permits medical monitoring only as a remedy to a pleaded
  claim. This class specifically includes those relevant individuals residing in every U.S. jurisdiction,
  except Mississippi.


  5.2        PARTIES’ CONTENTIONS

             For class certification of the IND MedMon Class under either Rule 23(b)(2) or (b)(3), plaintiffs
  assert that their submission of persuasive authority on how states’ courts have or would rule on medical
  monitoring should aid this Court’s certification analysis. Alternatively, plaintiffs suggest that if a state
  court ruling on medical monitoring is unclear or absent, the Court may divide either the 23(b)(3) or the
  23(b)(2) IND MedMon Class into two: one for states where medical monitoring is an independent claim
  not requiring proof of present injury; and the other for those states where medical monitoring is an
  independent claim but with ancillary requisites. 30 Defendants contend that, for this class, the law in
  several jurisdictions is undecided as to whether medical monitoring is an independent cause of action,
  which militates against class certification.

             For class certification of the REM MedMon class, plaintiffs likewise suggest that, if unsatisfied
  with the accuracy of its submission on state law requirements, the Court may divide this class into two:
  one class of those jurisdictions that both prohibit medical monitoring as an independent claim and
  requiring no present physical injury or only a showing of sub-cellular injury; and the other class of those
  other jurisdictions that prohibit medical monitoring as an independent claim. Defendants assert
  several states lack judicial precedent on whether medical monitoring is a remedy, including Tennessee,
  Connecticut, Delaware, Indiana, Georgia, and Nebraska and question the accuracy of plaintiffs’
  persuasive authority. Plaintiffs respond that, for any proposed MedMon class, the lack of
  jurisprudential clarity from the highest state court does not act against either the independence of the
  remedy or the availability of a medical monitoring legal claim. They aver that, even in the absence of a
  ruling by a state’s highest court, an adjudicating court can, and should, predict how the highest state
  court would rule in order to provide needed jurisprudence31 and resolve any ambiguity as to medical
  monitoring.
             Generally, plaintiffs assert that both proposed Rule 23(b)(2) IND and REM MedMon classes as
  well as the Rule 23(b)(3) IND MedMon Class meet Rule 23 requirements. In particular, they contend:


  30 These include: either not requiring present physical injury or needing only a showing of sub cellular injury.
  31 Since the independence of a medical monitoring claim involves a decision on substantive, not procedural, state law, and since there is no

  substantive federal common law on a medical monitoring claim, plaintiffs’ argument on its face does not encroach upon the Erie doctrine.
  However, plaintiffs do not address the practical concern: in supplying missing state law, some Federal Courts prefer to construe it
  conservatively, which leaves open a pathway for incongruous decision-making if Courts from different Circuits interpret a state’s substantive
  law dissimilarly.
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  1) both Rule 23(b)(2) MedMon classes seek a group remedy that is predominantly injunctive or
  declaratory;
  (2) all MedMon classes maintain that a singular cause for relief sought, defendants’ conduct, applies to
  the entirety of the class; and
  (3) in no MedMon class is there individualized treatment sought by individual class members.
             Plaintiffs further argue that, even though a medical monitoring program involves payment to a
  medical testing agency/provider to analyze results, the essential nature of medical monitoring is not
  damages relief. Seeking no particular amount of damages, plaintiffs declare that medical monitoring is
  equitable in nature, and they therefore are seeking what is tantamount to an injunction that stipulates
  defendants provide plaintiffs monitoring, which parenthetically must be paid for.

             Defendants counter that no proposed MedMon class meets Rule 23 requirements. They argue
  the great variability in the facts of each plaintiff’s nitrosamine exposure—such as exposure levels,
  medical histories, whether for each plaintiff there is an actual need for, and benefit to, monitoring, and
  for how long—coupled with the variability in state law standards not only defeats cohesiveness under
  Rule 23(b)(2) but also precludes predominance under Rule 23(b)(3).
             Defendants further argue certification for both IND and REM MedMon classes commands
  review under Rule 23(b)(3), not 23(b)(2). They assert medical monitoring is improper for class
  certification under 23(b)(2). Defendants aver Rule 23(b)(2) was intended to give broad declaratory /
  injunctive relief in civil rights cases that seek to protect an amorphous class of persons who, since they
  often cannot be noticed, are in fact not noticed, and concomitantly cannot opt out of the class.
  Defendants also contend that medical monitoring essentially seeks money damages to pay for the
  medical testing, analysis, and reporting, thereby making certification under Rule 23(b)(2) improper.
  They again predict that the great variability in the facts of each plaintiff’s nitrosamine exposure coupled
  with the variability in state law standards can only defeat cohesiveness under 23(b)(2).32

             Since plaintiffs seek certification of the IND MedMon class under both Rules 23(b)(2) and (3) and
  a REM class under Rule 23(b)(2), the Court finds it prudent t0 examine Rule 23(b)(2) certification issues
  first to avoid any unintended estoppel effects on any MedMon class. See Table 6 infra.



             5.3        RULE 23(b)(2) CONSIDERATIONS

             5.3.1      Rule 23(b)(2) Requirements

             The Third Circuit has distinguished between classes certified under Rule 23(b)(3) and Rule


  32 and, they also argue, likewise precludes predominance under 23(b)(3).
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  23(b)(2) in that “these two subsections actually create two remarkably different litigation devices.”
  Shelton v. Bledsoe, 775 F.3d 554, 560 (3d Cir. 2015). Certifying a class under Rule 23(b)(2) requires “ ‘the
  indivisible nature of the injunctive or declaratory remedy [to be] warranted—the notion that the
  conduct is such that it can be enjoined or declared unlawful only as to all of the class members or as to
  none of them.’ Wal–Mart [Inc. v. Dukes], 131 S.Ct. [2541] at 2557 (quoting Richard A. Nagareda, Class
  Certification in the Age of Aggregate Proof, 84 N.Y.U. L. REV. 97, 132 (2009))”. Shelton, 775 F.3d at 560.
  Only when a single injunction / declaratory judgment can provide relief to each member of the class
  does Rule 23(b)(2) apply. Wal-mart, 564 U.S. at 360.
             Since Rule 23(b)(2) class members lack the right to opt out of the class, significant,
  individualized issues in the class action can undermine the manageability of the class and its overall
  value as a litigation mechanism. Consequently, the Third Circuit has imposed the requirement that a
  Rule 23(b)(2) class action be cohesive (Barnes v. Am. Tobacco Co., 161 F.3d 127, 143 (3d Cir.1998),
  particularly, as to those claims tried in the class action. Wetzel v. Liberty Mutual Insurance Company,
  508 F.2d 239 (3d Cir.1975). The cohesiveness requirement33 implicates neither member ascertainability
  (Shelton, 775 F.3d at 563), predominance, nor superiority. Wal–Mart, 564 U.S. at 362. As long as the
  23(b)(2) class is clearly defined, the class may be enforced without requiring identification of individual
  class members. 34 However, “[b]ecause of the cohesive nature of the class…all members of the [Rule
  23(b)(2)] class will be bound” and therefore “[u]nnamed members with valid individual claims [lack] the
  opportunity to withdraw and may be prejudiced by a negative judgment in the class action.” 35 Barnes,
  161 F.3d at 143. Courts therefore have been advised to be less liberal in granting class certification
  under Rule 23 (b)(2). Ibid. citing Santiago v. City of Philadelphia, 72 F.R.D. 619, 628 (E.D.Pa.1976).
             In sum, the Third Circuit has defined a proper Rule 23(b)(2) class as:
  (1) meeting the requirements of Rule 23(a); 36
  (2) sufficiently cohesive under Rule 23(b)(2) and the Circuit’s guidance in Barnes, 161 F.3d at 143; and
  (3) capable of description by a “readily discernible, clear, and precise statement of the parameters
  defining the class,” and the Circuit’s discussion in Wachtel ex. Rel. Jesse v. Guardian Life Ins. Co. of
  America], 453 F.3d 179, 187 (3d Cir. 2006).
  Shelton, 775 F.3d at 563.

             In addition to cohesiveness and a readily discernible statement of the class-entry boundary


  33
     Arises from Rule 23(b)(2) itself: A class action is maintainable under Rule 23(b)(2) when “the party opposing the class has acted or refused to
  act on grounds generally applicable to the class, thereby making appropriate final injunctive relief or corresponding declaratory relief with
  respect to the class as a whole.” Fed.R.Civ.P. 23(b)(2).
  34 “If relief is granted ... the defendants are legally obligated to comply, and it is usually unnecessary to define with precision the persons

  entitled to enforce compliance, since presumably at least the representative plaintiffs would be available to seek ... relief if necessary.” Rice v.
  City of Phila., 66 F.R.D. 17, 19 (E.D.Pa.1974).
  35 that is, inadvertent issue preclusion.
  36 Numerosity, commonality, typicality, representativeness of named class representatives.
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   condition, the Rule 23 (b)(2) class must seek primarily non-damages relief as the sole, universally-
   enforced relief. A claim for monetary relief must be incidental to the requested injunctive/declaratory
   relief and will entail “no complex individualized determinations.” Allison v. Citgo Petroleum Corp., 151
   F.3d 402, 415 (5th Cir.1998). The Third Circuit has declared incidental damages to “flow directly from
   liability to the class as a whole on the claims forming the basis of the injunctive or declaratory relief”
   and may not be computed by standards reliant upon “the intangible, subjective differences of each
   class member's circumstances [citation omitted].” Barabin v. Aramark Corp., 02-cv-8057, 2003 WL
   355417 at *2 (3d Cir. 24 Jan 2003) [emphasis in the original].

              Some courts in this Circuit have reviewed whether to certify a Rule 23(b)(2) class when medical
   monitoring was the requested injunctive /declaratory relief. Relying on Third Circuit guidance, the In re
   Diet Drugs (Phentermine/Fenfluramine/Dexfenfluramine) Products Liability Litigation Court [“In re Diet
   Drugs MDL”], 37 found that a court-supervised program in which class members get periodic medical
   examinations to early detect disease is a “paradigmatic request for injunctive relief.” MDL 1203, 2000
   WL 1222042, at *54 (E.D. Pa. 28 Aug 2000) [quoting Barnes, 161 F.3d at 132] . Moreover, upon
   summarizing Barnes’ guidance and applying it to medical monitoring as a remedy, 38 the In re Diet Drugs
   MDL Court certified both a Rule 23(b)(2) and a Rule 23(b)(3) class for medical monitoring in its proposed
   Class Action Settlement Agreement, especially because there was a relatively easy and scientifically
   well-known method for detection. However, the potential estoppel problems in a Rule 23(b)(2) class
   were resolved in the In re Diet Drugs MDL by the overlying Class Action Settlement Agreement. This is
   not the situation here, where there is no Class Action Settlement Agreement; thus, the Court finds In re
   Diet Drugs a not entirely helpful example of a double class certification.


              5.3.2      Estoppel Issues Relating to Rule 23(b)(2) Classes

              This Court finds neither party has sufficiently addressed these possible estoppel issues:
  1)          Possible estoppel effect by the 23(b)(3) IND MedMon class on the 23(b)(2) IND MedMon class.
   Neither party has raised whether the loss of medical monitoring damages for a Rule 23(b)(3) IND
   MedMon class member may trigger a corresponding loss of injunctive / declaratory relief for a Rule


   37 This MDL concerned the biological sequelae from taking certain diet drugs for the relevant duration, for which plaintiffs sought medical

   monitoring via a Rule 23(b)(2) class certification. Any negative caselaw treatment for the enforcement of the Class Action Settlement in this
   matter does not relate to or affect the legal propriety of the In re Diet Drug Court’s certification of the Rule 23(b)(2) class.
   38 “(1) plaintiff was significantly exposed to a proven hazardous substance through the negligent actions of the defendant;

   (2) as a proximate result of exposure, plaintiff suffers a significantly increased risk of contracting a serious asymptomatic disease;
   (3) that increased risk makes periodic diagnostic medical examinations reasonably necessary;
   (4) monitoring and testing procedures exist that make the early detection and treatment of the disease possible and beneficial; and
    (5) a reasonable physician would prescribe a monitoring regime different than the one that would have been prescribed in the absence of that
   particular exposure.”
   In re Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Products Liability Litigation., MDL1203, 2000 WL 1222042, at *54 (E.D. Pa. 28
   Aug 2000) [citing Barnes, 161 F.3d at 138 fn. 10 (citing In re Paoli Railroad Yard PCB Litig., 916 F.2d 829, 852 (3d Cir.1990) ) and In re Paoli
   Railroad Yard PCB Litig., 35 F.3d 717, 788 (3d Cir.1994) ].
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  23(b)(2) IND MedMon class member, especially because these two classes contain the same members.
  See Table 6 infra.
 2)          Possible estoppel effect of the 23(b)(2) IND MedMon class on the 23(b)(2) REM MedMon class in
  jurisdictions where a 23(b)(2) IND MedMon class member has lost the right to medical monitoring
  injunctive relief. In short, what effect does the loss of a medical monitoring injunctive remedy for an
  Independent claim have in those same jurisdictions where members seek the same remedy but for an
  accompanying legal claim?
  3)         Possible estoppel effect of the 23(b)(2) IND MedMon class on later personal injury damages
  claims. Put differently, could the loss of a medical monitoring injunctive remedy affect the 23(b)(2)
  class member’s eligibility for personal injury damages for a cancer-caused death because of the loss of
  medical monitoring, which imposed an intervening cause of the class member’s death? 39

             At this point in the litigation, estoppel issue (3) appears wholly unpredictable: all MedMon class
  members are by definition still alive; and none may ever succumb to cancer that is in part attributable
  to their ingestion of VCDs. Therefore, the Court acknowledges but does not consider this issue in its
  discussion infra on estoppel. 40




  39 The In re Thalomid & Revlimid Antitrust Litigation Court noted that a potential preclusive effect any injunction granted for the class could

  have on subsequent individual actions for damages should be considered when analyzing a motion for class certification under Rule 23(b)(2)).
  Civil Action No. 14-69972018 WL 6573118 at *25 (D.N.J. 30 Oct 2018).
  40
     A recent case in this District, C.P. v. New Jersey Department of Education, 19-cv-12807, 2022 WL 3572815, at *8-9 (D.N.J. 19 Aug 2022)
  concerned Rule 23(b)(2) class certification not for medical monitoring, but for enjoining the NJ Dept of Education from implementing without
  Court approval new procedures for due process hearings in cases involving special needs students. There, Judge Hillman expressly considered
  estoppel issue (3) above because the future damage claims in CP would most likely focus on whether the Dept. of Education had to
  compensate needy, eligible students for not providing adequate special education and the resultant consequences.
               Persuaded by the reasoning in Gooch v. Life Invs. Ins. Co. of Am., 672 F.3d 402 (6th Cir. 2012), Judge Hillman ruled that “a judgment
  on the Rule 23(b)(2) class's claims would not necessarily extinguish the rights of individual class members to later pursue separate damages
  actions”. C.P., 2022 WL 3572815, at *8-9. The Gooch Court had reasoned that “certifying declaratory relief under Rule 23(b)(2) is permissible
  even when the declaratory relief serves as a predicate for later monetary relief, which would be certified under Rule 23(b)(3).” 672 F.3d at 429.
               Citing In re Skelaxin (Metaxalone) Antitrust Litig., 299 F.R.D. 555, 578 (E.D. Tenn. 2014), Judge Hillman appreciated that no Court
  has a crystal ball with which to declare definitively the res judicata effects of a decision not yet rendered, which is really a matter only for the
  Court presented with such a subsequent action. But the important point for the class certification motions here is that Judge Hillman did the
  diligent review needed and was satisfied that certification of the 23(b)(2) class would not per se preclude future damages actions.
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   Table 6: Comparison of MedMon Classes Sought and Possible Estoppel Effect Caused by Certifying IND MedMon under Rule 23(b)(2)
Class       Definition                  Relief Sought             Where Relief is Sought                 Estoppel Effect 41
23(b)(3)    those who ingested during Damages Relief for Medical Alaska, Arizona, Colorado, Delaware,    IF 23(b)(2) IND class members lose
IND         relevant duration an LCT of Monitoring as Separate    District of Columbia, Florida, Hawaii, MedMon rights,
            NDMA / NDEA from VCDs Claim, INDEPENDENT of           Idaho, Illinois, Iowa, Maine,          THEN so may 23(b)(3)
            AND reside within U.S       any other pleaded claim   Massachusetts, Minnesota, Missouri,    IND class members
            jurisdictions where law                               Montana, Nevada, New Hampshire,        because both IND classes
            permits medical                                       New Mexico, New York, North Dakota, comprise SAME members
            monitoring as independent                             Oregon, Pennsylvania, Rhode Island,
            legal claim                                           South Dakota, Utah, Vermont, West
                                                                  Virginia, Wyoming
23(b)(2)    Same as above               ONLY Injunctive /         Same as above                           IF 23(b)(3) IND class members
IND                                     Declaratory Relief: :                                            lose MedMon rights,
                                        Approved Medical                                                 THEN so may 23(b)(2)
                                        Monitoring Program that                                          IND class members
                                        requires creating fund to                                        because both IND classes
                                        pay for medical testing &                                        comprise SAME members
                                        exams.

23(b)(2)       those who ingested in                      ONLY Injunctive-                  Specifically included are relevant         IF 23(b)(2) IND class members lose
REM            relevant duration an LCT                   Declaratory Relief in form        individuals residing in every U.S. land,   MedMon rights, to medical THEN
               of NDMA / NDEA from                        of: Approved Medical              except Mississippi.                        so may those 23(b)(2)
               VCDs and reside in U.S.                    Monitoring Program, which                                                    REM class members in same
               jurisdictions where law                    requires creating fund to                                                    jurisdictions as listed in 23(b)(2)
               permits medical                            pay for medical Checkups &                                                   IND class.
               monitoring only as remedy                  testing
               to accompanying claim.



  41 See supra, for discussion on Rule 23(b)(2) class certification requirements.
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  .          This Court has reviewed the available jurisprudence as it relates especially to estoppel issue (1)
  in Table 6 supra in deciding which of the three MedMon classes to certify. To say that such
  jurisprudence is a jumble of differing opinions and predictions grossly understates, largely because of
  the difficulty to project into the future the legal effect from the loss of injunctive / declaratory relief
  onto the same kind of relief or onto damages claims.

             Whether adjudication of a Rule 23(b)(2) class action automatically bars a later action for
  damages for the same claim is the key consideration in certifying a Rule 23(b)(2) class. Since the Third
  Circuit has yet to rule definitively about such preclusive effect, this Court has found a few cases within
  the Circuit that have wrestled with this issue. Interestingly, these courts have reached different
  conclusions about whether to certify a Rule 23(b)(2) class. This jurisprudence is summarized at the
  footnote. 42


  5.4        RULE 23(b)(2) IND MedMon CLASS
             To cut to the chase, this Court incorporates the Processed Egg Products guidance (see fn. 42):
  that a court must apply careful diligence in certifying a Rule 23(b)(2) class and 23(b)(3) class that are

  42          In In re OSB Antitrust Litigation, No. 06–826, 2007 WL 2253425, at *17–18 (E.D. Pa. 3 Aug 2007), the court agreed with plaintiffs that
  the claims for damages and injunctive relief were entirely separate and that the 23(b)(2) class would not necessarily extinguish the rights of
  individual class members to later pursue separate damages actions. Differently from here, the two proposed classes arose under different
  statutes—the Clayton Act versus state statutes—and comprised a nationwide class and state law classes. Since the nationwide class
  potentially included many members from states that prohibited damages actions, many of that class sought injunctive relief only. Therefore,
  since the nationwide class was generally precluded from bringing prohibited damages actions, the court saw the two classes—national and
  state law-- had a “ingrained” estoppel boundary. There is no such ingrained estoppel boundary here as medical monitoring and personal
  injury claims arise under state law.

              The court in In re Processed Egg Products, MDL 2002, 312 F.R.D. 124 (3d Cir. 2015) refused to certify a Rule 23(b)(2) class along with a
  Rule 23(b)(3) class, but nonetheless gave plaintiffs the option to renew their motion for 23(b)(2) certification. Id. at 165. To the point, the court
  found that the certification of a Rule 23(b)(2) and a 23(b)(3) class in which both classes include many of the same members could implicate a
  possible estoppel effect on later damage claims, which is precisely the concern of this Court. The Processed Egg Products court thoroughly
  reviewed the extant jurisprudence on this issue and relied heavily on the Third Circuit’s approach in Hohider v. United Parcel Serv., Inc., 574 F.3d
  169 (3d Cir.2009) even while recognizing that Hohider was not on point to the estoppel issue the Processed Egg Products court faced.
              The Hohider approach to certification of separate Rule 23(b)(2) and Rule 23(b)(3) classes is a diligent review of these factors:
  - “the overall complexity of the case and the efficiencies to be gained by granting partial certification;
  - the substantive law underlying the claim(s), including any choice-of-law questions it may present;
  - the impact partial certification will have on the constitutional and statutory rights of both the class members and the defendant(s);
  - the potential preclusive effect that resolution of the proposed issues class will have; and so forth.”
  Id. at 201–02.
              Besides these Third Circuit rulings, other Circuits have found that an earlier judgment in a Rule 23(b)(2) class action does not
  necessarily bar later actions on damages.
  See e.g. Hiser v. Franklin, 94 F.3d 1287 (9th Cir. 1996)[ pronouncing “the general rule is that a class action suit seeking but declaratory and
  injunctive relief does not bar subsequent individual damage claims by class members, even if based on the same events.” Id. at 1291]; and
  Gooch v. Life Invs. Ins. Co. of Am., 672 F.3d 402 (6th Cir. 2012) [stating: “In sum, certifying declaratory relief under Rule 23(b)(2) is permissible
  even when the declaratory relief serves as a predicate for later monetary relief, which would be certified under Rule 23(b)(3).” Id. at 429].
  But see Zachery v. Texaco Exploration and Production, Inc., 185 F.R.D. 230 (W.D. Tex. 1999) [finding “[b]ecause there appears to be no clear cut
  right to opt out of a Rule 23(b)(2) class action, the named Plaintiffs are asking the class members being represented here to risk waiving their
  right to monetary damages solely so the action for disparate treatment can proceed as a class action. Although the opt-out issue has not been
  fully decided, the Court is unwilling to risk this result.” Id. at 244].
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  twins to each other in terms of class membership and legal argument but not on Rule 23 standards or
  for the remedies sought.
             Accordingly, like the courts in both In re Egg Processed Egg Products Antitrust Litigation and In
  re Thalomid and Revlimid Antitrust Litigation, No. 14-cv-6997, 2018 WL 6573118 at *24-25 (D.N.J. 30
  October 2018), this Court DENIES WITHOUT PREJUDICE the certification of the Rule 23(b)(2) IND
  MedMon class. Specifically, the Court grants plaintiffs the right to re-seek class certification of the
  23(b)(2) IND MedMon class if they choose to include in their renewed motion briefing on the specific
  estoppel effects the Rule 23(b)(2) IND MedMon class may have on other concurrent MedMon classes.


  5.5        RULE 23(b)(2) REM MedMon CLASS
             As discussed above, a properly certified Rule 23(b)(2) class demonstrates the following:
  a clear and precise statement of the parameters defining the class; Rule 23(a) requirements; sufficient
  cohesiveness; as well as seeks a remedy that is primarily injunctive or declaratory.
             As for a class entry parameter, the list in Table 5 of LCT calculations presents a sufficiently
  coherent and consistent entry criterion into this class. 43 As for cohesiveness, the Court’s confirmation in
  Table 7 infra of the legal standards in each jurisdiction that permits medical monitoring as a remedy for
  an accompanying legal claim subdivides the class into relevant subclasses.

             As for Rule 23(a) requirements, class members are highly likely numerous beyond the minimum
  of 40 persons simply because of the numbers of individuals in the U.S. who took VCDs to control their
  hypertension. The legal claims of this class exhibit commonality and typicality in that each class
  member must have ingested an LCT of NDMA and / or NDEA and reside in a U.S. jurisdiction that allows
  a medical monitoring remedy for such exposure. Moreover, the LCT listing itself defines a required
  boundary around class entry, which highlights a commonality as to minimum exposure medical and
  reduces the importance of individualized issues of ingested VCD, dosage, and duration. In short, by
  using the LCT as class entry criterion, plaintiffs reduced the significance of an individual member’s VCD,
  dosage, or duration because the cohering fact is that each member’s NDMA / NDEA exposure
  necessitates medical monitoring as a remedy. Plaintiffs aver the named class representatives have no
  individual issues that could or do raise a conflict to unnamed class members (ECF No. 1750: 27) and that
  proposed class counsel Rachel German, Esq., has deep experience in class action litigation. Ibid.

             More to the point on cohesiveness, the Third Circuit has found this the central factor in a Rule
  23(b)(2) class certification. Barnes, 161 F.3d at 143. A class is cohesive when the “class's claims are

  43
     To reiterate, the Rule 23(b)(2) REM MedMon class includes those individuals who have ingested from 1 January 2012 until the last VCD recall
  an LCT of NDMA or NDEA from prescribed VCDs and who also reside in U.S. states, territories, or possessions where the state law permits
  medical monitoring only as a remedy to an accompanying legal claim. This class specifically includes those relevant individuals residing in
  every U.S. state, territory, and possession, except Mississippi.
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  common ones and that adjudication of the case will not devolve into consideration of myriad individual
  issues.” In re Processed Egg Products Antitrust Litigation, MD 08-2002, 312 FRD 155, 169 ( E.D. Pa. 2015
  [quoting Newberg on Class Actions § 4:34 (5th Ed.)]. Specifically, Rule 23(b)(2) class certification does
  NOT entitle each individual class member to a different injunction or declaratory judgment against the
  defendant. Wal-Mart, 564 U.S. at 360-361. Cohesiveness arises from plaintiffs’ showing that the
  injunctive / declaratory relief 44 of medical monitoring is appropriate to the entire class and raises no
  overt or expressly individualized issues at this point.

             In styling their medical monitoring program as a unitary remedy, plaintiffs sum up the program
  as a notice broadcast intended to reach and teach all MedMon Rule 23(b)(2) class members about
  needed medical testing and the recommended periodicity of the tests. This periodicity means each class
  member will get various medical tests on a spelled out, regular basis to monitor for esophageal,
  stomach, colorectal /intestinal, liver, lung, bladder, blood, pancreatic, and prostate cancer, cancers
  linked to NDMA and NDEA exposure. Medical experts will review the tests to spot early, possible signs
  of cancer formation and disseminate their findings to the class member. Defendants will pay for the
  notice, testing, review, and dissemination.

             Although arguing that medical monitoring as a unitary, group-wide remedy supports Rule
  23(b)(2) cohesiveness, plaintiffs have not followed their own assertion that cohesiveness requires a
  showing of: 1) a reasonable need to mitigate the cancer risks; and, 2) the existence of a diagnostic
  evaluation program different from what would have been prescribed in the absence of the VCD
  exposure. ECF No. 1750: 17 [citing In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 788 (3d Cir. 1994) ].

             In citing to the report of their medical expert Dr. Kaplan (see Section 6.0), plaintiffs have done
  little more than précis his recommended medical monitoring program, stating generally that each class
  member shall receive regular cancer screening tests to mitigate risks and based on medical necessity.
  They aver this proposed program needs no individualized inquiries into its benefits, or safety
  implications for certain class members, but is uniform in mitigating the risk faced by the entire class. 45
  ECF No. 1750: 17.

             But a particularly pressing problem in plaintiffs’ underwhelming argument arises from the


  44 See supra fn. 37 and accompanying text. In this Circuit, the In re Diet Drugs MDL Court ruled that medical monitoring for future, negative

  health consequences from drug ingestion, even though incurring costs for medical analysis and review, is not a damages remedy.
               See also Gibbs v. E.I. DuPont de Nemours & Co., Inc., 876 F. Supp. 475 (W.D. N.Y. 1995, a case outside of this Circuit, in which
  plaintiffs sought "a court-administered fund paid for by defendants which would cover the reasonably anticipated costs of a medical
  monitoring program for bladder cancer for the lifetime of the class members." Id. at 477. The Gibbs court rejected defendants' argument that
  their payment of money into a fund was monetary relief and reasoned that "[a] court-administered fund that goes beyond payment of the
  costs of monitoring an individual plaintiff's health to establish pooled resources for the early detection and advances in treatment of the
  disease is injunctive in nature rather than 'predominately money damages' and therefore is properly certified under Rule 23(b)(2)." Id. at 481.
  45 Plus, plaintiffs assert their program is administratively feasible—there is well-established infrastructure to provide notice, and to conduct the

  contemplated tests and screenings. Defendants will be able to track communications to their customers. However, administrative feasibility
  is not a requirement of Rule 23(b)(2) classes.
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  practical fact that a Rule 23(b)(2) class member need not enroll affirmatively into the class because such
  class membership is automatic. The Court, therefore, sees that automatic class membership conveys
  nothing to the members about how they will participate in real terms in a medical monitoring program
  that can impart “cohesiveness” to the class. Particularly absent are details about ensuring that putative
  class members are adequately apprised of the cancer risk and hence of the need to undergo the
  periodic testing directed by the program. In addition, plaintiffs give equally scant specifics about how
  class members actually sign up for the program, get specific education about it, receive benefit from it,
  and / or get informed on how it minimizes their risk. In essence, a great many details are lacking as to
  the execution of the program, including the guarantee that the program actually works by providing
  the offered benefit—the earliest and prompt observation of cancer development. This lack calls
  attention to plaintiffs’ expectations that a medical monitoring program will create a “cohesive” class
  largely because it offers a “cohesive” medical benefit, which their brief largely glosses over. But, it
  does not follow logically that the mere creation of such a program automatically applies a unified and
  consistent remedy to a group of individuals automatically inducted into a class about which they are
  not required to be noticed.

             Other than seeking a “court-supervised” program, plaintiffs’ gives no more than a bare-bones
  account of it. ECF No. 1750: 17. It is only the report of plaintiffs’ class certification expert, Dr. Kaplan,
  that sets forth certain medical tests 46 that presumably make up plaintiffs’ medical monitoring
  “program” which rescues plaintiffs’ minimalist “cohesiveness” argument. The Court finds that plaintiffs’
  less than modest description together with the details of testing and medical analyses in Dr. Kaplan’s
  report are just enough to show that the class is cohesive in terms of the injunctive / declaratory remedy
  sought.

             Another issue relating to the cohesiveness of the Rule 23(b)(2) REM MedMon class is the
  possible exclusion of putative class members because of the variability in state law rulings on medical
  monitoring as a remedy. Notably, the In re Diet Drugs court ordered plaintiffs to brief the varying state
  law requirements with the understanding that the court's grant of class certification would change as
  needed to create subclasses based upon state law variance of both medical monitoring law and
  differences in the underlying claims of strict liability, negligence, and breach of warranty. In re Diet
  Drugs, MDL 1203, 1999 WL 673066, *16-*17 (E.D. Pa. 26 Aug 1999). 47 The In re Diet Drugs court
  required this because it noted asymptomatic plaintiffs whose claims lay in jurisdictions that require an

  46
     Every 5 years: Galleri® Cancer signal detection test plus Cologuard® or similar fecal testing plus Upper endoscopy; and Annually: Low Dose
  CT lung scan. Periodicity of the testing does not change appreciably for individual, specific risk factors, such as smoking, etc.
  47 In re Diet Drug plaintiffs had not briefed the court on the issue of varying state law, having assumed Pennsylvania law applied to the entire

  class.
               Cf. In re West Virginia Rezulin Litigation, 214 W. Va. 52 (2003) [reversing denial of Rule 23(b)(2) medical monitoring class in product
  liability action regarding diabetes drug and stating "after liability has been established, a court may exercise its equitable powers to establish
  and administer a court-supervised medical monitoring program to oversee and direct medical surveillance, and provide for medical
  examinations and testing of members of a class"].
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  injury for a tort claim would be excluded from the class. Ibid.
             Unlike in Diet Drugs, the parties here have already provided the Court with tables of state law
  requirements for medical monitoring as a remedy in order to fine tune which U.S. jurisdictions may be
  included in this class. Moreover, the Court’s own research, relying on defendants’ tables of state law
  opposing plaintiffs’ subclasses, confirms those US jurisdictions that permit medical monitoring remedy
  for accompanying legal claims and is listed in Table 7.
             Considering defendants’ arguments that there is too much variation in state law as well as in
  each plaintiffs’ fact particulars of dosage, VCD, and duration to certify this class as cohesive, the Court
  finds Table 7 sufficiently accommodates the state law variability and plaintiffs’ fact variation by
  subdividing this Rule 23(b)(2) REM MedMon class into legally relevant subclasses. Also considering
  defendants’ arguments expressed in the next section infra that the LCT is not a scientifically rigorous
  calculation, the Court nonetheless finds that each putative class member’s expression of an LCT as
  calculated in Table 5, is a unifying class entry criterion. Hence, it imparts cohesiveness to this class even
  if ultimately the LCT calculation relies on statistical assumptions about the quantity of nitrosamine in
  each VCD ingested.
             Accordingly, the Court GRANTS plaintiffs motion to certify a Rule 23(b)(2) MedMon REM class
  divided into those subclasses listed in Table 7.



  5.6        RULE 23(b)(3) IND MedMon CLASS48
   `         5.6.1      Rule 23(a) Requirements
             5.6.1.1               Numerosity

             As with the EcoLoss classes, plaintiffs argue FDA recalls include over 1,200 NDCs of
  contaminated VCDs; Pharmacies’ and Iqvia data show more than 988,183 individuals filled VCD
  prescriptions during the relevant period. Thus, the classes are easily presumed sufficiently numerous,
  which defendants do not dispute.

             Accordingly, the Court finds this requirement met.




  48
     To reiterate, the Rule 23(b)(3) IND MedMon classes include those individuals who ingested an LCT of NDMA or NDEA from contaminated
  VCDs and who reside in U.S. jurisdictions where the law permits medical monitoring as a legal claim independent of any other claim pleaded in
  the litigation. This class can include relevant individuals residing in Alaska, Arizona, Colorado, Delaware, District of Columbia, Florida, Hawaii,
  Idaho, Illinois, Iowa, Maine, Massachusetts, Minnesota, Missouri, Montana, Nevada, New Hampshire, New Mexico, New York, North Dakota,
  Oregon, Pennsylvania, Rhode Island, South Dakota, Utah, Vermont, West Virginia, Wyoming.
  Excluded jurisdictions for this class are: Alabama, Arkansas, California, Connecticut, Georgia, Indiana, Kansas, Kentucky, Louisiana, Maryland,
  Michigan, Mississippi, Nebraska, New Jersey, Ohio, Oklahoma, South Carolina, Tennessee, Texas, Virginia, Washington, and Wisconsin.
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          5.6.1.2          Commonality

          Plaintiffs argue that there are two legal / factual issues common to the entire putative class,
  viz., the need for medical monitoring and the evidence to show that need. Both issues devolve to a
  class member’s LCT calculation. Defendants have raised no objection. Accordingly, the Court finds
  this requirement met.



          5.6.1.3          Typicality

          Plaintiffs argue the named representatives bring similar claims, seek the same relief, live in
  states that recognize medical monitoring as an independent claim, and have ingested an LCT that
  triggers their entry into the class as well as the need for medical monitoring. Defendants assert that
  material variations of state law that prohibit a stand-alone monitoring claim foreclose a finding of
  typicality. Specifically, these material variations include the need to show present physical injury,
  evidence of a procedure that detects a specific cancer at the physical or subcellular level, and the
  existence of a treatment for it.

          In evaluating typicality, courts in this Circuit focus on the differences between the class
  representatives' facts and claim(s) and those of the unnamed class members. However, differences
  alone in fact situations between the unnamed and named plaintiffs do not render a claim atypical so
  long as the plaintiffs’ claim arises from the same events, practices, or course of conduct of the
  defendants, and is based upon the same legal theory. Stewart, 275 F.3d at 227–28.
          Here, all named representatives seek a common remedy in the form of a medical monitoring
  program. Each named representative must have ingested VCDs in an amount that meets one of the
  calculated variations of Lifetime Cumulative Threshold required for membership in this class. That
  state law varies as to the essential elements of medical monitoring as an independent claim does not
  resolve the inquiry into fundamental differences between unnamed class members and named
  representatives. The nature of the remedy sought does not differ among class members; it’s the
  applicability of that remedy that differs according to the legal requirements of the jurisdiction where
  they reside. Plaintiffs’ breakdown of this class into subclasses depending on the variability in state law
  standards helps to diminish the detectable, but not distinctive, differences between named
  representatives and unnamed class members. Accordingly, the Courts finds this requirement met.



          5.6.1.4          Adequacy

          Plaintiffs argue no conflict of legal interest exists between named class representatives and
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  unnamed class members. All putative class members share the same need for the same relief:
  monitoring of potential cancer development. The proposed class counsel are Rachel Gelman, Esq., a
  partner in the New York office of Lieff, Cabraser, Heimann & Bernstein, LLP, whose firm practice
  focuses on, inter alia, complex and class action litigation involving product liability / mass torts, and
  Nicholas Migliaccio, Esq., a founder of Migliaccio & Rathod LLP, a Washington DC firm that focuses on,
  inter alia, class actions, including several concerning products liability. Ms. Gelman is a member of the
  Plaintiffs’ Steering Committee in this MDL. Both proposed counsel are well-versed in prosecuting
  complex actions; and, their firms have committed sufficient resources to prosecuting the case.
  Defendants have raised no objection. Accordingly, the Court finds this requirement met.



             5.6.2      Rule 23(b) Requirements

                        5.6.2.1                Preponderance
             Plaintiffs state that Redland Soccer Club, Inc. v. Dep’t of the Army & Dep’t of Def. of the U.S., 696
  A.2d 137, 145-46 (1997) reliably sets forth the legal framework for deciding if medical monitoring stands
  as an independent cause of action. They aver several cases 49 in other jurisdictions have relied on it,
  which the Court’s research 50 bears out. Plaintiffs’ use the Redland framework here to assert that the
  legal issues and facts common to the 23(b)(3) IND MedMon class predominate over individualized ones.
             The Redland framework includes:
  “(1) exposure greater than normal background levels; (2) to a proven hazardous substance;
  (3) caused by the defendant's negligence;
  (4) as a proximate result of the exposure, plaintiff has a significantly increased risk of contracting a

  49
    Following are the cases plaintiffs cited in their brief for certification of this class (ECF No. 1750:24, fn.12):
  In the 6th Circuit: In re Welding Fume Prods. Liability Litig., 245 F.R.D. 279, 292 (N.D. Ohio) (finding that elements of medical monitoring claim
  in Arizona, Ohio, and Pennsylvania were all substantially similar);
  In the 10th Circuit: Bell v. Three M Company., 344 F. Supp. 3d 1207, 1225 (D. Colo. 2018) (listing identical elements of medical monitoring claim);
  In the 2nd Circuit: Abbatiello v. Monsanto Co., 522 F. Supp. 2d 524, 539 (S.D.N.Y. 2007) (finding that New York would recognize medical
  monitoring claim using elements identical to those in Redland).

  50 In seeking guidance on the proper framework for analyzing medical monitoring as an independent claim in Pennsylvania, the Pennsylvania

  Supreme Court relied on the Third Circuit’s rulings in In re Paoli Railroad Yard PCB Litigation, 916 F.2d 829 (3d Cir.1990) (Paoli I ), In re Paoli
  Railroad Yard PCB Litigation, 35 F.3d 717 (3d Cir.1994) (Paoli II ) and on the Superior Court’s (trial court) Redland decision to enumerate the
  elements listed supra. Redland, 696 A.2d at 145-146. Because of its meticulousness, the Redland opinion has served as a template for other
  courts in varying Circuits in analyzing whether the predominance requirement of Rule 23(b)(3) is met for medical monitoring as an independent
  claim.
               In addition to those cases cited by plaintiffs and listed in fn. 49, supra, the Court adds a smattering of cases here from other
  jurisdictions and circuits which have acknowledged that Redland’s list of predominance factors was the gold standard.
               These include:
  In the 4th Circuit: Bombardiere v. Schlumberger Technology Corp., 934 F.Supp 843, 851 (N.D. W.Va. 2013);
  In the 5th Circuit: Leib v. Rex Energy Operating Corp., No. 06-cv-802, 2008 WL 5377092 at *12 (S.D. Ill. 19 Dec 2008);
  In the 8th Circuit: Thompson v. American Tobacco Co., 189 F.R.D. 544, 551 (D. Minn. 1999); Meyer ex rel. Coplin v. Fluor Corp., 220 S.W. 3d 712, fn.
  6 (Mo. 2007) (en banc);
  In the 9th Circuit: Sadler v. Pacific Care of Nevada, 340 P.3d 1264, 1271 (Nev. 2014);
  In the 11th Circuit: Bourgeois v. A.P. Green Industries, Inc., 716 So. 2d 355, 360 (La. 1998).
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  serious latent disease;
  (5) a monitoring procedure exists that makes the early detection of the disease possible;
  (6) the prescribed monitoring regime is different from that normally recommended in the absence of
  the exposure; and
  (7) the prescribed monitoring regime is reasonably necessary according to contemporary scientific
  principles.” Redland, 696 A.2d at 145-46.
          In a summary judgment context, the Redland Court assembled these elements as the legal
  standard for deciding if a plaintiff had shown that medical monitoring could be pleaded as an
  independent claim in Pennsylvania. Thus, in summary judgment contexts, courts use the Redland
  framework to decide if medical monitoring can stand as an independent claim. However, in a class
  certification context as here, the Redland elements need not be “proven”, but serve as a useful heuristic
  to bear out that common legal issues and facts of an independent medical monitoring claim
  predominate across the class.

          Going through this framework, plaintiffs assert that, as for exposure greater than normal to a
  proven hazardous substance, the LCT both indicates and confirms heightened nitrosamine exposure.
  Thus, according to plaintiffs, Redland elements 1 and 2 necessarily apply to all MedMon class members.
  As for Redland element 3, plaintiffs assert a common theme: that it is defendants’ conduct—through
  negligence or breach of warranty or fraud or violation of consumer protection statutes—that resulted in
  the NDMA/NDEA contamination of the VCDs ingested by all MedMon class members. Plaintiffs
  contend that Redland elements 4 and 5 dominate throughout the entire class because the LCT confirms
  heightened nitrosamine exposure. As for Redland elements 6 and 7, plaintiffs state these elements
  blend into each other in that the scientific community both recognizes that, because of the LCT, the
  kind of medical monitoring for class members differs from ordinary medical care and has developed
  such programs to early-detect the presence of cancer cells.


          Defendants respond that certain, important facts relating to the medical monitoring claims are
  highly individualized. These include whether class members have been exposed to “sufficiently high”
  levels of NDMA/NDEA through their ingestion of VCDs to warrant medical monitoring as an
  independent claim. This assertion is in essence an implied causation argument in which defendants
  point to the unknown and individualized factor of whether the ingestion of the nitrosamine genotoxins
  from VCDs will actually tip a class member’s probability of cancer development into the “urgent zone”
  of medical monitoring.
          No answer to this question—how did VCD ingestion up one’s cancer risk—can be given through
  either facts or law. Moreover, the Court understands the scientific community itself cannot tease out a
  single, individual cause of cancer from a lifetime of nitrosamine exposure from various sources. Nor
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  can the scientific community determine the cause of an inflection point making one’s likelihood of
  developing cancer more and more probable. The irony in defendants’ argument is that it points in a
  general way to what the scientific community for the last 30 years has published about nitrosamine
  exposure: that a probable increase in cancer development is attributable to an increase in exposure to
  nitrosamines—via VCD ingestion, inhalation, etc. Thus, defendants’ implicit causation argument works
  to support that there are common facts and legal issues for the entire MedMon class, thereby
  supporting predominance.
          Given that the precise increase in cancer risk caused by VCD ingestion may be unknowable,
  defendants raise doubts whether a proposed medical monitoring program is medically necessary or
  even appropriate for each putative class member. Defendants further question whether all or even any
  VCDs were likely to raise a putative class member’s risk of cancer, which in effect poses a legal
  causation issue common to the entire class. And, again, although the precise increase in cancer risk
  due to ingestion of VCDs, and therefore the overall increase in cancer risk, is unknowable, every class
  member shares a common legal question that need not be resolved at this stage, viz. the possibility of
  an increased cancer risk as well as an increased fear that class members have such a higher risk.
  Ironically, again, that shared fear and possibly shared risk predominate across the class and are
  alleviated commonly by a medical monitoring program that applies to all members.
          Defendants also assert that such a medical monitoring program will not apply equally to all
  members in terms of the variability of services and costs in testing, analysis, and examination. This
  variability can be attributable to varying medical care pricing in different locations and to variability in
  testing efficiency and in the testing preferences of individual treating physicians. Although different
  regions of the country have differing levels of medical expertise, the Court envisions that an overall
  medical monitoring program as described by plaintiffs’ expert Dr. Kaplan would apply generally to all
  class members and therefore dominates throughout the class.
          Accordingly, the Court finds the 23(b)(3) IND MedMon class meets the predominance
  requirement.



                  5.6.2.2          Superiority
          Plaintiffs assert Rule 23(b)(3)(A) supports certification because an individual class member can
  have no incentive to pursue a separate litigation for the independent claim of medical monitoring. The
  litigation costs and efforts to bring an individual lawsuit would be enormous compared with the
   returns: the cost of regular medical testing, analysis, and review. The Court also considers its
   discussion supra in sections 3.3.2 and 4.3.2, which relates to similar reasons why members of Economic
   Loss Classes would not bring individual suits against defendants. In effect, an individual action against
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  defendants for medical monitoring as an independent claim would not be a rational effort. The
  meagerness of the individual remedy and the needed efforts to achieve it underscores the opposition
  that any individual litigator faces against the multitude of defendants here.
             All the reasons discussed supra in sections 3.3.2 and 4.3.2 why class certification is a superior
  adjudication strategy in terms of fairness and efficiency (In re Prudential Ins. Co. of Am. Sales Practices
  Litig., 148 F.3d at 316) apply even more so here. These reasons include this Court’s expertise and
  experience, that this action as an MDL bars any individual litigation until resolution of discovery and
  bellwether trials, and the sheer number of plaintiffs who ingested VCDs who may be facing increased
  risks of cancer incidence, even if that precise increase in risk is unknown. Because of the much
  weightier fairness and efficiency considerations of adjudicating the claims of the putative class against
  very large and many defendants, this Court is reminded that “[t]he core purpose of Rule 23(b)(3) is to
  vindicate the claims of consumers and other groups of people whose individual claims would be too
  small to warrant litigation.” Smilow v. Southwestern Bell Mobil Systems, Inc., 323 F.3d 32, 42 (1st Cir.
  2003).

             Accordingly, the Court finds the Rule 23(b)(3) IND MedMon class meets the superiority
  requirement.

                        5.6.2.3               Ascertainability
             Regarding this requirement, it may be useful to restate the Third Circuit’s guidance: “The
  ascertainability inquiry is two-fold, requiring a plaintiff to show that: (1) the class is ‘defined with
  reference to objective criteria’”; and (2) there is ‘a reliable and administratively feasible mechanism for
  determining whether putative class members fall within the class definition.’ [Carrera, 727 F.3d] at 355
  (citing Marcus v. BMW of N. Am., LLC, 687 F.3d 583, 593–94 (3d Cir. 2012)).” Byrd v. Aaron's Inc., 784 F.3d
  154, 163 (3rd Cir. 2015).

             Further, it “does not mean that a plaintiff must be able to identify all class members at class
  certification—instead, a plaintiff need only show that “class members can be identified.” Carrera, 727
  F.3d at 308 n. 2 (emphasis added).” Byrd, 784 F.3d. at 163. What the Third Circuit has read into Rule
  23(b)(3) for feasible ascertainability is not a perfectly-drawn, rationally logic classification system 51 akin
  to an Aristotelian scheme that imposes in top-down fashion a genus category on a class of individuals
  and then within that genus enforces definitive, absolute differences between species, which apply for
  all space and time.

             Rather, the Third Circuit’s guidance leans towards an empirical approach to class certification.


  51 Similar to that espoused by Aristotle: with genus and species, where species was defined and differentiated by conclusive difference.
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  Akin to cladistics 52, this kind of class certification scheme adopts a bottom-up approach and lumps
  observable, shared characteristics to place individuals into narrowly drawn, upwardly-nested
  categories. A downside of this scheme is the inability to create absolute entry conditions for class
  members because the selected characteristics are based on observable features not necessarily
  inherent, and may lead to less than perfect class membership.

             Empirical classification is done in everyday life and yields not perfect groupings but rather
  statistically significant ones. Its primary benefit is the creation of a relatively closed class boundary that
  excludes those individuals NOT bearing the selected characteristic(s). But, if the selected characteristic
  that lumps individuals into groups is not refined enough to simulate a group possessing a real-world
  trait, then empirical classification leads to fundamental uncertainty as to the correctness of class
  definition. Moreover, empirical classification is often used when the universe of possible class members
  share a group of similarities but not all of the same similarities. Thus, there may be “revolving”
  similarities across the member universe.

             The Court has digressed into a discussion of systematics because it relates to each parties’
  arguments regarding ascertainability of this class.

             For the “objective” criterion, plaintiffs rely on the LCT (see Table 5 supra) and imply it identifies
  accurately membership into the Rule 23(b)(3) IND MedMon class. However, the LCT, as defendants
  argue, is not scientifically rigorous. If defendants are correct, the LCT cannot serve as a defining class
  entry criterion, but only as an exclusion criterion that separates member from non-member, and so
  identifies class membership by keeping out those who are not members. Moreover, if defendants are
  correct, the LCT only can create a class that contains various groupings of members, each grouping
  having a different statistical probability of being correctly identified as class members.

             Importantly, these groupings are not at all the same as plaintiffs’ proposed subclasses. Rather,
  these groupings of class members are organized around the LCT calculations themselves. The higher
  the LCT number, the more likely the LCT itself has an increased statistical probability of accuracy, and
  therefore identifies with greater probability an individual with an increased cancer risk and who thus
  belongs in this Rule 23(b)(3) IND MedMon class. Likewise, the lower the LCT number, the statistical
  probability that the LCT is accurate is lower, and identifies with a lower probability an individual with an
  increased cancer risk and who may be placed into this class with marginal assurance.

             As for their feasible mechanism for identifying class members, plaintiffs rely on these data: the
  pharmacy and prescription records of filled VCD prescriptions, especially on the unique 10-digit NDC
  code presented in those records which tags a specific drug product; and the report of their expert Dr.


  52 Exemplified in Sokal, R.R. and Rohlf, F.J., BIOMETRY, Freeman & Co., New York (4th ed. 2012)
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  Laura Craft (which defendants did not oppose) and which showed how to use such data to identify
  ConEcoLoss members. Plaintiffs argue that, as for the Economic Loss classes, this data set would
  likewise be a feasible mechanism for identifying Rule 23(b)(3) IND MedMon class members. 53 The Court
  recognizes that the LCT and plaintiffs’ data set may imperfectly identify all those individuals who
  purchased VCDs (as both plaintiffs’ experts Dr. Laura Craft and Dr. Rena Conti have recognized) and
  who would be potential class members here.
             Defendants argue the LCT is an ambiguous class entry criterion that results in an ambiguously-
  defined class. 54 They assert that the LCT as a class defining characteristic is inherently uncertain and, in
  particular, the LCT calculations listed in Table 5 lack scientific rigor. This is because, without being able
  to connect the Lot Number to any specific VCD prescription and thus to an individual’s dosage and
  duration, it is impossible to calculate with any degree of confidence the amount of NDMA or NDEA
  that an individual ingested from their VCDs. The LCT calculation based on the VCDs ingested but
  untethered to a Lot Number is just a calculated assumption as to what an individual’s exposure to the
  contaminants were. Since different Lot Numbers of VCDs had differing levels of nitrosamines,
  defendants imply that calculating the LCT is mere extrapolating backwards from dosage and duration,
  which necessarily requires untested assumptions about the levels of nitrosamines in each VCD
  prescription. The LCT, defendants assert, cannot calculate finely enough the levels of NDMA or NDEA
  in each pill and is at best a statistical estimate based on assumptions about how much NDMA or NDEA
  each VCD contained. Defendants argue LCT cannot be an objective linchpin of ascertainability, which
  therefore defeats this requirement. Underlying defendants’ argument is the scientific uncertainty that
  it is impossible to tease out which consumers ingested increased nitrosamine amounts from VCDs.
  Their argument boils down to: defendants cannot be held liable for medical monitoring damages
  because which consumers have increased risk of cancer due to VCD ingestion is unknowable.

             The Court appreciates that the LCT calculation in Table 5 may with not identify all putative class
  members with objective ascertainability. In fact, such perfect member identification may be impossible
  even with a more rigorously defined LCT and also because Lot Numbers cannot be traced to individual
  VCD prescriptions nor can the baseline nitrosamine contamination and genetic predisposition to cancer
  before VCD ingestion be known. And although defendants assert below that the LCT as the class-
  defining criterion actually creates no reliable and class boundary, the LCT nonetheless may be


  53 Plaintiffs cite to certain cases as examples of using combined data sets to demonstrate a feasible mechanism of ascertaining class

  membership. But the Court finds these irrelevant and inapposite. Plaintiffs note the court in In re Telectronics Pacing Sys., Inc., 172 F.R.D. 271,
  278-79 (S.D. Ohio 1997) defined the class in a similar way as here by using the model number of a pacemaker; however, that Court did NO
  ascertainability analysis. Neither did the Court in Reilly v. Gould, Inc., 965 F. Supp. 588, 596 (M.D. Pa. 1997) as Reilly was decided well before
  the Third Circuit’s jurisprudence on ascertainability. O’Connor v. Boeing N. Am., Inc., 180 F.R.D. 359, 368 (C.D. Cal. 1997) concerned only
  predominance, which was decided in terms of commonality of the loss of property values among class members; NO ascertainability question
  was raised.

  54 An Aristotelean-like characteristic
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  boundary-creating in that it can serve to exclude non-members while the archived records of
  Pharmacies, etc. and other data may serve as a feasible mechanism to confirm proper class entry.

           Not discounting the clear benefit to consumers and to defendants if we could calculate each
  consumer’s increased cancer risk resulting from nitrosamine ingestion from VCDs, the Court finds the
  Third Circuit’s ascertainability standard does not and has never required absolute objectivity. Rather,
  this standard may be met through a scientifically-rigorous-enough methodology that excludes non-
  members from class entry and identifies through knowable, searchable, accurate, and relatively
  complete, business records those consumers who ingested contaminated VCDs in a known amount for
  a known time. Ascertainability here of putative class members rests not only on the fundamental
  scientific uncertainty of who will get cancer because of VCD ingestion but also on the wealth of
  scientifically rigorous, statistically-based epidemiological data of which individuals do get cancer in the
  U.S. population.

               Put simpler, the LCT calculation can exclude non-members and coupling that to the real-world
  data of Pharmacies and other entities as well as with reliable epidemiological data relating to cancer
  incidence in the U.S. population can and does fashion a feasible mechanism for identifying members in
  a statistically appropriate and sufficiently accurate manner.

               In addition, Wholesalers aver that since they cannot be associated directly with the class
  members, they should be relieved of liability for medical monitoring costs. Their argument is that, it is
  only through linking specific VCD Lot Numbers to consumers’ prescriptions that liability can be
  attributable to a specific Wholesaler. Since Lot Number information linking a mfr’s API to a Wholesaler’
  purchases and then to Pharmacies’ sales is unavailable, the Court should exclude Wholesalers from
  liability.

               This argument is similar to the Wholesalers’ lack of privity argument made in opposition to
  their liability for breach of warranty claims. The Court understands from some reports of plaintiffs’
  experts that there is a pathway to identify some of those Wholesaler to consumer links, even if
  imperfectly. Again, the ascertainability standard is not perfect member identification but a
  scientifically rigorous methodology that excludes non-members and includes most members with a
  sufficient degree of confidence.

               Moreover, even if there is no way to link a specific VCD prescription to an individual Wholesaler,
  from the larger view, there were no U.S. consumers whose VCDs were distributed by entities other than
  Wholesaler defendants. Even though it may be difficult and even impossible to link which Wholesaler’s
  VCDs were ingested by which consumer, it is certainly knowable that collectively the Wholesaler
  defendants here put contaminated VCDs into the U.S. drug supply chain. It is therefore feasibly
  ascertainable that medical monitoring damages of putative class members are attributable to the
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  distribution efforts of all Wholesalers collectively, for which they may bear group liability. Since such
  group liability is a determination for a factfinder, the Court does not relieve Wholesalers for liability to
  this MedMon class.

          The Court finds the ascertainability requirement met.


  5.7     SUMMARY AND MedMon SUBCLASSES

          Having found all Rule 23(a) and (b)(3) requirements have been met, the Court certifies this Rule
  23(b)(3) class with the subclasses the Court has confirmed in Table 7.
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Table 7: Summary of Incorrect Medical Monitoring Classes and Subclasses and Required Corrections to Plaintiffs’ Proposed Subclasses

 Rule 23(b)(3) IND           Incorrectly Included Jurisdictions In                              Correct MedMon Class / Subclass
 Medical Monitoring Class    Rule 23(b)(3) IND Class                 Court compels two Rule 23(b)(2) REM MedMon subclasses:

 (Listed in Defendants’                                                          1 for jurisdictions REQUIRING Present Physical Injury; and
 Appendix A, ECF Doc.                                                        1 for those jurisdictions NOT REQUIRING Present Physical Injury
 2012-1, as Group 1)

                                                                     Rule 23(b)(2) REM Subclass 1:              Rule 23(b)(3) REM Subclass 2:
                                                                     Physical Injury Required                   Physical Injury NOT REQUIRED


                             IL:                                     Present Physical Injury Required;
                             MedMon allowed only as remedy;          Include in this Subclass
                             Exclude from 23(b)(3) IND Class
                             IA:                                     Present Physical Injury Required;
                             MedMon allowed only as remedy;          Include in this Subclass
                             Exclude from 23(b)(3) IND Class
                             MO:                                                                                Include in this Subclass
                             MedMon allowed only as remedy;
                             Exclude from 23(b)(3) IND Class
                             NV:                                                                                Include in this Subclass
                             MedMon allowed only as remedy;
                             Exclude from 23(b)(3) IND Class
                             NY:                                                                                Include in this Subclass
                             MedMon allowed only as remedy;
                             Exclude from 23(b)(3) IND Class
                             OR:                                     Present Physical Injury Required;
                             MedMon allowed only as remedy;          Include in this Subclass
                             Exclude from 23(b)(3) IND Class MM
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                              RI:                                                                                 Include in this Subclass
                              MedMon allowed only as remedy;
                              Exclude from 23(b)(3) IND Class


Rule 23(b)(2 REM              Incorrectly Included Jurisdictions In                                   Correct MedMon Class
Medical Monitoring Class      Rule 23(b)(2) IND Class                 Court’s research and Defendants’ Appendix A, at ECF Doc. 2012-1 confirms there
                                                                      are no jurisdictions allowing Rule 23(b)(3) IND Medical Monitoring claims, which
(Listed in Defendants’
Appendix A, ECF Doc.                                                  require present physical injury. Court therefore does NOT compel subdivision of
2012-1, as Group 2)                                                   Rule 23(b)(3) IND Class into subclasses
                              AR:                                     Rule 23(b)(3) IND MedMon Class
                              MedMon allowed as independent
                              claim;                                  Include in this Class;
                              Move from 23(b)(2) REM Class            Present Physical Injury NOT REQUIRED




Rule 23(b)(2) REM                       Incorrect Subclass                                       Correctly Identified Subclass in
Medical Monitoring Class      in Rule 23(b)(2) REM MedMon Class                                  Rule 23(b)(2) REM MedMon Class
(In Defendants Appendix
A, at ECF Doc. 2012-1, this
is Group 2)
                                                                      Rule 23(b)(2) REM Subclass 1:               Rule 23(b)(3) REM Subclass 2:
                                                                      Physical Injury Required                    Physical Injury NOT Required

                              CN: Remedy requires present             Include in this Subclass
                              physical injury
                              LA: Remedy requires present physical    Include in this Subclass
                              injury
                              MI: Remedy requires present physical    Include in this Subclass
                              injury
                              NE:                                     Include in this Subclass
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                               Remedy needs present physical injury
                               OK: Remedy needs present physical      Include in this Subclass
                               injury


Jurisdictions Not Allowing     ND and NC                              These jurisdictions must be removed from either MedMon class.
Medical Monitoring


Jurisdictions Allowing                                                Both jurisdictions allow both medical monitoring claims as an independent claim
BOTH Medical Monitoring        CA and DC                              and as a remedy.
Classes
(these jurisdictions do not
require present physical
injury in either class)
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  6.0        MOTIONS TO PRECLUDE REPORTS OF CLASS CERTIFICATION EXPERTS

  6.1        DEFENDANTS’ ECONOMIC LOSS EXPERTS

             Table 8 shows that defendants filed 17 Class Certification Expert Reports, eight of which were
  unopposed55 and therefore unreviewed here and not precluded at this stage. Below are the Court’s
  decisions regarding the parties’ motion to oppose their opponents’ class certification experts.

   Table 8: Motions to Preclude Reports of Defendants’ Class Certification Experts

    Defendants’ Class Certification Expert                      ECF No. / (Exhibit No.) of            Opposed?
                                                               Defendants’ Expert’s Report
           Timothy Anderson, MS, MBA                                   2009 (197)                         No
                Steven Baertschi, PhD                                  2009 (204)                         No
     Karla Ballman , PhD, Fellow: Am.. Soc.                            2009 (200)                         No
                     Clin. Oncology
                David Chan, MD, PhD                                    2009 (190)                         No
              Lewis Chodosh, MD, PhD                                   2009 (202)                         No
               John Flack, MD, M.P.H.                                  2009 (203)                         No
               Ursina Teitelbaum, MD                                   2009 (201)                         No
                  Roger Williams, MD                                   2009 (198)                         No


                                                                                                Opposed? / ECF No. of
                                                                                             Plaintiffs’ Motion to Preclude
              Michael Bottorff, PharmD                                 2009 (189)                     Yes / 2043
                 David Chesney, MSJ                                    2009 (194)                     Yes / 2038
                Jason Clevenger, PhD                                    2029 (8)                      Yes / 2047
                  Punam Keller, PhD                                    2009 (191)                     Yes / 2041
             Timothy Kosty, RPh, MBA                                   2009 (192)                     Yes / 2048
                William Lambert, PhD                                   2009 (195)                     Yes / 2044
                Mark Robbins, PhD, JD                                  2009 (199)                     Yes / 2045
                   Eric Sheinin, PhD                                   2009 (106)                     Yes / 2036
                  Lauren Stiroh, PhD                                   2009 (193)                     Yes / 2046

  Michael Bottorff, PharmD

        Plaintiffs’ Motion to Strike (ECF. No. 2043) New and Altered Causation Testimony in Dr. Bottorff’s
  Class Certification Report (ECF No. 2084, Exh. 2) is GRANTED. This Report relates to and expands on
  testimony in Dr. Bottorff’s Causation Report, but is neither fit nor relevant to plaintiffs’ proposed class
  certifications. More importantly, the following three opinions in Dr. Bottorff’s Class Certification
  Report are an improper expansion of his Causation Report and have not been considered in the

  55 Plaintiffs reserve the right to oppose at a later time.
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         the Court’s class certification determinations supra:

    1)     “Oral doses at the levels detected in the generic valsartan at issue in this litigation are
           metabolized in the liver almost completely, preventing exposure to other tissues and organs”
           (Bottorff Class Certification Report at 48:761-762);
    2)     “NDMA/NDEA in valsartan will not reach systemic circulation” (Bottorff Class Certification
           Report at 47: 779); and
    3)     “DNA repair mechanisms in humans can be as much as 10 times higher than that in rats,
           indicating a more active DNA repair in humans compared to rats” (Bottorff Class Cert. Report at
           52:830-831).

  [emphasis added]



  David Chesney, BA, Master of Science in Jurisprudence
            Plaintiffs’ Motion to Preclude (ECF No. 2038 ) the Class Certification Report of David Chesney,
  MSJ, is GRANTED in part and DENIED in part. Even though Mr. Chesney’s Report has very little fit,
  i.e., relevance, to certifying plaintiff’s proposed classes because it reads like expert testimony rebutting
  liability claims, the Court has not precluded it in its entirety.

             Mr. Chesney’s Report states a single, formal opinion at pg. 5, limited to the conduct of
  defendant mfr Zhejiang Huahai Pharmaceuticals, Ltd., [“ZHP”]:

   “ZHP has a predominately good regulatory inspection with the FDA, and despite certain issues that
  have arisen, the firm has done exactly what FDA expected and at times requested of them.”

  Mr. Chesney’s Report, from pp: 25-46, offers only testimony about ZHP’s compliance, or lack thereof ,
  with FDA current Good Manufacturing Practices and arises from Mr. Chesney’s reviews of certain FDA
  Inspection Reports of ZHP’s API manufacturing sites. Even though Mr. Chesney does not relate this
  opinion or any other discussion in his Report to class certification, the Court has considered Mr.
  Chesney’s specific testimony on pg. 5 of his Report, which directly concerns ZHP’s compliance with FDA
  cGMPs.

             The Court’s decision rests on Mr. Chesney’s assertion that he had actually reviewed ZHP
  documents, a minimalist indication of opinion reliability. The Court recognizes that Mr. Chesney has
  not expressly included or discussed negative FDA Inspection Reports of ZHP’s API manufacturing sites,
  which would have balanced the Court’s opinion as to the overall reliability of this Report. The Court has
  not considered Mr. Chesney’s opinions or discussion about any other subject matter in his Report.
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  Jason Clevenger, PhD

          Plaintiffs’ Motion to Preclude (ECF No. 2047) the Class Certification Expert Report of Jason
  Clevenger, PhD, is GRANTED. Plaintiffs quote from Dr. Clevenger’s Report, which offers 2 main
  opinions, especially regarding Aurobindo’s contaminated VCDs:
          1) There is “no evidence that the rate / extent of the bioavailability of contaminated valsartan
  differs from that of the reference listed drug (RLD).” ECF No. 2047-1, at 6. Further, plaintiffs state, Dr.
  Clevenger opines that recalled Aurobindo VCD products remained bioequivalent even with low levels of
  NDEA or NDMA. Id., at 8.
          2) Using higher temperatures to make the Aurobindo finished drug product likely resulted in
  the volatilization of nitrosamines in the corresponding batches of the API. Dr. Clevenger opines this
  shows that Aurobindo finished drug batches generally had lower nitrosamine levels than
  corresponding API batches. Ibid.

          Dr. Clevenger’s opinions fit, i.e., have relevance, to both of plaintiffs’ Economic Loss classes, by
  relating to plaintiffs’ theory of economic loss, namely, that the contaminated VCDs, by virtue of their
  contamination, had no economic value. But his opinions rest on deficient scientific methodology.

          Regarding opinion (1), the basis for this was Dr. Clevenger’s reading and interpretation of the
  compendial tests and acceptance criteria in United States Pharmacopeia [“USP”] monographs for
  valsartan. Having found that no valsartan USP monographs specifically dictate that valsartan API must
  be tested for nitrosamine impurities, Dr. Clevenger concluded the absence of any mention of
  nitrosamines in valsartan USP monographs must mean logically that the VCDs at issue are the same as
  the identical compendial standard of “identity, strength, quality, and purity” of the RLD. Dr. Clevenger
  went no further than to interpret “the absence of mention” in valsartan USP monographs was an
  affirmative, positive attribute of valsartan. Dr. Clevenger did not pursue what else the USP might
  advise about nitrosamine contaminants, even if that advice were not specifically directed at valsartan
  drug products. The Court sees that the USP website provides such guidance. Dr. Clevenger’s one-eye-
  shut approach is not a scientifically valid methodology. Constituting neither proper scientific
  deduction, nor inductive research, nor testing to conclusion, nor full scientific literature review, Dr.
  Clevenger’s approach—to rely on an untested lack of evidence to aver the presence of a physical
  identicality—is sheer sophistry. And to the point, to opine that the absence of evidence demonstrates
  the presence of a physical property without checking other relevant information and data is a well-
  known error in logic and belies a reliable method.

          Dr. Clevenger’s opinion (2) relies solely on his interpretation of Aurobindo’s own, initial test
  results that show the manufacture of finished dose products at elevated temperatures reduced the
  concentration of nitrosamines, and particularly NDEA, in the finished dose when compared with the
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  API by about 70%. These results were not replicated by a subsequent test done by Aurobindo or by a
  separate test done by the FDA. But, Dr. Clevenger’s methodology did not include a comparison of
  Aurobindo’s initial test results either with Aurobindo’s second results or with the FDA subsequent test
  results. For this reason, Dr. Clevenger’s opinion declaring lower nitrosamine levels in the relevant
  Aurobindo’s FD batches compared to those levels in Aurobindo’s relevant API batches is based on
  skewed results and not methodologically reliable.

             Accordingly, Dr. Clevenger’s opinions in his Class Certification Report have been precluded.



  Punam Keller, PhD

             Plaintiffs’ Motion to Preclude (ECF No. 2041) the Class Certification Report of Punam Keller,
  PhD, is GRANTED IN PART AND DENIED IN PART. Dr. Keller’s Report relates generally to plaintiffs’
  theory of economic loss for both Economic Loss classes and, more specifically, criticizes the assertions of
  plaintiffs’ economics expert Dr. Rena Conti who argues that the VCDs were worthless from an economics
  standpoint. 56

       Dr. Keller’s opinions important for this discussion include:

  1) From consumer market research literature, it is known that consumers often “value” a drug from a
       multi-dimensional perspective that weighs multiple features (risks and benefits) variously rather
       than from a binary (positive or negative) assessment of one feature. Dr. Keller’s opinion is
       straightforward: Based on this literature, it is reasonable to expect that economic loss class
       members would have had a more nuanced valuing strategy for the VCDs than Dr. Conti’s
       worthlessness theory. However, Dr. Keller’s opinion is not based on either her own or others’ actual
       consumer market research on VCD consumer’s perceptions of VCDs. Rather, Dr. Keller
       extrapolates from general consumer market research principles as to the possible perceptions of
       VCD value by economic loss class members.
  2) Since consumers paid for VCDs before they were recalled, consumer’s valuation of the VCDs must
       be done retrospectively to consider consumer’s value of the VCDs at the time of their purchase.
       Thus, Dr. Keller’s opinion is that relevant consumer market research should be done of consumer’s
       perspectives as to the worth of VCDs, when consumers knew they were contaminated. What is
       wanted is a reliable gauge of how consumers’ regarded the value of their VCDs knowing they were
       recalled for containing a probable carcinogen. However, Dr. Keller appears rather optimistic that a

  56 Dr. Conti’s assertions include: If the nitrosamine contamination of VCDs had been known at the time of their sale, the VCDs would have already

  been recalled and could not have been offered for sale. Consequently, the VCDs would have had had no supply curve and were therefore
  economically worthless from the time of their contamination. Sales occurred only because the contamination was unknown, not because there
  was a demonstrated supply curve for the VCDs.
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      competent market research design would accurately track consumers’ perceptions of the value of
      their CONTAMINATED VCDs. Her opinion about the value of such research is again only her say-
      so, not a tested hypothesis.
  3) Dr. Conti’s analysis that VCDs had no economic value—which depends on the fact that VCDs could
      not have been sold if the nitrosamine contamination were known—is too simplistic and ignores
      consumers’ likely more nuanced valuation of the VCDs.

      As a PhD in Marketing, Dr. Keller is qualified to opine on real-world, marketing analyses of
  consumers’ valuation of the VCDs at the time of purchase. She is not qualified to opine on Dr. Conti’s
  economic theory of worthlessness because Dr. Keller is not an economist. The implicit, unspoken
  supposition in Dr. Keller’s opinions is that consumers who needed VCDs to control their blood pressure
  could have valued the therapeutic effect of their VCDs over the potential cancer risk of taking such
  genotoxically contaminated drugs. And, such “valuation” could have made their VCDs at least partially
  economically valuable on the day of purchase.

      However, Dr. Keller’s Report, especially, at pp. 30 to 45, tries to demonstrate such “could-have”
  consumer “valuation” without any real-world data, that is, without her own or others’ actual consumer
  surveys, and therefore lacks any, let alone acceptable, scientific methodology. In essence, Dr. Keller’s
  methodology comprises her description of a list of considerations, culled from her understanding of the
  accepted wisdom in marketing literature, that consumers GENERALLY might have applied in valuing
  their VCDs on the day of purchase, had they known of the nitrosamine contamination. Inasmuch as
  consumers did not know of the contamination before recalls, Dr. Keller’s extrapolation from the
  marketing literature has no reproducibility or indeed actual real world referents, unless and until she
  tests her hypotheses. Her opinions are just her projections as to consumers’ considerations, untested
  and irreproducible. They arise from her assumptions about what factors she would expect consumers
  to have relied on in valuing their VCDs based on her application of the health care marketing literature.
  Simply, Dr. Keller asserts a generalized consumer “valuation” without any confirmable results from a
  real-world marketing survey, her opinion is akin to an “I think so” statement.

      Applying tested scientific principles, obtained from a fully fleshed out scientific literature search, to
  current fact situations can result in predictable, reproducible results and is generally accepted
  methodology under FRE 702. Such an application requires a search query that predicts and finds a
  sample of scientifically accepted principles in that field, which gives at least an aura of accuracy.

      Pointedly, there are several key deficiencies in Dr. Keller’s methodology. First, she does not detail
  her literature search query to show she has conducted a sufficient literature search, but states scientific
  principles (she presumably is familiar with) and applies them without proof of their representativeness
  from the relevant body of marketing literature. Another is that she cites no contradictory literature,
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  principles, estimates, or critiques of the accuracy of her presentiments. Such contradiction can actually
  prove the accepted principle. Since acceptable scientific methodology does not rest on an expert’s
  say-so, and since Dr. Keller’s methodology is only her say-so, Dr. Keller’s opinions on pages 30 to 45 in
  her Class Certification Report have been precluded. Her opinions regarding scholarly literature on
  consumer health decision-making discussed in pages 1-29 of her Report have been considered but only
  to the extent that this testimony relates to actual consumer surveys and real world consumer research.



  Timothy Kosty, RPh, MBA

          Plaintiffs’ Motion to Preclude (ECF No. 2048) the Class Certification Report of Timothy Kosty,
  RPh, MBA, is GRANTED IN PART AND DENIED IN PART.

          Mr. Kosty’s Class Certification Report does two things:
          1) From pp. 15-48, it provides background on the workings, processes, and procedures of the
  pharmaceutical industry and in particular how and where Pharmacy Benefit Managers (“PBMs”) fit into
  the U.S. drug supply chain. Mr. Kosty was expressly asked to explain the factors and practices in the
  U.S. drug industry, which affect the costs of drugs to consumers and TPPs.
          2) From pp: 49-99, his Report refutes three of plaintiffs’ class certification experts’ reports:
  Laura Craft’s Report on an acceptable methodology for identifying proposed economic class members
  and on the amount paid for the VCDs; Dr. Rena Conti’s Report on valuation of economic losses by
  consumers and TPPs; and Dr. Kaliopi Panagos’s Report on the use of the Orange Book by the drug
  industry.

          Mr. Kosty’s qualifications based on his 38 years of experience in the pharmacy business, mainly
  as a consultant to the pharmaceutical industry, support his exposition at pp. 15-48 of his Report of the
  workings of the pharmaceutical industry. This exposition has fit, i.e., relevant, to the certification of
  plaintiffs’ proposed economic classes, especially to the Rule 23(b)(3) ascertainability requirement of all
  three classes as well as to general considerations of loss experienced by the Economic Loss classes.

          However, Mr. Kosty’s refutation of the opinions of plaintiffs’ experts, Craft, Conti, and
  Panagos, lacks even a semi-rigorous methodology. The “methodology” of His Report comprises solely
  his assertions on how difficult it will be to ascertain the relevant classes and how complex and
  “individualized” the acquisition and/or calculation and/or identification of class members will be and
  how generally inadequate plaintiffs’ use of certain data is to calculate the loss of economic loss class
  members’ losses. Mr. Kosty’s testimony tries to take the place of this Court as arbiter of whether the
  ascertainability requirement of Rule 23(b)(3) has been met. Especially as regards his refutation of Ms.
  Craft’s Report, Mr. Kosty repeats over and over how using pharmacy records of consumer transactions,
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  coupled with the PBMs records, coupled with the TPPs records will require complex, difficult, and
  complicated data tracking across dissimilar systems to identify class members. However, he seems
  wholly unaware that complex data tracking of individual class members or of an aggregate class is not
  legally sufficient to nullify ascertainability, as discussed herein in Sections 5.6.2.2, 4.3.3, and especially
  in 3.3.3.

              In refuting Dr. Conti’s proposition that the recalled VCDs were economically worthless, Mr.
  Kosty asserts, without more, that consumers themselves as well as regulatory agencies would not have
  regarded the VCDs worthless. He cites no relevant literature or consumer market research for support.
  Mr. Kosty further asserts Dr. Conti’s calculation of losses by consumers and TPPs would be complex,
  difficult, and predictive at best, but certainly not definitive.

              Plus, Mr. Kosty points out that Dr. Conti did not consider that consumers may have adopted
  alternative hypertensive medication. But, he does not appreciate the effect of his alternative-
  medication argument: that consumer adoption of a hypertensive substitute reinforces Dr. Conti’s
  hypothesis that the VCDs were economically worthless, which may implicate that the cost of a possibly
  more expensive hypertensive substitute could add to consumers’ and TPPs’ economic losses. Mr.
  Kosty, while certainly experienced in the workings of the U.S. drug industry, holds no expert
  qualifications in the economics, for valuing either the market forces of drug sales or supply chain flow.

              In addition, Mr. Kosty states that Dr. Panagos is incorrect when she asserts that the FDA’s
  Orange Book acts as a warranty to consumers and their insurers. Dr. Kosty asserts without more that
  the drug industry would not have regarded the Orange Book as a warranty that generic drugs are the
  equivalent of all of the RLD’s biological and chemical features Regardless of the correctness of Dr.
  Panagos’ opinion about the drug industry’s perception of the Orange Book as a warranty of the
  substantial equivalence of generic drugs, Mr. Kosty’s refutation of the drug industry’s “perceptions”
  needed more reliable support than his mere disagreement.

              In sum, Mr. Kosty’s Report lacks scientifically reliable methodology and/or necessary expert
  qualifications in refuting the Class Certification Reports of plaintiffs’ experts, Laura Craft, Dr. Rena
  Conti, and of Dr. Kaliopi Panagos.

              Accordingly, Mr. Kosty’s opinions in pages 49-99 in his Report have been precluded. His
  discussion on the workings of the U.S. pharmaceutical industry in pages 15-48 of his Report has been
  considered.
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  William Lambert, PhD

          Plaintiffs’ Motion to Preclude (ECF No. 2044) the Class Certification Report of William J.
  Lambert, PhD is GRANTED IN PART AND DENIED IN PART.

          As a PhD of Pharmaceutics and with many years experience assessing and developing drug
  delivery processes, Dr. Lambert has expert knowledge of drug manufacturing, including knowledge of
  cGMPs, and especially of those relating to cleaning verification and validation of manufacturing
  equipment. He is qualified to opine generally on the manufacturing practices and processes in the
  pharmaceutical industry and as to the FDA’s inspection of them. As an expert engaged by the API mfr
  Aurobindo, Dr. Lambert more specifically opines on the reasonableness of Aurobindo’s behavior in
  adhering to the general practices and processes in the pharmaceutical industry as well as to industry-
  wide responses to FDA demands and inspections. In essence, Dr. Lambert is opining on the close fit
  between Aurobindo’s behavior in verifying manufacturing equipment and responding to the FDA when
  compared to the general conduct of pharmaceutical manufacturers and the culture of the
  pharmaceutical industry.

          Dr. Lambert’s opinions rely on a list of unpreciséd Aurobindo documents enumerated only by
  Bates numbers, which the Court neither has nor can peruse. Neither has he delineated his search query
  that chose these documents nor described generally or specifically the reason for their selection.
  Although a qualified expert, the Court finds Dr. Lambert may have cherry-picked only those Aurobindo
  documents that push his opinions on Aurobindo’s conduct to favorable. That alone does not
  automatically lead to the conclusion that Dr. Lambert’s methodology, and therefore his opinions, are
  scientifically suspect. But neither does it speak to the scientific rigor of his methodology. The lack of
  meticulousness in Dr. Lambert’s scientific methodology has driven the Court to review minutely Dr.
  Lambert’s opinions, which are summarized below.

  •       Aurobindo VCDs met the USP compendial standard because they were approved generics
  listed in the Orange Book. They therefore were bioequivalent to their respective RLDs.
  •       Plaintiffs failed to apply correct standards for bioequivalence and pharmaceutical equivalence.
  •       Aurobindo’s contaminated VCDs did not have altered bioequivalence because of the
  contamination and were not “worthless”.
  •       Aurobindo reasonably investigated the presence of nitrosamines once they were detected in
  lots of contaminated API.
  •       Only 2 lots were above the Limit of Quantitation for NDMA , and both were below the FDA’s
  Acceptable Intake limit.
  •       Aurobindo had no reason to test specifically for nitrosamines in its API and no reason to use gas
  chromatography-mass spectrometry or liquid chromatography as testing methods until after the FDA
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  stated publicly in December 2018 and in January 2019 that these testing methods were the more
  rigorous.
  •       Aurobindo had a reasonable risk assessment process in place for detection of nitrosamines in its
  API. As using recovered solvents is customary in the drug industry and allowed by the FDA,
  Aurobindo’s use of Lantech as a contract manufacturer was appropriate after Aurobindo had
  reasonably qualified and overseen Lantech.
 •        The FDA’s Orange Book did not set forth or create manufacturer warranties. This opinion
  points to a legal conclusion and has been precluded.
 •        In addition to these general opinions, Dr. Lambert’s refutes the opinions of plaintiffs’ experts
  Dr. John Quick, Dr. Ron Najafi, and Dr. Kaliopi Panagos.

          The following opinions in Dr. Lambert’s Class Certification Report have been precluded:

      1) Dr. Lambert’s opinion about the “worthlessness” of the VCDs, couched in terms of
          bioequivalence; this is an unqualified economics opinion.
      2) Any of Dr. Lambert’s opinions that the FDA’s Orange Book does or did not set forth or create
          manufacturer warranties. By excluding these opinions of Dr. Lambert’s, the Court is not
          expressly endorsing that the Orange Book creates manufacturer warranties; rather, the Court
          finds that Dr. Lambert is not a legal expert qualified to opine on such an issue.
      3) Dr. Lambert’s opinions that plaintiffs failed to apply correct standards for bioequivalence and
          pharmaceutical equivalence.
      4) Dr. Lambert’s opinions at ¶38 of his Class Certification Report.

      5) Dr. Lambert’s opinions at ¶88 and ¶90 of his Class Certification Report.

  All other opinions in his Report have been considered.


  Mark Robbins, PhD, JD

          Plaintiffs’ Motion to Preclude (ECF No. 2045) the Class Certification Report of Mark Robbins,
  PhD, JD is DENIED.

          In his Report, Dr. Robbins refutes the opinions of plaintiffs’ class certification expert Mr. John
  Quick as well as disputes plaintiffs’ allegations as they relate to Torrent’s ( finished dose mfr) violation
  of the FDA’s cGMPs, thereby causing the NDMA/NDEA contamination of its VCDs. As a PhD in
  Pharmacology and a lawyer, with years-long experience as consultant to the pharmaceutical industry,
  Dr. Robbins is qualified to opine on the subject matter of his Report. Plaintiffs argue that Dr. Robbins’
  Report is filled with incorrect statements about FDA warning letters and FDA regulatory practice.
  These are fact questions that the Court does not weigh in a class certification review.
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          Plaintiffs also assert Dr. Robbins’ testimony lacks fit because it does not directly rebut Mr.
  Quick’s expert opinions. While not a direct rebuttal of Mr. Quick’s testimony, Dr. Robbins’ Report does
  have fit, that is relevance, to the class certification matters Mr. Quick raised. Mr. Robbins’ Report
  purportedly reviews Torrent and ZHP documents relating to whether industry practice and norms
  would have motivated Torrent to review ZHPs manufacturing method more thoroughly.

          Plaintiffs also argue that Dr. Robbins’ Report is methodologically unreliable. Because of the
  small number of hours he was paid for, the great number of documents his Report reviews, and of Dr.
  Robbins’ deposition testimony admitting to lack of knowledge of certain Torrent personnel and
  documents, plaintiffs conclude Dr. Robbins cannot have prepared most of his Report and that Dr.
  Robbins’ assistants must have prepared the bulk of it. Thus, the Report is not that of an expert, but of
  assistants, and plainly unqualified under FRE 702.

          Defendants counter that plaintiffs’ assertion of Dr. Robbin’s lack of involvement in his Report
  goes to the weight of Dr. Robbins’ argument, not to its admissibility. The Court agrees. Dr. Robbins’
  Report identifies which Torrent and ZHP documents were reviewed and thus constitutes the bare
  minimum of the preponderance of evidence standard that defendants must meet to show reliable
  method. Further, the Court appreciates that plaintiffs at trial may attack the reliability of authorship,
  and therefore the weight of Dr. Robbins’ opinions, by raising Dr. Robbins’ deposition testimony. And
  for this reason, Dr. Robbins’ opinions have been considered.



  Eric Sheinin, PhD

          Plaintiffs’ Motion to Preclude (ECF No. 2036) the Class Certification Report of Eric Sheinin, PhD
  is GRANTED IN PART AND DENIED IN PART.

          As a PhD in Medicinal Chemistry and having long experience at the U.S. FDA, Dr. Sheinin is
  qualified to testify on FDA regulatory practices. Dr. Sheinin’s Report is 23 pages long. In the 6 first
  pages, Dr. Sheinin covers his professional history; in the next 6 pages, he gives an overview of the US
  regulatory principles relating to drug manufacture without footnote or reference. Dr. Sheinin takes the
  next page to state simply that API sold in the US is expected to be manufactured under cGMPs
  described in FDA Guidelines. He does not clarify what those FDA Guidelines state.

          Dr. Sheinin then spends pages 13 – 17 of his Report to clarify what other defendants’ class
  certification experts have said: that at the time of the valsartan API contamination, and in particular the
  API of his client, Mylan, there was no FDA guidance or an FDA Drug Master File that alerted Mylan to
  the need for testing its API for NDEA. Dr. Sheinin’s paragraph 69 states, without cited authority,
  reference, footnote or endnote, that “a drug substance or drug product is not considered misbranded
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  or adulterated simply because it contains impurities (even potentially genotoxic impurities.”) Dr.
  Sheinin then asserts that according to FDA public statements, the FDA first learned of the nitrosamine
  contamination of VCDs on 19 June 2018. Dr. Sheinin implies that, before this date, the FDA neither
  expected nitrosamine contamination in valsartan nor had developed a method or Guidance for testing
  for it. He then states that his client, Mylan, had likewise, no knowledge or expectation to test valsartan
  API for nitrosamines before the FDA developed its gas- and liquid- chromatography tests in late 2018
  and early 2019, and that Mylan’s knowledge was in line with the received wisdom from the DMF and
  the US Pharmacopeia. In pages 13-17, Dr. Sheinin avers that it was not until 1 Dec 2021—when the US
  Pharmacopeia included a titled chapter “Nitrosamine Impurities”—that the first formalized guidance
  surfaced to drug manufacturers about testing for nitrosamine contamination in their drugs. He seems
  to be implying that the API mfrs might be somewhat relieved of liability because they could not have
  known about nitrosamine contamination before the recalls. Even though that implication is a fact
  question for the factfinder, the Court has considered Dr. Sheinin’s opinions on pages 13-17 in his Report.

          In the last four pages of his Report, at pp. 19-23, Dr. Sheinin then disputes the opinions of
  plaintiffs’ class certification expert Dr. Ron Najafi that Mylan’s VCDs, contaminated with NDEA, were
  not bioequivalent to the Reference Listed Drug [in the Orange Book]. The thesis of Dr. Sheinin’s
  Report is that, since the FDA analyzed Mylan’s ANDA for generic valsartan drug products with
  reference to the Drug Master File, Mylan’s approved and manufactured VCDs contained impurities that
  did not alter the bioequivalence of the RLD, because the FDA did not expect or consider nitrosamines in
  generic valsartan. And therefore, Dr. Najafi’s opinion that VCDs containing NDMA and NDEA was not
  the generic equivalent of the RLD patent products is incorrect.

          The Court finds Dr. Sheinin’s Class Certification Report methodologically unreliable and
  accordingly has excluded a number of paragraphs in his Report. The unreliability arises from the
  considerable lack of transparency and a complete lack of methodological clarity in the Report. To wit,
  Dr. Sheinin nowhere provides a statement of relevance, that is, a reason, a purpose, or a context for his
  Report, which makes it conceptually impossible to ascertain how his Report “fits” the class certification
  context. His Report comprises largely “Background”, a somewhat veiled attempt at opining on liability,
  and a purported refutation of Dr. Najafi’s Class Certification Report; it has little to no bearing on class
  certification issues. Dr. Sheinin does not detail what documents he has reviewed, why he reviewed
  them, what his search query was, and why he excluded other documents: in short, he stated no
  method.

          The Court has reviewed in detail Dr. Sheinin’s Class Certification Report and has excluded the
  following paragraphs: paragraph 69, and paragraphs 79 to 102, because they either draw a legal
  conclusion or expound an opinion unsupported by any cited or referenced documents that Dr. Sheinin
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  declares he has reviewed. Hence, the Court cannot know what reviewed documents, if any, contribute
  to and support his assertions.

             Moreover, paragraphs 25 to 68, and paragraphs 70-78 in Dr. Sheinin’s Report have been
  considered but only as Background information, not as reliable expert opinion on class certification
  issues.



  Lauren Stiroh, PhD

             Plaintiffs’ Motion to Preclude (ECF No. 2046) the Class Certification Report of Lauren Stiroh,
  PhD is DENIED. As a PhD in economics, Dr. Stiroh has suitable qualifications for the subject matter of
  her Report; her opinions relate directly to class certification issues; and she has recounted the materials
  and the bases in a way that demonstrate reliability in method and thereby support her conclusions.

             Her Report is largely a refutation of Dr. Rena Conti’s Class Certification Report for plaintiffs. In
  general, Dr. Stiroh relies on similar data as Dr. Conti to reach the conclusion that economic loss
  damages to ConEcoLoss and TPPEcoLoss classes cannot be assessed on a class-wide basis using
  information and methods common to the proposed class because there is no information that is
  common to the proposed classes or that predominates.

             Dr. Stiroh disagrees with Dr. Conti’s determination that the sold VCDs were worthless and had
  zero value at the time of sale. This is so because the VCDs continued to be sold / consumed for a period
  of time after the recall, thereby demonstrating their therapeutic effectiveness. She asserts economic
  value is an individualized determination based on multiple factors, not on a simplistic demand-supply
  chart.

             Although the Court has certified supra the ConEcoLoss and the TPPEcoLoss classes primarily
  because of Its finding that common factors predominate throughout these classes, Dr. Stiroh’s Class
  Certification Report disagrees that common factors predominate. Her Report is from a qualified
  expert, fit for its purpose, and arises from a reliable methodology and nonetheless presents a
  contradictory opinion, which, because of its reliability, the Court finds important to have considered.



  6.2        PLAINTIFFS’ ECONOMIC LOSS EXPERTS

             Table 9 shows that plaintiffs filed 7 Class Certification Reports, one of which was unopposed57,
  therefore unreviewed here, and not precluded.


  57The Court preserves defendants’ right to oppose Laura Craft’s Class Certification Report at a later time.
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  Table 9: Motions to Preclude Reports of Plaintiffs’ Class Certification Experts

         Class             Plaintiffs’ Class Certification              ECF No (Exh No)                   Opposed ? / ECF No. of
                                       Expert                           of Plaintiffs’                Defendants’ Motion to Preclude
                                                                        Expert Report
  Both EcoLoss             Laura Craft                                       1748 (2)               No: Unopposed Directly; Criticized
                                                                                                    in other Motions to Preclude
  Both EcoLoss             Rena Conti, PhD                                     1748 (1)                   Yes / 2037: Wholesalers;
                                                                                                      Yes / 2040: General Defendants
  All 3 classes            Ron Najafi, PhD                                     1748 (3)                          Yes / 2033
  Both EcoLoss             John Quick, MBA                                     1748 (4)                          Yes / 2035
  TPPEcoLoss               Kaliopi Panagos, PharmD,RPh                         1749 (3)                          Yes / 2034
  MedMon                   Edward Kaplan, MD                                   1750 (5)                          Yes / 2024
  MedMon                   Zirui Song, MD, PhD                                 1750 (6)                          Yes / 2032

  Rena Conti, PhD

             Defendants’ Motions to Preclude (ECF Nos. 2040 [“General Motion”] and 2037 [‘Wholesalers
  Motion”]) the Class Certification Report of Rena Conti, PhD are DENIED. As a PhD in the Economics
  of Health Policy, Dr. Conti is qualified to opine on economic loss in this litigation. Her opinions relate
  specifically to the amount of loss the Economic Loss classes experienced in paying for VCDs. Dr. Conti’s
  methodology includes the following:
  - a review of specific FDA Regulations;
  - based on this review, a hypothesis of economic worthlessness, which relies on simple supply and
  demand curves that show VCDs can only ever be deemed worthless from a classical economics
  perspective because, had the FDA known of the VCD contamination from the start, it would have
  recalled the VCDs, thereby making them unsaleable and lacking a supply curve;
  - a calculation of loss based on this economic worthlessness theory, and
  - a review of available and relevant Iqvia Exponent data to calculate a separate, aggregate loss to both
  the ConEcoLoss and the TPPEcoLoss classes.
             The core of Dr. Conti’s worthlessness theory is:
  IF a generic drug does not meet EITHER FDA Orange Book standard 3,58 OR FDA Orange Book standard
  5, 59 THEN the generic drug cannot and will not be put into the supply chain. In economic terms, such a
  drug will be recalled or prohibited from sale, can have no supply curve, and is therefore worthless.
             Dr. Conti recognizes that any inactive additives in the generics typically do not affect value, and
  therefore do not affect drug sales so long as the additives are shown not to affect safety or efficacy of

  58 a drug manufacturer’s assurance that its generic drug meets compendial or other applicable standards of strength, quality, purity, and

  identity.
  59 a drug manufacture’s assurance that its generic drug was made in compliance with cGMP regulations.
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  the proposed generic. Dr. Conti argues that, since both FDA Orange Book standard 3 and standard 5
  were not met, the VCDs should not have been sold. Her economic loss model equates the price paid for
  all VCDs that should not have been placed into the U.S. drug supply chain is the economic loss of
  consumers and PPs that shared the costs of those VCDs. Simply, the total economic loss of consumers
  and the TPPs is the combined price each group paid for the VCDs.

            Dr. Conti recognizes the Iqvia Exponent data are incomplete and do not track 100% of all VCD
  drug transactions, but only about 93%. Nonetheless, she avers these data are the gold standard of U.S.
  drug sales information, which allow her to calculate average drug sales costs—not specific costs paid by
  specific consumers or TPPs—which thereby gives her an aggregate calculation of total losses of the
  Economic Loss classes. Moreover, Dr. Conti uses data of drug sales available from Pharmacies, which
  inform only on amounts paid by consumers and not by TPPs, to refine her calculation of economic
  losses.

            Defendants’ General Motion avers Dr. Conti’s opinions rest on the highly flawed premise that
  the VCDs had no value. Defendants aver to the contrary that, since the VCDs were therapeutically
  effective, they did have value to hypertensive consumers. Further, the General Motion points out that
  Dr. Conti’s methodology for calculating economic loss damages for both classes is flawed because her
  calculations of loss use only the point-of-sale amounts consumers paid for the VCDs, which
  miscalculates and actually overstates Pharmacies’ profits. They further contend that Dr. Conti’s
  calculation of “average” sales considers neither the Pharmacies’ costs of making the drug sales nor any
  drug rebates that uninsured consumers took advantage of. The point is, these two variables—drug costs
  and drug discounts—when accounted for, would lower the “average” consumer cost and the overall
  economic loss. Defendants also argue that Dr. Conti’s unjust enrichment damages calculation model is
  contrary to basic economic principles and legal considerations. That is, her model uses the same
  computational method for the warranty, fraud, and consumer protection claims as for the unjust
  enrichment claim. Since the standards of liability for these two different sets of claims differ greatly,
  her calculation model for unjust enrichment damages is simplistic and does not fit legal reality.
            Wholesalers’ Motion avers that Dr. Conti’s opinion is methodologically unreliable as she does
  not calculate the Wholesalers’ unjust enrichment damages; she just spells out a formula for calculating
  them. However, Dr. Conti could not get the following data she needed to calculate such damages,
  especially from Wholesalers, to wit;
  - Wholesalers’ rebates from valsartan drug manufacturers;
  - their reduced costs negotiated with the mfrs and the PBMs (which thereby lower Wholesaler profits);
  - Wholesalers’ sales agreements with Pharmacies, which again lower Wholesaler profits, etc.
  This was because a previous discovery ruling in this MDL several years ago relieved Wholesalers from
  producing such data. Wholesalers nonetheless argue that, without necessary data to calculate unjust
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  enrichment damages, Dr. Conti’s calculation model renders her opinion as to Wholesalers’ unjust
  enrichment damages useless and unreliable. The Court sees Wholesalers’ argument here as akin to the
  Catch-22 situation for the plaintiffs in RealPage, discussed supra.

          The Pharmacies claim that their data upon which Dr. Conti relied do NOT include their costs for
  dispensing VCDs to consumers. They therefore aver Dr. Conti’s methodology is completely opaque as
  to how, or even if, she accounted for Pharmacies’ dispensing costs in her unjust enrichment
  calculations. Wholesalers argue Dr. Conti does no more than merely state that she needs other kinds
  of data, unavailable to her at the time of her Report, to calculate the unjust enrichment damages
  attributable to Wholesalers. Both Wholesalers and Pharmacies aver Dr. Conti’s methodology as to
  Wholesalers’ unjust enrichment damages is merely outlined and undemonstrated.
          The general gist of defendants’ arguments is that Dr. Conti arrived at her economic theory of VCD
  worthlessness only by relying on, ab initio, plaintiffs’ legal allegations of their worthlessness; she then
  matured that theory by interpreting that defendants’ purported noncompliance with cGMPs signaled
  violation of certain Orange Book regulations, which “demonstrated” the VCDs should not have been sold
  and were thus worthless. Then, defendants argue, Dr. Conti uses an equation from freshman economics
  classes— Profits = Revenue – Costs—to calculate the losses realized by the Economic Loss classes and
  unjust enrichment damages. In particular, Pharmacies contend that Dr. Conti’s overly simplified
  mathematical model does not stop there, but that she then inserts as Revenue into her one-dimensional
  equation Pharmacies’ point of sale [“POS”] data to calculate Pharmacies’ Revenue and Profits in an
  unrealistically simple way.

           The Court notes defendants’ motions to preclude Dr. Conti’s opinions did not oppose directly the
  arguments relating to Dr. Conti’s “worthlessness” theory, but rather assert that her mathematical model
  for calculating economic loss is overly-simplified and inappropriate. Even though several of defendants’
  class certification experts have argued Dr. Conti’s worthlessness theory is faulty economics, the Court has
  found that only Lauren Stiroh, PhD qualified as a defendants’ expert to dispute this theory.
          The Court has considered carefully all of the parties’ arguments and concludes that Dr. Conti has
  set forth a general calculus, i.e. mathematical model, which, although possibly flawed because the data
  are not available or forthcoming, may reliably support her presumption of the worthlessness of the sold
  VCDs. The Court notes further that almost all debate in both of defendants’ motions concerns the
  incorrect data Dr. Conti used to arrive at her damages calculations and that defendants appear to conflate
  Dr. Conti’s “worthlessness” theory with her not-fully-fleshed-out mathematical model which uses not fully
  available data to calculate damages.

          The Court also notes defendants’ motions did not defeat plaintiffs’ arguments that Dr. Conti’s
  “worthlessness” theory has already achieved validation in BCBS v GlaxoSmithKline, No. 13-4663, 2019
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  WL 4751883, at *8-9 (E.D. Pa. 30 Sep 2019). The BCBS Court found that not only was Dr. Conti’s theory
  of “worthlessness” appropriate but also her methodology in adopting and justifying the theory was
  reliable. This Court has also found that the cases defendants have cited—In re Rezulin Prods. Liab. Litig.,
  210 FRD 61, 68-69 (S.D.N.Y. 2002) [concerning standing and class certification] and Shahinian v
  Kimberly Clark Corp, No. Civ 14-8390 DMG (PLAx), 2017 WL 11595343, at *11 (C.D. Cal. 7 Mar 2017)
  [concerning a dental device and not a drug containing a dangerous additive]—are not on point.

          At class certification stage, the methodology of an expert need not be perfect or even legally
  correct. In Rule 702 determinations, the Court does not take the place of the factfinder to adjudicate
  the fundamental issues for trial but decides if those issues have been presented in a scientifically
  reliable way. Here, the fundamental issues are: Dr. Conti’s theory of economic worthlessness of the
  contaminated VCDs, which drives her specific equations for calculating economic loss. This is directly
  opposed by defendants’ experts arguments that VCDs, although contaminated, did lower consumers’
  high blood pressure, thereby providing therapeutic value, which belies economic worthlessness.

          The Court must, to every extent possible and necessary, refrain from any preliminary judgment
  as to the legal correctness of any expert’s opinions and leave that for the factfinder. However, the
  Court must thoroughly review the methodology of an expert and find it to have scientifically reliable
  underpinnings. The Court so finds Dr. Conti’s methodology to have sufficient scientifically reliable
  underpinnings and makes no statement here as to its legal propriety. Accordingly, the Court has
  considered Dr. Conti’s opinions.



  Ron Najafi, PhD

          Defendants’ Motion to Preclude (ECF No. 2033) the Class Certification Report of Ron Najafi,
  PhD is GRANTED. Dr. Najafi, Ph.D. in Organic Chemistry, is CEO of an FDA registered and inspected
  Contract Research Laboratory that helps drug companies follow regulatory guidance and comply with
  current Good Manufacturing Practices [“cGMPs”] / Good Laboratory Practices [“GLPs”] in their
  development of new drug products. Dr. Najafi therefore holds himself as an expert on drug
  formulations. His Class Certification Report focuses on whether VCDs containing NDMA or NDEA were
  the same or not as the branded Diovan® or Exforge® (i.e. patented) Reference Listed Drug products
  upon which the generic manufacturers’ ANDAs were based. In a nutshell, Dr. Najafi avers the VCDs are
  not the same drug products as the Reference Listed Drug in the Orange Book because NDMA and
  NDEA are carcinogenic and should not be or have been present in any drugs put into the U.S. drug
  supply chain.

          To be clear, several parties’ class certification experts—for defendants: Dr. Clevenger, Dr.
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  Keller, Mr. Kosty, and Dr. Lambert; for plaintiffs, Dr. Najafi, and Dr. Panagos—raise the issue of
  “bioequivalence”, “therapeutic equivalence”, or “pharmaceutical equivalence”. None expressly states
  how their opinions on the VCDs’ bioequivalence or lack of it relate to the certification of plaintiffs’
  proposed classes.

          Nonetheless, the Court appreciates why the parties’ experts contest this issue. These opinions
  relate directly to Dr. Conti’s theory that the VCDs are economically worthless because of the
  nitrosamine contamination. As discussed supra, the important bridging argument in Dr. Conti’s theory
  is, Had the FDA known of the nitrosamine contamination, the VCDs could not have been sold, and
  would have had no supply curve. In practical terms the “no supply curve” theory is borne out only after
  the FDA issued recalls for each VCD, which effectively ended the U.S. market supply of that particular
  VCD.

          The Reports of Dr. Clevenger, Dr. Keller, Mr. Kosty, Dr. Lambert, Dr. Najafi, and Dr. Panagos
  purport to opine on which model is appropriate for calculating damages of the Economic Loss classes.
  Defendants’ experts assert the VCDs were “bioequivalent” or “therapeutically equivalent” or
  “pharmaceutically equivalent” to the Reference Listed Drugs, which compels a reduction of economic
  loss damages for plaintiffs’ claims of implied breach of warranty, fraud, and unjust enrichment.
  Defendants’ supporting premise is that, since the VCDs worked as intended, even if nitrosamine-
  contaminated, plaintiffs got the drug they paid for, and no breach of warranty, fraud, or unjust
  enrichment can have occurred. To contrast, the essence of plaintiffs’ theory of economic loss is a
  prediction of what the FDA would have done had it known about the contamination earlier: stop VCD
  sales; and the essence of defendants’ thesis is the assertion of what consumers did while the recalls
  were occurring: continue to take VCDs.
          The problem for the Court with these expert opinions regarding “bioequivalence”, “therapeutic
   value”, and “pharmaceutical value” is that no expert has conducted actual consumer or physician
   surveys to confirm an “equivalence” perception. The impasse in defining “bioequivalence”, etc. arises
   from the differing interpretations by defendants’ and plaintiffs’ experts’ of the language of the Drug
   Master File, the Reference Listed Drug, the U.S. Pharmacopeia, etc. Many of these expert
   interpretations rise to little more than “story”. There is no direct evidence of consumers’ preferences
   or practices, other than news media reports of physicians’ and consumers’ confusion and alarm over
   the only two outcomes available upon VCD recall:
   1) stop taking the VCDs, which could have caused more immediate, dangerous sequelae, as heart
   failure and stroke, and/or
   2) switching to another, less effective, hypertensive substitute, which can have engendered its own set
   of alternative damages.
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            Nowhere do the experts’ Reports consider the fundamental dilemma faced by the American
  Medical Association and U.S. consumers: that they were between a rock and a hard place because of
  the VCD recalls; and they may have made decisions not based on typical consumer-oriented
  considerations because the recalls removed lickety-split vast amounts of the most prescribed blood
   pressure and heart failure medicine from the U.S. market and induced an accompanying uncertainty in
   consumers and physicians alike as to the effectiveness of drug substitutes for a very large swath of the
   American public. 60

            In their Reports, defendants’ and plaintiffs’ experts talk “past each other” and use different
  terms when defining “bioequivalence”, “therapeutic equivalence”, or “pharmaceutical equivalence”.
  But, importantly, the dispute among various experts as to the meaning of bioequivalence,
  pharmaceutical equivalence, therapeutic value, worthlessness, etc. may be a central issue for, and will
  have a decisive effect on, the calculation of economic loss damages. Therefore, the Court finds the
  essential dispute between economic worthlessness vs “bioequivalence” must be put before the
  factfinder so that it can weigh and decide on these terms that relate to the overarching question, what
  damages are plaintiffs owed? Thus, the subject matter of Dr. Najafi’s opinions, about what is
  bioequivalence, wades too far into the factfinder’s domain and is not relevant to the class certification
  issue at hand. Accordingly, the Court has precluded the Class Certification Report of Dr. Ron Najafi.



  John Quick, MBA

            Defendants’ motion to Preclude (ECF No.2035) the Class Certification Report of John Quick,
  MBA, is GRANTED IN PART AND DENIED IN PART. Mr. Quick was asked to evaluate whether
  certain behavior by API and FD mfrs complied with the FDCA and the cGMPs promulgated in the FDA
  Guidances and whether a mfrs noncompliance negatively affected each VCD equally. As Mr. Quick’s
  Report concerns generally the certification of the Economic Loss classes and specifically plaintiffs’
  assertion that defendants’ non-compliance with cGMPs supports a finding of Rule 23(b)(2)
  predominance in those classes, it is fit for its purpose.

            Mr. Quick’s qualifications arise largely from his seventeen years as Vice President of Regulatory
  and Quality operations for an international S&P-500 pharmaceutical company. His methodology is to
  review a body of materials 61 and opine on how a mfr’s conduct and possible noncompliance with

  60 Aaron Gould Sheinin, Updated 23 September 2019, Valsartan, Losartan & Other BP Med Recalls 2018-19, WEBMD, available at

  https://www.webmd.com/hypertension-high-blood-pressure/valsartan-losatran-bp-med-recalls-2018-19, last accessed 11 Jan 2023;
  Patrice Wendling, 28 March 2019, Continuing ARB Recalls Shake Up Hypertension, HF Care, MEDSCAPE, available at
  https://www.medscape.com/viewarticle/911055?reg=1, last accessed 11 Jan 23 (requires free registration) .

  61 Discovery Produced Documents: ZHP01427917; ZHP00000161 (and translation provided by Counsel); ZHP00000417; ZHP01427950;

  ZHP01748896; ZHP02630924; ZHP02118072; ZHP02118712; ZHP00912962; ZHP00079913.
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  cGMPs in general had a systemic impact on its manufacture of VCDs. Mr. Quick analyzes the
  information he gleans from these materials (the subject matter of which is at least nominally
  identifiable from their titles and which the Court of course is not privy to) to opine on whether a mfr
  had serious, systemic issues related to their corporate quality assurance [“QA”] operations. Although
  Mr. Quick asserts he does not opine on whether these corporate QA failings were the ultimate reason
  why the VCDs contained NDMA / NDEA, he does conclude from the reviewed documents that each of
  the mfrs’ QA deficiencies showed high level, corporate QA shortcomings. That is, from a high-level,
  corporate view, each deficiency would have impacted each of the mfrs’ VCDs equally and similarly. In
  practical terms, Mr. Quick’s analyzes the material listed in fn. 61 to see if corporate QA behavior
  worked to promote in the same way the possible contamination of all the mfr’s VCDs.

            Acknowledging defendants’ contentions that Mr. Quick quite possibly cherry-picked the
  documents he reviewed, the Court also appreciates that his methodology is not rendered unreliable
  because he did not systematically review “discovered documents” because his is not a causation
  opinion. The Court acknowledges that a completely balanced review of both the “positive” and the
  “negative” documents would have been the most reliable methodology. But here, there is insufficient


  PRINSTON00463786; PRINSTON00368123;

  TORRENT-MDL2875-00005036; TORRENT-MDL2875-00000149; TORRENT-MDL2875-00003958; TORRENT-MDL2875-00131251; TORRENT-
  MDL2875-00004186; TORRENT-MDL2875-00072520; TORRENT-MDL2875-00291311; TORRENT-MDL2875-00433346

  MYLAN-MDL2875-00421388; MYLAN-MDL2875-00421389; Glover Deposition Exhibit-56; Glover Deposition Exhibit 57; MYLAN-MDL2875-
  00257214; MYLAN-MDL2875-00257215; MYLAN-MDL2875-00708138;

  APL-MDL2875-0964965; APL-MDL2875-0391332; APL-MDL 2875-0504366

  TEVA-MDL-00158603; TEVA-MDL2875-00684220; TEVA-MDL2875-00259905; TEVA-MDL2875-00259910; TEVA-MDL2875-00020279; TEVA-
  MDL2875-00791611; TEVA-MDL2875-00549883; TEVA-MDL2875-00049024; TEVA-MDL2875-00320639; TEVA-MDL2875-0399168; TEVA-
  MDL2875-00118147; TEVA-MDL2875-00415117; TEVA-MDL2875-00247059; TEVA-MDL2875-00318831

  HLL446173; HETERO_USA000151204

  Depositions
  Jucai Ge (ZHP); Min Li (ZHP); Remonda Gergis (ZHP); Eric Tsai (ZHP); Minli Zhang (ZHP);
  Derek Glover (Mylan); Daniel Snider (Mylan); Antonyraj Gomas (Mylan)
  Daniel Bareto (Teva); Anthony Binsol (Teva); Pan Lin Deposition (Teva); Narendra Vadsola (Teva)
  Sushil Jaiswal Deposition (Torrent); Dawn Chitty Deposition (Torrent);
  Ambati Rama Mohana Rao (Aurobindo); Sanjay Singh (Aurobindo)

  Publicly Available Documents
  FDA Compliance Program Guidance Manual 7356.002F, September 11, 2015
  FDA Power Point Presentation by Robert C. Horan, New York District, “FDA cGMP Inspection, Peking University 2005”
  FDA Guidance Q10 “Quality Systems Approach to Pharmaceutical CGP Regulations,” September 2006
  FDA Guidance Q10, “Pharmaceutical Quality System 3
  FDA Guidance “Contract Manufacturing Arrangements for Drugs: Quality Agreements,” November 2016.
  FDA Guidance, “Control of Nitrosamine Impurities in Human Drugs,” Feb 2021
  FDA Compliance Program Guidance Manual, API Process Inspection, September 11, 2015, page 4
  FDA Presentation, “FDA’s Pre-Approval Inspection (PAI) Program & How to prepare for a successful outcome,” Denise DiGlulio, FDA Facility
  Reviewer, Office of Process & Facilities, Fall 2015.
  FDA Presentation, “The Pharmaceutical Quality System (PQS),” Robert Iser, FDA Office of Process & Facilities/OPQ/CDER, July 15, 2015.
  FDA Warning Letter, Akorn, Inc. June 13, 2019, and US Pharmaceuticals, Inc. June 6, 2019.
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  detail from both parties as to how these documents were or not selectively chosen. And at trial,
  defendants can certainly present their “positive behavior” documents showing their clients’ compliance
  with cGMPs.

          The Court finds Mr. Quick’s methodology generally reliable because of his extensive, practical
  experience in identifying and correcting corporate QA norms likely to support a corporate-wide
  tendency towards noncompliant cGMP behavior. But as with Dr. Lambert’s Report, the Court finds Mr.
  Quick’s methodology not entirely rigorous and has reviewed Mr. Quick’s Report minutely, but has not
  reported on it here.

          However, on pp. 6-7 of his Report, Mr. Quick opines on the meaning of “adulterated” and
  “misbranded” as presented in the FDCA and corresponding U.S. codes and regulations. An
  interpretation of these terms is more legally nuanced than Mr. Quick is qualified to opine on. Therefore,
  Mr. Quick’s opinions on pp. 6-7 of his Report regarding his interpretations of the terms “adulterated”
  and “misbranded” and whether the VCDs were adulterated or misbranded have been precluded.

          However, the rest of Mr. Quick’s opinions is his Report have been considered.



   Kaliopi Panagos, PharmD, RPh

          Defendants’ motion to preclude (ECF No. 2034) the Class Certification Report of Kaliopi
  Panagos, PharmD and RPh, is GRANTED IN PART AND DENIED IN PART. Dr. Panagos’s Report is 10
  pages long, the first five pages of which are descriptions of the various players in the U.S. drug supply
  chain, such as TPPs, Pharmacy Benefit Managers, the Orange Book, etc. On pages 5-6, Dr Panagos
  provides definitions from the Orange Book of two general, therapeutic equivalence [“TE”] codes:

          Pharmaceutical Equivalents: drug products which contain the same active ingredients in the
  same strength and dosage form delivered by the same route of administration; and

          Bioequivalent Drug Products: drug products that have shown comparable bioavailability when
  studied under similar conditions (e.g. the rate and extent of absorption of the test drug does not
  significantly differ from the reference.

          Dr. Panagos explains these TE codes are divided into several sub-codes. She also explains the
  sub-code “AB rated Drug” indicates: 1) actual or potential bioequivalence problems have been resolved
  through adequate in vivo and/or in vitro testing; 2) the generic is interchangeable with the Reference
  Listed Drug (RLD) brand drug; and, 3) the generic drug mfrs have adequately fulfilled the FDA
  requirements for the generic’s approval. In sum, a TE code of AB rated drug means the generic is
  identical to the RLD as to its pharmacokinetic and pharmacodynamic properties, mechanism of action,
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  efficacy, safety, dosage, strength, intended usage, and route of administration.

          While her exposition of the Orange Book codes and subcodes is quite useful background, Dr.
  Panagos, nonetheless, in pages 8-9 of her Report takes that exposition too far. There she opines that
  an Orange Book TE code on a generic drug expresses a warranty from the generic’s manufacturer
  warranty to TPPs and P&T Committees (agents that aid TPPs in developing drug formularies) that the
  generic is equivalent to the RLD. As the Court has found for other experts, whether TE codes and
  subcodes constitute a warranty is a legal question to be posed to, and answered by, the factfinder after
  a review of relevant facts. Therefore, Dr. Panagos’s opinion as to TE codes serving as a mfr’s warranty
  is outside the purview of her expertise.

          Inasmuch as Dr. Panagos’s Report intertwines methodology (of which there is a measurable
  scarcity and seems largely based on her years of experience) with opinion, the Court has minutely
  reviewed her Report. The Court has precluded the opinions in Dr. Panagos’s Report at paragraphs 47,
  52-59 and in the Summary of Opinions on page 10, paragraphs: B, D, G – I. Her opinions at paragraphs
  1 to 46, 49-51 and 54 in her Report and in the Summary of Opinions on page 10, paragraphs: A, C, E, and
  F have been considered as suitable background.



  6.3     PLAINTIFFS’ MEDICAL MONITORING EXPERTS

  Edward Kaplan, MD

          Defendants’ motion to Preclude (ECF No. 2024) the Class Certification Report of Edward
  Kaplan, MD, is DENIED. Dr. Kaplan opines on how to develop a screening and monitoring program for
  plaintiffs exposed to contaminated VCDs. This is fit subject matter for plaintiffs’ proposed MedMon
  classes. As a board-certified oncologist for the last 35 years, a designer of cancer-screening programs
  for his patients, and a researcher publishing on cancer development and treatment of the following
  cancers: lymphoma, leukemia, non-small-cell lung, ovarian, breast, leukemia, colorectal, pancreatic,
  Dr. Kaplan is well qualified to opine on an appropriate medical monitoring program.

          Table 10 below shows the medical monitoring program Dr. Kaplan recommends, based on his
  assumption that all MedMon class members would meet the lifetime cumulative threshold [“LFT”].
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  Table 10: Summary of Dr. Kaplan’s Medical Monitoring Program


    Cancer to be Detected        Testing Tool                                    Frequency / Cologuard® DNA
                                                                                 fecal testing
    Pancreatic                   Galleri® or similar Liquid Biopsy Testing       Annually
    Esophageal/Stomach           Upper Gastrointestinal Endoscopy                Every 5 years
    Colon and Rectal             Colonoscopy                                     Earlier than 45 years old; If
                                                                                 have family history of colon
                                                                                 cancer, every 5 years;
                                                                                 If no family history of colon
                                 Additionally, Cologuard® DNA fecal testing      cancer, at primary care
                                                                                 physician’s judgment

                                                                                 Annually


    Lung                         Low Dose CT Chest Scan                          Annually
    Liver                        Blood Tests: CBC; Basic chemistry profile for   Annually for asymptomatic
                                 liver and kidney enzymes; thyroid function;     class members
                                 PSA testing (males);
                                 Urine analysis

            In her review (ECF 2024-6, Exhibit 5 (D)) of Dr. Kaplan’s opinion, defendants’ expert Dr. Ursina
  Teitelbaum agrees with some of Dr. Kaplan’s opinions, disagrees with many, and adds testing
  considerations for other cancers not detailed by Dr. Kaplan. Dr. Teitelbaum’s qualifications are
  appropriate, so is the fit of her opinions as well as her methodology, which is similar to Dr. Kaplan’s.
  Specifically, Dr. Teitelbaum reviews Dr. Kaplan’s recommendations for an enhanced medical
  monitoring protocol for asymptomatic individuals who ingested VCDs.

            In a nutshell, Dr. Teitelbaum opines that, contrary to Dr. Kaplan’s assertions, medical
  monitoring programs that rely on screening tests are meant only to detect cancers earlier in the
  progression of the disease and not to mitigate completely the risk of developing cancer. Dr.
  Teitelbaum also asserts it is unclear whether the asymptomatic medical monitoring class members
  even have an increased risk of developing cancer, and that the recommended frequency of Dr. Kaplan’s
  screening procedures by itself may actually increase the risk of developing cancer because of the
  greater exposure to radiation. Dr. Teitelbaum is in effect questioning the need for a medical
  monitoring program and thereby raising an implied opinion about the increased risk of cancer
   development, which the Court finds a determination for the factfinder and is therefore not considered.

            Dr. Teitelbaum’s opinions were unopposed and the Court makes no determination here about
   their reliability. However, the Court recognizes Dr. Teitelbaum’s opinions do not diminish the
   relevance of Dr. Kaplan’s opinions under FRE 702 and confirms that It has considered Dr. Kaplan’s
   opinions. `
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  Zirui Song, MD, PhD

          Defendants’ motion to preclude (ECF No. 2032) the Class Certification Report of plaintiffs’
  expert, Zirui Song, MD, PhD, is GRANTED IN PART AND DENIED IN PART. In ECF No. 2032-3, Dr.
  Song opines on whether a common methodology can be hypothesized for calculating a health care cost
  of medical monitoring for each member in the MedMon classes. Considering Dr. Song’s teaching and
  research background, the Court finds him qualified to opine on the economics of health care policy.
  Nonetheless, in explaining the differences between the expected price of medical monitoring versus its
  actual cost, Dr. Song’s Report theorizes a possible and practical model for estimating the cost of
  medical monitoring that can be commonly applied to all MedMon class members. However, his theory
  does not expressly link his opinions to the subject at hand, whether to certify plaintiffs’ classes or not.
  The Court finds that Dr. Song’s Report including his proposal on how to calculate a common MedMon
  Spend has very little actual bearing on the certification requirements of the MedMon class but may
  have been intended to serve as an ancillary testament to the ascertainability of the 23(b)(3) IND
  MedMon class and as an incidental supplement to Dr. Kaplan’s Report on the structure of a medical
  monitoring program.
          Using basic economic terms, Dr. Song describes a possible method for calculating the actual
  medical monitoring costs for the MedMon class. Unfortunately, Dr. Song did not translate his verbal
  method into an easily understood equation. The Court has done so below:


  MEDICAL MONITORING SPEND =
                                   Actual cost of MedMon health care service                  Real Costservice
  TIMES                            Number of services, tests, analyses, etc.                   S
  TIMES            Total Number of members with “Z” insurance coverage, Z = 1 to n,            Mz
  TIMES                            Number of non-covered services                             NCS

  DIVIDED BY                       Number of covered services.                                CS

          Dr. Song’s model for calculating the Real Cost of medical monitoring translated to:



                     MEDICAL MONITORING SPEND = Real Costservice x S x Mz x NCS / CS


          In their opposition (ECF 2032-1:3), defendants say it succinctly and best: “Dr. Song’s ‘common
  methodology’ amounts to nothing more than an untested hypothesis that cannot assist the Court in
  determining whether a medical monitoring class should be certified.” Dr. Song’s five pages of
  “methodology”, pp. 22 to 26, arises from his insight, thought experiment, and expectations as to how
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  to calculate the MedMon spend; and there can no doubt he has given serious thought to developing his
  model, especially because of his expertise. There can also be no doubt the accuracy and effectiveness
  of his model rests on neither recognized economic literature nor his own or others’ research. His model
  has no tether to a scientifically reliable methodology nor link to class certification requirements.

          Notwithstanding that, the majority of his Report elucidates the background of, among other
  things, how various institutional health care providers on the medical codes for various health service
  created by the American Medical Association’s Current Procedural Terminology Editorial Panel and US
  Health and Human Services to price out health services. This background, while not specifically
  relevant to class certification issues, was useful; and for that reason alone, the Court did not preclude
  the entirety of Dr. Song’s Report.

          Accordingly, Dr. Song’s opinions in pp: 22-26 of his Report on a general method for calculating
  the spend for medical monitoring services have been precluded but the background information in pp.
  8 to 21 in his Report has been considered.



  CONCLUSION
          Plaintiffs’ Motion to certify the Consumer Economic Loss Class is GRANTED BUT REQUIRES
  plaintiffs to amend their proposed subclasses in line with the recommendations in Table 3 herein;
      Plaintiffs’ Motion to certify the Third Party Payor Class is GRANTED BUT REQUIRES plaintiffs to
  amend their proposed subclasses in line with the recommendations in Table 4 herein;
      Plaintiffs’ Motion to certify the Rule 23(b)(3) Class of Medical Monitoring as an Independent Claim
  [“Rule 23(b)(3) IND MedMon Class”] is GRANTED BUT REQUIRES plaintiffs to amend their proposed
  subclasses in line with the recommendations in Table 7 herein;
      Plaintiffs’ Motion to certify the Rule 23(b)(2) Class of Medical Monitoring as an Independent Claim
  [“Rule 23(b)(2) IND MedMon Class”] is DENIED without prejudice. The Court GRANTS plaintiffs the
  option to re-seek class certification of this class by briefing on specific estoppel effects this class may
  have on the other two certified Medical Monitoring classes; and
      Plaintiffs’ Motion to certify the Rule 23(b)(2) Class of Medical Monitoring as a Remedy is GRANTED
  BUT REQUIRES plaintiffs to amend their proposed subclasses in line with the corrections in Table 7.
      The motions to preclude the opinions in the Class Certification Reports of opposing parties’ experts
  are also decided herein.

      Dated: 8 February 2023                                          s/ Robert B. Kugler
                                                                      Honorable Robert B. Kugler
                                                                      United States District Judge
